Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 1 of 184




           EXHIBIT                             79
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 2 of 184




                              UNITED       STATES      DISTRICT      COURT


                             FOR    THE   DISTRICT      OF CONNECTICUT


                                                        -x

       DONGGUK      UNIVERSITY                                  No    308CV441RNC

                                    Plaintiff

                       vs


       YALE   UNIVERSITY
                                                                HARTFORD       CONNECTICUT
                                    Defendant                   JANUARY      30 2009

10


11                                        MOTIONS      HEARING


12            BEFORE

13                   HON     ROBERT          CHATIGNY        CHIEF     U.S.D.J

14     APPEARANCES

15            FOR    THE    PLAINTIFF

16                     MCDERMOTT          WILL      EMERY
                               50  Rockefeller   Plaza
17                             340 Madison   Avenue
                               New  York New York 101734613
18                     BY      ROBERT            WEINER      ESQ
                               JEAN BAE          ESQ
19
              FOR    THE    DEFENDANT
20
                       DAY    PITNEY LLP
21                             242 Trumbull            Street
                               Hartford          Connecticut         061031212
22                     BY      FELIX          SPRINGER          ESQ
                               HOWARD       FETNER  ESQ
23
              ALSO    PRESENT         AUDREY      LU
24


25                                                        Darlene            Warner   RDR-CRR
                                                          Official        Court   Reporter
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 3 of 184




                                                  1000 A.M



                          THE     COURT         Good    morning             Would      you    please


       state    your       appearances

                          MR      WEINER         Robert       Weiner            McDermott       Will


       Emery        for    the     plaintiff            Jean     Bae       is      colleague           And


       have         young       associate        who    has     not    attended         an    oral


       argument          before     but    Id     ask     she    sit       at    counsel      table    if


10     its     okay       with     Your    Honor

11                        THE     COURT         Welcome

12                        MR      SPRINGER         Felix        Springer          of   Day    Pitney    on


13     behalf       of    Yale     University          along     with


14                        MR      FETNER         Howard       Fetner            also   on    behalf    of


15     Day    Pitney        Your     Honor

16                        THE    COURT          Good    morning

17                        Were      here       for argument           on    the    pending      motions

18     Ive     read       your     papers        and    Ill      be    glad       to   hear    whatever


19     additional          presentations           you     would       like       to   make

20                        Mr      Springer

21                        MR      SPRINGER         Thank        you        Your    Honor        Good


22     morning

23                        This     is     as    youve      seen       from       the   papers         isnt

24     your    garden       variety        tort    claim          And       what        thought       might


25     be    most    helpful        to    the    Court     is    if    in       fact        focused    on
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 4 of 184




       the    key     issues        that            think          divide        the    parties                And    what


            thought          would        do       is    first       focus        on    the     issue          of


       whether        the    news        articles             may    be     considered              on         motion       to


       dismiss        without          turning           it    into          motion        for       summary


       judgment                   think       thats           one    of     perhaps        the       key       issues


       the    key     overarching              issue          that       divides        the     parties               Its

       certainly           one     that       Dongguk          spends             good     deal          of    its


       papers       on

                             then        thought               would       move        backward           through          the


10     complaint           and     talk       about       the       key     issues        that       divide          the


11     parties        and    point        out       the       degree        to    which        Dongguk          doesnt

12     engage       with     its allegations                       and    how     important              it    is    in


13     this    matter        to     focus          on    the       allegations            and       the       reasonable


14     inferences           drawn        from       them

15                         Contrary           to    l3ongguks             papers          we    dont           disagree

16     with     the    standard           on            motion       to     dismiss             But       in    this


17     over     200    paragraph              complaint              there        are          wealth          of


18     allegations               and     it    is       particularly              easy     to       confuse          some


19     of    the    documents            and       what       is    said     about        them       and       the


20     context        in    which        it    is       said         So          wanted        to    walk       through

21     and     you     know         with       Your       Honors indulgence                               would       do


22     that            will       try     to       be    as    brief        as    possible               nonetheless

23          think          have     to    spend          some       time     with       some        specific

24     focus

25                         Yale     maintains             that       the     Court        --    this          Court       can
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 5 of 184




        and    should       consider           the    news     articles          on    the    motion          to


        dismiss         Dongguk             argues      in     essence           that       such


        consideration             turns        the    motion       to    dismiss           into         motion

        for    summary       judgment           and    that     there      are        numerous          issues       of


        fact    that    arise          as       consequence               They        put         lot    of    eggs

       in     that    basket

                        But            think     the    Second          Circuit        law    is       fairly

       clear        here     Your       Honor         that     if the      articles           are       relied       on


       and     if    they    are       integral        to     Dongguks           complaint              then       this


10     Court        may consider             them     and    may    consider           them       on         motion

11     to     dismiss

12                      And       in    fact         Dongguks           complaint           does       rely on

13     the     news    articles               The     recklessness             and     defamation             claims


14     are     explicitly          based       on     what    is    said        in the       news       articles

15     and     the    news       articles        are    used       to    frame        the    other       claims


16     as     well

17                      And            want    to     point     out      right        at    the    outset

18     although        Ill        say       something        more       about     this        Yale       does       not


19     rely     on    the    news       articles        for     their      truth             Its

20     irrelevant           to    our       arguments        whether       the        statements


21     reported        in    the       news    articles        are       true          We    use       the    news


22     articles        for       the    same     reason       that       Dongguk           does        namely       to


23     what     is    reported          out    there

24                      And       if    you    look     at    both       the    Chambers           case       and


25     the     other    case       involving           misrepresentation                    about       financial
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 6 of 184




       matters              and    Ill        get     to    the    name       of    that    shortly


       both     of    them    use     the       articles          in the       same       way         And    that


       case      by    the    way        is     Pincus             Oppenheimer             where       it    was


       alleged        that    the     statements               included        in    the    prospectus             at


       issue     in that          case     constituted             the    defendants                 alleged


       securities           fraud

                        Your       Honor              think       even    the       pleading          standard


       for     defamation          shows        why      these     news       articles          are    integral

       Plaintiff        must       plead        the      actual     words          spoken            They    must


10     plead     what       the    defamatory              statements          were       that       were    made


11     concerning           the    plaintiff               when    they       were    made       and    to    whom


12     they     might       have    heen        made

13                      It    is    that        standard          that    points          out    why    the


14     articles        are    integral           to      the     complaint            Dongguk          was


15     required        to    plead       the     contents          of    those       articles          in    order


16     to    state          claim     for       defamation               What       could       be    more


17     integral        to         defamation             claim     than       the    defendants

18     allegedly        defamatory              statement

19                      Again         Your       Honor             think       we    discussed          the


20     cases     fairly       carefully             in     our    briefs           Chambers             Times


21     Warner         the    Cortec        case          the     Pincus       one    that       Ive     just


22     referred        to     Oppenheimer                  and    the    United       States


23     International              Longshoremans                  Association

24                           want     to      pause        just         bit    on    the    last       case


25     because        its     cited        by    the       plaintiffs               But    the       plaintiff
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 7 of 184




        only    cites       half       of     it    and      only       refers     to       what       is   not


        relied       on    because          --     rather          than    what    is       relied          on      They


        say that            news       article           that       was    used    to       try    to            for the


        truth    to       contradict             the     allegations             couldnt           be       used     and


        we    agree       with    that             Thats          not     whats        at    issue          here         But


        the    Longshoremans                  case       also       indicated          that       the


        constitution             and    the        code      of     ethics       that       were       relied       upon

       could     be       considered             in those           cases

                           Let    me    just                so    were      very       clear       or       Im     very

10     clear     about          how    Yale        used      those        articles                it    used       them


11     to     show    that       the    Korean           media       would       have       criticized


12     Dongguk        regardless              of    Yales          alleged        negligence                in other


13     words         for what          was       reported          and     to    show       that       Yales

14     alleged        statements              could         not    reasonably           be    considered


15     defamatory

16                         Again        if       you     look      at     those    cases           those


17     articles            the    complaint              doesnt           rely    on    them       for      the


18     truth          Plaintiffs              dont          have     to    rely on          the    news       articles


19     for     the    truth            Thats           what       the     case    law       says            Thats

20     what     the       Pincus       and       the     Cortec         case     holds       as    well       as


21     Chambers

22                         In    arguing           that      it    has     not    relied          on    the      news


23     articles        for       their        truth          as    Dongguk        does       at    its


24     memorandum           at    the    end           33    to    36      Dongguk          attacks         the


25     strong        end         We    have        not      again       cited     those       articles             for
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 8 of 184




       their       truth            And       again        you    need       not       rely       on     as


       plaintiff            those          articles             for    that

                          It     also         cites        pages       of    our       brief       and       claims       that


       we          that     many         of     Yales           legal       arguments             are    based       on    the


       information             contained              in    the       newspaper             articles

                          Your        Honor           as    we    maintain             in    our       reply       brief       at


       page           none       of      those        pages           nor    any       other       portion          of


       Yales        brief           rely        on    the       truth       of    the       statements


       contained          in     any       of    the       articles

10                        And       by     the       way        Dongguk          has    not       identified             any

11     way     in which          any       of    Yales           argument          depend          on    the       truth       of


17     the     statements             in      any     extra       complaint             document

13                        And            might        just       in    passing          as         last       point       just

14     mention the             Korean                judgment               Similarly              we    dont        rely

15     on    any    facts        underlying                that       judgment               We    simply          rely    on


16     the     fact    that         it     was       made       for         brief           if    you    will        point


17     about       public        policy          in       our    brief

18                        So     if      those        articles             are    relied          on    as    they


19     should         then       we      need        to    go    to    the       complaint             itself            And


20     what         want       to     point          out    is    that       consistently                and


21     repeatedly           in      the       opposition               their       opposition                and    in


22     their       arguments               they       refuse          to    engage          with       their       own


23     allegations                  Its         true       of    every       cause          of    action

24                        And            want        to    start       with       defamation             because          it


25     affords        the      best              well           there       are    other          good       examples
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 9 of 184




        but    among       them       significantly                   it    wrongly          summarizes             the


        allegations              and       Ill      qet       to     that       in the       opposition             on    27

       And     it     also      concludes           that        it    has       pleaded       facts          that       would


       permit           jury       to      conclude           Yales         statements             were       made       with

       malice

                           Remember           our       argument            Your       Honor        is             and


        Ill     walk       through           these              is    that       there       are    five


       statements            that       Yale       made       that        are    being       relied          on    for    the


       defamation            claim         and     we    also        maintain          there       is    no       malice

10     Id like             if         could         because           it    becomes          important             to    the


11     argument            to    go     over       Exhibits                and         with    Your          Honor          If


12     you     have     them       handy            Otherwise                   have    copies          of    them

13                         THE     COURT                 have        them

14                         MR      WEINER                 would           appreciate               copy

15                         MR      SPRINGER               Sure

16                         MR      WEINER               Thank        you

17                         MR      SPRINGER                   mention            these        Your       Honor

18     because             think        it    behooves             all     of    us    to    pay    careful


19     attention           to    these        documents                   They    are       confused          in the


20     complaint             they       are       confused           in    the    brief            And       the


21     context        in     which         theyre mentioned                      and    how    theyre

22     mentioned by              Yale        in    its    alleged           statements                  think       show


23     that     there        are      no     cause       of    action

24                         No    question           Yale      made         mistakes          here        and       the


25     point     is    were           not     arguing              you     know        the    issue          of    breach
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 10 of 184




        here         Were        arguing             no     duty         and    were        arguing          no


        defamation              et    cetera

                           So    if you           look         at     the      first document                          that       is


        the     certification                  lettet            okay           And       this    is       signed       by    Pam


        Shirmeister             on    Yale        heading                 It    is    repeatedly             referred             to


        as    the    certification                   letter           but      sometimes          referred             to    as


        fax         And    it    again          has       Yale        University            stationery

                           If    you       look        at             that      contains                   and    that       is


        dated       May    27th           2005              that         contains              three-page

10      document          and    it       is           the       first document                  is    Professor


11      Shirmeisters                 fax       transmittal                sheet            As requested                       am


12      confirming          that          the     attached               letter       was      issued        by    Yale


13     graduate           school          and     signed            by    me
14                         The       next       is     the       certification                 letter

15                         And       the       third        is      the       letter      of     inquiry          dated


16     September           5th       by    Dongguk

17                         And            point        out       why      it    is    important             because          it


18     is     if     you    look          for     instance               at    paragraphs             97          94


19     through        97    of       the       complaint                 and    particularly                95     94       says

20     that     Reinstein             informed              the       reporters            that       the    fax       was


21     forged             But    if       you     look         at     95       it    is   very        clear       that


22     Reinstein           is    referring                to     in      fact       the   certification                 letter


23     that     was       forged          and     it      is     not      the       September          22nd       fax       that


24     was    forged             That          is      her       fax      without              signature           but


25     rather        it    is    the       certification                      letter           This        document          is
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 11 of 184

                                                                                                                            10




        in      different             format       from       Yales         University                academic


        record       verification              and       it    is          forqed       document


                           By    the    way        there       is    no     controversy                that       it    is


        forged       document          and    that       Shirmeister              made            mistake in


        sending       the       --
                                      you    know        taken       in by        the       fraud       --    made


        mistake       in     sending         the    September              22nd      fax

                           But         point       this       out    because           it    becomes


        important          as    to    what    is    reported                For       instance              if    you

        look    at    Exhibit                which       is    where        all of          this       occurs           the


10      newspaper          conflates          those       too        where        she       says       the    document


11      has         different form             than       that       of     Yale       Universitys

12      official       certificate                  The       document          is     fake            And    it       is


13     not     the    September             22nd    document          in     that       context          that          is


14      fake

15                         Now        Yale          and            point     that       out       because          there


16     is     yet    another           if    you    will           confusion                Others       might

17     claim        its          misrepresentation                        But     if    you       look       at    the


18     plaintiffs               brief       in opposition             at     page                it    says       at    the


19     top     first       full       paragraph           based       upon        Yales           continued


20     public        statements              that    the       September             5th     registered


21     letter        and    the       September          22nd       fax     were       forgeries                  There


22     has     not    been       any    statament             in    the     allegation                whatsoever


23     that     the    September             5th    registered              letter          was         forgery

24     Your     Honor            The    only       two    statements              that       Yale       has       made       is


25     that     it    was       not    received               This    is     based          on    the    knowledge
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 12 of 184

                                                                                                                            11




        that    they       had       that       it    was    not    received                 And      this       becomes


        important          as    well           see    for    the       defamation              claim

                           And       it    is    true       that    the       September            22nd         fax    in


        couple       of    statements                were    said       to    be         fake         but       those


        statements          where          it    was       said    to    be         fake        are     always         in


        the    context          of    Shins           fraud         And       thats          why      we    maintain


        any    of    the    statements                related       to       Yales         saying          it    hadnt

        received          the    September             5th    letter          from       Dongguk           or    that       the


        September          22nd       fax       was         fake        have             dont         at    all


10      besmirch           if    you       will        or    even       implicate            whatsoever


11      Dongguk       or    its       reputation

12                         So    if       we    could        Your       Honor          look      for       instance


13      and    we   do     deal       with       these       allegations                   If    you       would


14      look          or you          dont           need    to    look           Im     sorry              at    page       30


15      of    our   brief            our       initial       brief           we    point        out     all of         the


16      statements          that          were       made         And    again         there       are      only       two


17      statements          that          essentially are                being         relied         on    that       the


18      certification                letter          was    not          Im        sorry         the


19      certification                letter          was    not    received            and      that       the


20      September          22nd       fax       was         fake         But       not    that        Dongguk           you

21      know        didnt        receive             it

22                         And       that       becomes       important             because           if    you       look


23     at     our   argument               Reinsteins              acknowledgment                  is      that       the


24     September           22nd           2005       fax    may have          been       faxed        from       Yale


25     University               and       thats        at    the    complaint             at     105       and    our
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 13 of 184

                                                                                                                               12




        brief       at     32         The    point        being          that     the       inference              to    be


        drawn       is     it    is    very       much contrary                  to    any       inference              that


        Dongguk          had     forged        the       fax        but     it    also        bolsters             what


        Dongguk          was     saying           that        it    received           the       fax

                            So       what    we     have       here        is    Yale       not       contradicting

        look    youre            saying        you       received           it    based          on     what       we    know

        you    know         it       could     have       been          sent     to    you            We     believe          at


        this    point           its          fake             We    believe           at    this        point       its

        fake         And        so    if    you     look       at       these     statements                  what       they

10      essentially              do    is    make        those          statements               but       they     never


11      implicate           Dongguk               And          think        that       becomes             clear

12                         And        what     is    interesting                 again        is      that       Dongguk

13     never        engages           with     those          allegations              or     those          paragraphs

14     of     the    complaint                 All       of    those        statements                again        are    made


15      in the       context           of    Shins            forgery           and    her       fraud           not     any

16     statement           of        forgery        or    fraud          or misdealing                  by    Dongguk

17                         To        counter        Yales           statements               what          Dongguk        says

18     in     its    opposition at                  27    is        in    essence            by       stating           that


19     the     September              5th    letter           had       never     been        received             by    Yale


20     and     that       the        September           22nd       fax     was       never        sent       to    Dongguk

21     and     that      both         documents           were          fakes     and       forgery              Dongguk


22     was           Yale        was       calling        Dorigguk               liar publicly

23                         Again            there        is    no       allegation            that         that


24     September           5th        letter         that          is    Dongguks             letter          of    inquiry

25     was          fake       or     forgery             We       point        that       out     in      our     footnote
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 14 of 184

                                                                                                                     13




        in our    reply            And       secondly            theres          no    allegation             that


        the    September        22nd         fax    was       not    sent        only       that    it       was    not


        prepared      by    Yale        as    the       complaint          says       at    105

                        And     whats          key       here       is    not    only       are    the       facts


        misrepresented              but       by    not       bothering          to    explain          how    Yales

        alleged    statements                could       be    interpreted             as    calling          Dongguk


            liar thats             the       only       way    that       Dongguk          can    claim       that


        the    allegations          are       sufficient             to    state            claim       of


        defamation             Looked         at         think       with       all reasonable


10      inferences          nothing           implicates             Dongguk          and    certainly

11     nothing     defames          them

12                      Your       Honor           Dongguk          tries       the    same       strategy           if


13     you     will     with       regard          to    the     issue      of       malice         Theres

14     bald    assertion           in    the       brief       on   page        27    without       citation          to


15     anything       in    the     complaint             that       Yales           statements          were       made


16     maliciously              But      because          theres           no    citation          in    the


17     allegation           theres            no    inference             that       could       reasonably          be


18     drawn     that      Yale     made       any       statements             about       Dongguk          with


19     knowledge        that       they       were       false       or with               reckless


20     disregard of           the       truth            There       are    summary          conclusory


21     remarks     in the          brief       that       this       is    malice           but    theres

22     nothing     that       is    relied          on    in    the       complaint

23                      What       we    do    in       our    brief        to       the    contrary           is


24     address     the      allegations                 that    Dongguk          made       that    show            lack


25     of     malice       And      those          are    prompt          investigation
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 15 of 184

                                                                                                                            14




        correspondence                from       Yale        back       and       forth       with       Dongguk       that


        seeks    the       truth          or    attempts           to      find     out       whats        happened

        here     prompt          acknowledgment                    of      its mistake              once    it     was


        discovered               And       again           Yale       made        mistakes          here    and       the


        issue    is        you       know        was            cause        of    action       stated          in any


        regard       in any          of    these          four     claims               And    it    promptly

        acknowledged             that          and    then       it     apologized                  All    of    those


        are    indicia          of         lack       of    malice                Ill           and       again

        dealing       with       the       complaint             you       get     there

10                         The       contract             claim       is     another          example

11      believe        Your          Honor           where       Dongguk           refuses          to    engage       with


12      its    own    allegations                and       seeks        to    mask       their       insufficiency

13      by    mischaracterizing them

14                         Dongguk             claims       that        it    alleged          that       there       was    an


15     understanding                 between          Yale       and       other        academic          institutions


16      that    they       would          rely       on    each       other        in    determining             whether


17      to    hire    the       individuals                about        which       they       inquired               There


18     are     three       paragraphs                cited       by     Dongguk            this      time       26     29


19     and     193    of    the       complaint                  Those        paragraphs             contain          no


20     such     allegation                of    understanding                 between          Yale       and    other


21     academic        institutions                        No    reasonable              inference          can       be


22     drawn     of    that               Theyte           just       simply        riot      there         More


23     importantly               Your          Honor        there          are     no    allegations             of    an


24     understanding                 between          Yale       and       Dongguk

25                         If    you       remember              we     make       two     arguments            with
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 16 of 184

                                                                                                                          15




        regard       to    contract            essentially              theres           no       meeting          of    the


       minds         theres         no    understanding                 between          the       two       and


        theres        no    custom        that       is       alleged        as    Dongguk             would


       maintain           from    which             contract           can    be       inferred              and


        theres        no    consideration

                           To    say      as    Dongguk             repeatedly           does           that       whether


            contract        exists        is         question           of    fact           it    is    to       miss    the


       point       and     its     to     miss       the       threshold           inquiry               Its

       question           for    this     Court          as         matter        of    law       as    to    whether


10     Dongguk        has       alleged        the       existence           of         contract

11                         The    issue        of    consideration                     again             believe


12     shows       Dongguk        refusing           to       engage       with        the    allegations                of


13     its     own    complaint                It    argues            and    here       it       is    at    the


14     opposition           at    24      that       mutual          promises           may       be    sufficient


15     consideration               but        there       is    no     allegation             that       Dongguk

16     made     any       promise        to    Yale            There       just        isnt             Theres           no


17     basis       for     the    claim        of    mutual          promises                It    may       be


18     correct        statement           of    law           but    theres            nowhere          in    the


19     complaint           does    that        occur

20                         And    again         without             citing        its    complaint                 Dongguk

21     argues        that       Dongguk        has       pled       that     the       parties          had       promised

22     to   each      other       that        upon       request        of    one       party          the    other


23     party     will       verify        and       provide          accurate           information                as    to


24     whether        the       reported        degrees             were     actually             awarded          by    it


25     or   not           Again     there           is    no    such       allegation              and       the    lack
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 17 of 184

                                                                                                                                16




        of    citation           on    page       27     makes       clear          that          this    is     you       know

             think     just            mask for the                 transparent                   insufficiencies                of


        the     complaint

                             Your       Honor            Im        going       to       now       just    briefly


        address        the       reckless          and        wanton          conduct             claim

                            Here       theres                 think            lack          of    engagement             with


        the     essential             element          of     that       cause          of     action           And       it


        does       require             conscious              choice          of         course          of    action

        And     what      Dongguk           puts       forth        is    only               negligence          standard

10           should       have        known       standard                And       it       misunderstands                the


11      legal       standard           by    saying           it    need       not       allege          that


12      Shirmeister              Carney           and       Reinstein              knew        that      their


13      statements           were       untrue                Unless          they       knew       that       their


14      statements           were       untrue           or      recklessly              disregarded             that

15      there       can    be    no     conscious                choice        of            course       of    action

16      There       can    be         according             to     the        you       know        Sheiman          and       the


17      Connecticut             Appellate              Court         no       claim          for    reckless          and


18      wanton       conduct

19                         Again            they       claim        that       it       is         question          of    fact


20      to    be    determined              by    the       trier        of    fact               Again       they    put       the


21      cart       before       the     horse               The     issue          is    whether          they       have


22     alleged         reckls               and    wanton           conduct              dnd       thats             quebtiori


23      for    this       Court        and       its             question           of       law

24                              should           point        out    with          regard          to    the    reckless


25     and     wanton        conduct             claim           that     they          have       not    even
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 18 of 184

                                                                                                                                  17




        addressed             Yales        argument            that         it    cannot          state            claim          for


        reckless          and       wanton        conduct          because             Yales           alleged          actions


        entailed          no    risk       of physical                 harm       to     Dongguk              And       Dongguk

        does       not    deny       that     every          case       to       recognize                  claim       for


        reckless          and       wanton        conduct          has       involved                  risk       of


        physical          danger             And        indeed         each       case       that       Dongguk          cites


        in    its       opposition           brief        at      20    to       22    invnlves             physical


        danger

                              Finally         Your       Honor                   would       turn       to    negligence

10      And    we       make        if you        will         five         arguments             with       regard          to


11      negligence             and    three        as     to      why       there       is       no    duty        and       two


12      why             one    why    theres            no     causation               in    fact       and       why    there


13      is    no    proximate          cause           here

14                            Our    first        argument             is    that       Yale          had    no    duty       to


15     prevent           Dongguks            pure       economic             harm            And       as    we    point          out


16      in         footnote          and     as    we    try       to       be    candid          with       the       Court

17      no    Connecticut             appellate              court          has       addressed             that       issue


18     directly                However            we    would          maintain             if    one       looks       at    both


19      the    Restatement             at     Prosser              Restatement                   Sections          323       and


20      324A        Prosser           you     look       at       the       Waters           the       Supreme          Court


21     case        in    Waters        you        look       at    the       Doe             Yale       case           all    of


22     those            you    know        indicate                    granted          they          may    not       hold


23     certainly              indicate        that       in Connecticut                          which       follows


24     great       many        other       states        in       this       regard              that       in the


25     absence           of    physical           harm         there         cannot          be             theres           no
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 19 of 184

                                                                                                                           18




        duty     to    prevent          purely           economic           alleged          loss    here         And

        Your     Honor             will        tell        you    that             you       know     read       these


        cases     in an          attempt        to       discern         what      the       rationale        was

                                 think     if you           look       at    the     other      states           cases


        and    whats         going        on    here              think        the      cases       want    to    draw


        line     between          tort     and       contract                And     some      of    the    cases


        basically say               if     you       wanted        to        you     know       as    it    were

        protect        your       economic           expectancy               you       should       have     entered


        into          contract             We       are     not    going        to      blur    the       line        we


10      are    going        to    make          distinction                 here        certainly          where


11      things        are    gratuitous

12                          The    other        reason             think        is      if    you    look     here

13      whats         at    issue       are     statements                   And     plaintiff                and


14      plaintiffs           typically              have     other          causes       of    action       for


15      statements                And    in     fact         this       plaintiff             has    chosen       one       of


16      those     other          causes        of    action            which       is    defamation               They

17      could     not       plead       negligent misrepresentation                                 here    because


18      they    couldnt            fulfill           the           those                the    elements          of    that


19      claim     which          requires                business           interest            Its        applicable

20     mostly unfortunately                         to    people         like me         in    the    legal

21     profession and               accountants                  and     such

22                          But    the    point           being              think       there       is


23      rationale           for    this             And          think       the     real      weight       of


24      authority           in    this    regard            indicates           that         there    should          not


25     be       duty        for    purely economic                     alleged          loss    here
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 20 of 184

                                                                                                                      19




                            Your       Honor        then       if         could       turn       to    the


        foreseeability                argument

                           THE       COURT         Mr     Springer              let    me     interrupt            you

        at    this    point          just    briefly

                           Once       Yale       undertook          to    respond        to      the    letter        of


        inquiry        did       it    have       any    duty       at    all

                           MR        SPRINGER            We    maintain           that      it    did    not        both


        for    the    reasons          Ive        just    mentioned              but     also         because       of

        in    this    instance              because       of    foreseeability                   issues         Your


10     Honor         and    because          of    public       policy

11                         THE       COURT         Did    it    have            duty     to      act    honestly

12                         MR        SPRINGER            It    did       act    honestly          based       on    the


13     knowledge           that       it    had     Your       Honor

14                         THE       COURT         But    you       dont        concede          that    it     had


15     duty     to    do    even       that

16                         MR        SPRINGER                 dont        think       there       is    any

17     allegation           here       that       there       was         dishonest           action            And


18     when     you    ask       do         not    concede           Im        rapidly        going      through

19     my    brain     to       recognize          what       the    implications                may    be

20                              think        Your       Honor        if it       did     not      act    honestly

21     there     would          be         fraud    claim       available             here        perhaps             And


22     there     is    no       basis       for    that       fraud       claim

23                         THE       COURT         So    if    an    academic          institution


24     inquires        of       Yale        it    can    reasonably             expect        that      Yale       will


25     act    honestly
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 21 of 184

                                                                                                                            20




                           MR      SPRINGER               Because          they       would       have             fraud


        claim         But     it    cant        be          guarantee            of    accuracy                  And


        thats        one     of    the    public          policy          arguments               want       to    make

                           Were      looking          at            large    research             institution

        Your    Honor         where       if    you       had       that    standard             as    the


       plaintiff           wants     to     impose             and         think       its        paragraph             174

        that    it    has     to    respond          accurately             here

                           Looking        over       with       many       schools           50       years       of


       records         receiving           vague          inquiries               Did       Jane       Doe       graduate

10      from    Yale          Can    you       provide          us    more       information                     Im     not


11     sure          Names        that    change           names          that    are       inaccurately

12     given         all    of     that        it    does             think           you    know           respond

13     honestly            but       dont           think       theres           any    allegation                nor       can


14     there     be    that        it based           it       on    the    knowledge             it       had    at    the


15     time      the       standard        that       the       plaintiff             wants       to       impose       and


16     the     damages       it     wants       to    impose              make    this           you       know

17     case     where       if       duty       is    found          by    this       Court                think       it


18     would     be    contrary           to    public          policy            And       one       of    the


19     reasons        is    to     impose            50    milliondollar                     as       it    were

20     penalty        for making                mistake             would    basically                have        you

21     know      as    Mr        Weiner        said       in    the       argument          on    the       motion          to


22     stay      look        if     theyd           ignored          it     there       wouldnt              be


23     problem here                 You    want       people          to    respond              you       want     them


24     to    respond        with     the       knowledge             they    have       and       honestly                  But


25     they     may make          mistakes
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 22 of 184

                                                                                                                     21




                        Here           to punish          that      and     to    hold       out    that


        punishment           one        the    threat          of   that     liability             is    so


        enormous        two             dont        think           university              could        given       the


        fact    that    were           dealing       with       human       beings           design            system


        so   foolproof        that       you    could          prevent            mistake               And


        furthermore           the       cost    of       seeking       to    design               system       would


        be   enormous

                        So    thats           why    Im        saying       public          policy       for


        innocent       mistake                and    we    maintain          it       is    an    innocent


10     mistake              and    if    you    will       based       on    the       knowledge              and    an


11      honest       mistake            Were        not    saying         that        dishonesty          should


12     not     be     you    know        dealt       with           But     theres           no    allegation

13     nor     can    there       be    of    that

14                      And       also         guess       when       you    said          honest        you    know

15     Your     Honor        all       is       recognize             its             bald       statement

16     recognize        youre           dealing          and    trying       to       understand          the


17      implications          of       any    law    that       you    may       fashion          here        but


18     again     its        all    contextual             for me       and       Im        referring          back    to


19     the     complaint

20                      Let       me    then        if         could             and         hope       Ive

21     answered        your       guestion

22                      THE       COURT         Let       me    ask    you       to    stay       with    me    for


23     moment        longer

24                      MR        SPRINGER               Sure

25                      THE       COURT         You       state       that       of    course       its
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 23 of 184

                                                                                                                               22




        socially          desirable              for         university                to       be    able       to    respond


        to       request          for       verification                     You       state          that       because


        its      socially             desirable              we     need         to    be       very       careful       not     to


        create            chilling           effect

                                 take       it    you       agree       that          what       is       socially

        desirable           is    that       the       university                not       only       respond           but


        that    it    exercise              some       degree          of    care          in responding


                            MR        SPRINGER               Your       Honor                   think       we    are    at    the


        point       where        we    can       talk       about       making             an    honest          response

10      and    my    concern           is    that        the      camels              nose       get       under       the    tent


11      here        that     there          will       be         chilling             effect             and    some    degree

12      of    care    of     course          is     in      the    eye       of       the       beholder               Dongguk

13     may     say    some        degree          of     care      is       to    ensure             that       the    response

14      is    accurate

15                         THE        COURT            All       necessary             and       appropriate             steps

16      to    ensure        that       its accurate

17                         MR         SPRINGER               Wtell          you       know           again       that    may

18     you     know        what        are       all --          that       may       --    people          may       differ


19     about        that    particularly with                               large          university             where


20     someone        gets        relied          on     that      you       have               reasonable             basis


21     for     relying                So      dont           think          you       can       be    as    prescriptive

22     as     that        because             worry          that       that          becomes               slippery

23     slope        for          standard          here          and         dont           think          you    are    --


24     dont         think                   think        the      chilling             effect             you    worry       about


25     will     occur       particularly                    if    we             if    Yale          is    subject       to
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 24 of 184

                                                                                                                            23




        $50    million             in damages


                              THE       COURT         In       the     area    of      negligent


        misrepresentation                       under          the     restatement             of    torts           the


        principles                that    have       been       developed           aim to          confine


        potential             liability          for       the       misinformation

                              MR        SPRINGER               They     do

                              THE       COURT                  to    that     transaction                     And    you

        mention          that       here       the    plaintiff             could        not       plead            cause       of


        action          for       negligent          misrepresentation                         Whether          thats

10      true       or    not        looking          at    this        limitation             on    liability              if


11      you    will           could       something             like       that     be    fashioned             to


12      address          the       situation          here             Namely             situation             in    which


13      it    is    socially             desirable             that         response           be    provided              it


14      is    socially             desirable          that             response          be    made       not


15      willynilly                 but    after       the       exercise          of     some       appropriate

16      degree          of    care       without          exposing          the     supplier             of    the


17      information                to    the    kind       of       vast    liability              that       the


18      plaintiff             would       seek       to    impose          upon     Yale       in    this       case            Is


19      there            way       to    follow       the       guidance          provided by                 the    law    in


20      the    area          of    negligent          misrepresentation                       to    achieve          that


21      end

22                            MR        SPRINGER                    dont      think       so        Your       Honor        and


23           will       tell      you     why

24                            Youre        talking             about       Section        552       of    the


25      Restatement               which                   of    the     Restatement                  And       what
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 25 of 184

                                                                                                                                24




        becomes           important           is    the       elements          of         negligent


        misrepresentation                    claim             And         dont           think       you       can       import


        because           of    those       elements           that       Restatement                to    323       and


        324A         which            think        are    applicable             here       and       which          set    the


        standard           and       dont        provide           the    guidance              in part             because


        one     of    the       elements           of    the       negligent          misrepresentation

        claim        is          and       this     is    why            said    it       applies          to       lawyers

        and    accountants                       one     who       in the       course          of    his       business

        profession              or employment                 or    in    any    other          transaction                in


10      which        he    has            pecuniary           interest               And         think          that


11      supplies           false          information                And         think          that       because          of


12      the    nature           of    that       cause        of    action       and       because             of    the


13      pecuniary interest                       and     because          its        in    the       business


14      profession or employment                               you       know        or    with            pecuniary

15      interest

16                             Thats        not     true       here            There       is    no       pecuniary

17      interest                There       is          gratuitous             undertaking                by    Yale            And


18        think           what       fits    are        the          essentially the                      strictures


19      that    are        in    323       and     324A

20                          THE       COURT             Just       supposing          that       we       can       get    past

21     the     elements              of    negligent           misrepresentation                      claim          and


22     consider            that       rule       that     limits          liability             for       providing


23     incorrect               information               focusing          on    that           is    there               way    to


24     import         such            limitation              into       the    situation             we       have       here

25                          MR        SPRINGER                     dont        think       so    without
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 26 of 184

                                                                                                                               25




        slippery          slope               really            do    not              think          thats         why    we


        have    the       economic           loss           Thats           why       we    talk       about        privity

        Thats        why    we       talk             and            dont        think       there       is     here

        think     its       an       either/or              as       it    were        game

                           THE       COURT            In    this          situation              Yale    knew        or


        should       have       known        from      the       contents             of    the       letter        of


        inquiry       that       the    university                   was    considering                hiring        this


        person            And    in that          context                 Yale    responded             as     it    did

                           Lets        take            hypothetical                   case            Lets      say that

10      the    inquiring             party was             the       University             of    Kansas        and       this


11      person       is    being       hired          for            particular             position           on    the


12      faculty       and       that    information                   is    disclosed             and    the


13      verification             proves          to    be       inaccurate                  In    the    meantime

14      the    person       has       been       given          an    opportunity                to    teach        and    it


15      comes    to       light       that       the       person          is    in    fact       not          graduate

16      of    Yale    and       the    person          is       terminated                  Thats        it          Theres

17     no     publicity               Its        just       as       simple       as       that

18                         In    that       circumstance                    generally             speaking               what


19     would     be       the    harm       to    the       University                of    Kansas       that        might

20     warrant        some       recovery             from       Yale

21                         MR        SPRINGER                    dont           know       that       there


22     necessarily              is    any    harm          to    Kansas          from       someone          who         you

23     know      has       falsified             the       degree          and    works          and    then        is


24     terminated                     dont        know          that       there       necessarily              is       any

25     harm          Im     thinking             of    lawyers             who    get       hired       who     dont
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 27 of 184

                                                                                                                     26




        you     know      have       the    credentials              they       say    or     you       know

        we        and     then       we


                          THE    COURT             What      about       that

                          First       off           trust       that       in    your    research             you

        find    no     case     on    point         that      is      no    case       in which          an


        academic        institution            responding             to    this       type       of    inquiry

        prnvides        incnrrect           information             and     winds       up    getting          sued


        for pecuniary            harm

                          MR     SPRINGER               We    have       not      Your       Honor

10                        THE    COURT            No    case

11                        MR     SPRINGER               No    case         Your       Honor

12                        THE    COURT            And     you    mention          attorneys               What


13      about     cases       involving           employers           who       are   contacted           for


14      verification            of    prior       employment             and     respond          with


15      incorrect         information             and     wind      up     getting       sued            Any    cases


16      like    that

17                        MR     SPRINGER               There       may     be    some        but       what    has


18      happened          there       is          the     advice         that     goes       out       is dont

19      respond      to    the       request        unless       you       get        release             And       that


20      is    fairly      uniform advice                in    the     employment             bar       these    days

21     because       you      dont         know    what       may be        claimed          with       regard       to


22     that       and     its             tricky       issue     as      you     might       gather            So


23     theres                   dont        think       theres           guidance        there

24                        The    other       thing            would        mention           is    in    your

25     example          one     of    the    issues          here     is    again       that       this       was
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 28 of 184

                                                                                                                               27




        fraud          The      certification                 letter          had       her       signature              it    had


        Yales         letterhead             and         dont        think          there          was      any     question


        taken      in by        that            But     the    point          being          Yale      --     and    we


       argue       this      in      our     brief             as         matter             of    public          policy


            just     want       to     briefly          get    back       to       the       foreseeability


       as       matter          of     public         policy        is    not           you       know        to    protect


       Dongguk         from       Shins          fraud          And       it       is    literally             Shins

       fraud       throughout              all of        this            Because             without          Shins

       fraud         none       of     this     occurs              None       of       this       occurs            And

10     you    know         it     is    repeated          frauds                   stack          of     you       know

11     fraudulent            documents             that       Yale       is    privy          to    and       that       we


12     cite     in         believe           its        Footnote               of       our       brief        our       main


13     brief

14                         THE       COURT            Would     the       case          be    different             if    --


15     hope          didnt           interrupt           you    there

16                         MR        SPRINGER             No        no        no

17                         THE       COURT            Would     the       case          be    different             if    in


18     the    letter         of      inquiry            the    university                stated             We      have


19     reason        to    suspect           that       this    person             is    not           graduate           of


20     Yale
21                         MR        SPRINGER             It    might          be        Your       Honor            The


22     issue       then      would         be      you    know       --       it    might           dlthough             Im
23     you    know         Im        trying        --    certainly             it       would       be         different


24     case     and       there        might       be         different             argument             to    be    made       if


25     other              and     as    we    point       out       as         public             policy       matter
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 29 of 184

                                                                                                                           28




        Dongguk         could        have    made       it    easier          on    Yale            It    had    other


        information                  It    had    other       documents                 you    know            And     you


        know       in part           its     the       fraud       that       it    was       put    before


        Shirmeister

                           One       of    the    issues       there          is         suppose                Im

        worried         again        about         slippery          slope               Certainly             not    our


        case         And      if     it    had    been       done        maybe          theres           another


        argument         to     be    made       here        but     you       know             dont           know    that


        it    imposes              duty            cant        see       it    necessarily                imposing

10     duty     without            more          And         dont        know       what       the       more


11     necessarily              is         And    we    may    talk       about          that

12                         THE       COURT         Im        wondering             if         party       in    the


13     shoes       of    the       university           submitting             this       letter          of    inquiry

14     is     obliged         to     disclose          the    information                in    order          for law       to


15     protect          whatever           expectancy          it    might          have        and       thats        why

16           ask

17                         MR        SPRINGER            Well        one       --


18                         THE       COURT         If    you       know       or    reasonably                suspect

19     that     the      person           youre        dealing       with          is         con    artist          and


20     you     submit              request        to    Yale       without          telling          Yale        what       is


21     your     reasonable                expectancy          as         matter          of    law            That    you

22     can    hold       Yale        fully       Lesporisible            for whatever                might       flow


23     from     an      incorrect           verification

24                         MR        SPRINGER            Thats           what       we    argue          as      matter


25     of    public        policy           Your       Honor        in    our       brief           that       Yale        you
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 30 of 184

                                                                                                                         29




        know     --     Dongguk         had       more     information                It       certainly           had


        enough        information              to    be    very     suspicious              of    Shin       and        you


        know         according          to     the      allegations            in    the       complaint           and

        whats         in the        newspapers               it    did    not       and     --


                            THE     COURT                 mean      realistically                     and    here


        were         getting            bit       far     afield         but    realistically                     if    in


        the     letter       of     inquiry             Yale      was    informed           that       the


        university was                 concerned           about        the    legitimacy              of    this


        claim and           it    was         matter         of    extreme          importance              because


10      this     applicant              in fact           this     recent       hire           had          very       high

11      profile        and       the    university did                  not    want       to     be    embarrassed

12      because        the       damage        to    its     reputation             given        the    nature          of


13      the     culture          could       be     extremely           significant               what       would


14      Yale     have       done         Realistically

15                          MR     SPRINGER                Realistically                       think        it    is


16      realistic           to    believe           that     Shirmeister             would        not       have       been


17      taken        in by       the    fraud        and     fooled       by    that

18                          THE    COURT             Would        she    have       responded

19                          MR     SPRINGER                Your     Honor             think           that       when    you

20      say     responded

21                          THE    COURT             Would        she    treat       that        as    just       another


22     day      at    the    office          in the        ordinary           course       of     business

23     well          just    send       something           back

24                          MR     SPRINGER                No           dont        think        so              mean

25     think         she    would       have              its     my     belief                when     you       say
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 31 of 184

                                                                                                                          30




        realistically                      dont           think       she     would       have       made       the


        mistake        she    did

                         THE       COURT                 think       thats         probably          right

        mean    logically           that       sounds          right

                         MR        SPRINGER               Yeah

                         THE       COURT            So    in    that       context            what       should       the


        rule    be

                         MR        SPRINGER               Well


                         THE       COURT            You    want       to    encourage              universities


10      to    provide        verification                 we    want       them     to    act       with       an


11      appropriate           degree       of       care       in    the    circumstances                     but    we

12      dont     want        to    expose       them       to       liability        that          would       chill


13      this    process

14                       What       circumstance                or    set     of    circumstances                   could


15      give    rise     to       that    kind       of    liability

16                       Youve           got         con       artist       who     was       bent       on    doing

17      who    knows     what        hut       if    the       university hiring                    this       con


18      artist       receives        misinformation from                       Yale           it    will       trust


19      that    the     person       is    not            con       artist     and       we    go    from       there

20      It    seems     to me       as         matter          of    public        policy           if    you       were


21      crafting        rules       or    protocols                 you    would     certainly                focus       on


22      the    obligation           of    the       requesting             party     to       tell       Yale       what


23      it    knows

24                            mean        the       requesting             party     is       asking          Yale    to


25     do     this    gratis         like       its        just       another        day       at    the       office
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 32 of 184

                                                                                                                         31




        nothing         special          with       no    disclosure             of    the       particulars

        which     would       be    significant                to         reasonable             person       in


        Yales position

                         MR        SPRINGER                    think       thats        right

                         THE       COURT            By    the       way     does       Yale       have


        protocols

                         MR        SPRINGER               They       do     Your       Honor            We    havent

        done     discovery          and       we    havent                 youre        asking          me        and    it


        does     have    protocols

10                            will       simply          say    again       that       Shirmeister                was


11      taken     in          the       fraud           and    it    is          --    and       maybe            should
                        by                                                 my

12      state     its        my    belief          that       this       was     you    know        as       you       look


13      at    this      it    had       her    signature                  And    if    you       look    at       what


14      she     responded          to    it        that       she    was    fooled          by    the    forgery


15      and     simply       acknowledged                that       it    was    hers theres

16      little           theres           not       an    exact          meeting       of    what       was       asked


17      for     here         So    thats           why         say       that    she    was       fooled          by    the


18      forgery

19                       Without          getting             further       and        you       know             think


20      one    possibility               let       me    put    it       that    way        is    that       it    was


21      not    taken     as         request             for verification                because          of       the


22      forgery          Did       you    sign                heres        your       signature              Yale


23      letterhead                You    know           get    us         response               Yeah        this       is


24     mine        You       know

25                       And       again           it    is          with       the    forgery          and       the
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 33 of 184

                                                                                                                                32




        fraud      here        Yale        is    put       in         difficult              position                 And      we


        maintain          as     we    do       in    our       brief that                   you      know          that       for


        public      policy        reasons                 it    should          not     be      in         position            to


        protect      Dongguk               particularly                   as    we     also      argue          Dongguk         was


        in       position         to       protect             itself          better        than         it    did    with


        regard      to    the     inquiry             it       made       of    Yale         that         it    made      it


       difficult

                          Two     brief          points              Your       Honor           if    you       would          and


        Im     happy      to     answer          further             questions                  It    is       to   say     the


10     least        as         said         not       your          garden          variety          tort       claim

11                        In     any       event           just       two       questions                  On


17     foreseeahility                 here           it    is       harm       of    the             it    is          and


13     probably should                     you       know           look       at    it      because            Dongguk

14     conflates          the     standard                about       foreseeability

15                        What        is    true          here       is    that        Yale      could          not    foresee


16     the    harm       of    the     general             type       that          occurred              namely       this


17     devastating             effect           on    Dongguks                 reputation                  Remember             the


18     only     harm      is    reputation                      All       of    the     rest         flow       from      that

19     Because       the       law     school             doesnt           get       authorized                 the    award


20     doesnt        get       made        because             of    the       reputation                  But      neither


21     Shirmeister              as     we       point          out        nor       Carney           nor       Reinstein

22     nor    is    alleged                 you       know           could          foresee          that       harm

23     Dongguk       talks       about                    you       know        reverses             it         Its       in


24     their       brief        and        its        in part             because               dont           want    to


25     spend       that       much more              time       and            think       it    is       in    the    brief
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 34 of 184

                                                                                                                          33




        as    you    will       see

                           And     lastly          on    causation              Your     Honor           we    would


        maintain        that       the      harm would              have       occurred           anywhere               As


        you    rightly       point          out         and         noted        she     had      been        hired


        anyway        there       would          have      been      criticism           for       that         The


        Shingate        incident            with        the    trial       and     the       convictions             of


        the     you     know          the     Chairman          of       the    Board        of    Trustees          and


        the    government             minister           and    Shin       herself            all        you    know

        were    focused          on    the       hiring        before          Yale     got       in

10                         And    so     if      you     look       at    the    news        articles                and


11      again       what    was       reported           not    for       the    truth        but      what     was


12      reported             it       all     focuses          on    that       and     those            So    that       the


13      harm    we    maintain           was       not     either         caused        in    fact       or


14      proximately caused                    by    Yale

15                         Thank       you

16                         THE    COURT             Thank       you

17                         MR     WEINER                Your    Honor              actually            would        like


18      to    address       some       of     the       comments          and    questions             that     you

19      raise         But         want        to    just       focus       you     in    June       of     2007

20                         And    when        Your       Honor       is    concerned               and     rightfully

21      50     with     what      is     the       impact           the    chilling           effect          in terms


22      of    verification               thats           not    really          what     this       case       is    just


23     about          This       case       is     about       what       happened           in    June       and    July

24     and     August       of    2007             If    Yale       had    simply        said       when       the


25     Korean        press       first        raised          the    issue       with        them        yes        we
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 35 of 184

                                                                                                                          34




        made         mistake                We    sent       by    mistake          --    and     they       knew    at


        this    point         that      she       did       not    have             Ph.D.         We    made


        mistake when              we    verified             the       Ph.D         this       case     wouldnt           be


        here

                                  client          simply          said       when    we    made        our    --
                            My

        decided        to    hire       Ms        Shin       when       we    made       this     inquiry          from


        Yale    and     received             this       inquiry             saying       that     she       had     we


        went    forward                If    Yale       had       said       at    the    time     in       June    or


        July    of     2007        yes           that       is    true        they       did     speak       to    us      In


10      fact    we     have       now       learned          that       we made            mistake           at    that


11      time      we    wouldnt              then       have       suffered          the       damages

12                          What       happened             is    that       that


13                          THE    COURT               Youre           not    withdrawing              Count       One

14     are     you

15                          MR     WEINER               No         Remember              all our        counts       cover


16     Yales         mistakes               not    just          the    mistakes          regarding           2005

17                          THE    COURT               In    all       seriousness                 and       this    was


18     question         that            wanted          to       ask    you          looking           at    your    case


19     in    full       comparing                and    contrasting                your     claim       based       on


20     Ms      Shirmeisters                  response             in    September           of    2005       with    the


21     events        that        occurred          later                gather       you       view     the


22     Shirmeister               part       of    the       case       as    relatively           unimportant

23                       MR        WEINER               No         Its             predicate           act

24                          You    can       look       at       this       case    on         variety        of


25     negligence            or    reckless             acts       and       then    ultimately              defamatory
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 36 of 184

                                                                                                                            35




        acts    and       we    did     not      allege          fraud       because          we    did       not    have


        sufficient             information             to       allege       fraud       then            Maybe


        discovery          will        point      that          out         If    it    does             will       come


        back    to    you       and     say           would       like       an    amendment                  But


        essentially               think          she       was    at    the       very       least       reckless

        And let me             just     briefly


                           THE    COURT               You    --    and            dont        want       to    interrupt

        and    prevent          you     from      even       getting             started                but    you    said


        that    if    Yale       had       acknowledged                its mistake                 we    wouldnt           be


10      here         So    thats

11                         MR     WEINER                    said       if    Yale       had    acknowledged                 its


12      mistake       publicly that                   in    fact       Donggiik         had    gone       to       them

13      that    Dongguk          had       received               fax       from       Yale    which          verified

14      although          mistakenly              verified             Ms        Shin    as    having          gotten

15      Ph.D      from         Yale        my    client          would       have       --    thats           what


16      happened               Thats        what       they       were       telling          the       press         But


17      when    Yale       comes       in       and    says       none       of    that       is    true


18                         THE    COURT               So    --


19                         MR     WEINER               They       never          contacted          us        we    never


20      told    them       she    had            Ph.D            then       my    client       becomes


21      subject       of         potential             criminal             and         criminal


22     prosecution                Then          its        vilified          in the          press       for having


23     lied     about       why       it    hired          Ms     Shin       in the          first       place

24                         So    this       is         series          of    serious          mistakes               Not


25     just    at     the       very       beginning               These          mistakes          continued
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 37 of 184

                                                                                                                        36




                         THE        COURT            So     if         were    to    raise       the


        possibility            of    certifying              this       case    to    the       Connecticut


        Supreme        Court        for    advice            indeed       for       controlling          law       on


        whether        you     have            negligence              claim    against          Yale    based          on


        what     Ms     Shirmeister                 did      you       would    say             take    it        please

        dont      do    that        because          thats         really       not       why    were here

                         MR         WEINER            No               would    say       there    are            number


        of     negligence           acts       in    this        case     not       just    what


        Ms      Shirmeister              did

10                       THE        COURT            But     thats        sort of          --    well        it


11      happened        first in           time

12                       MR         WEINER            It    happened           first       in    time

13                       THE        COURT            At    this        stage    of    the       case     its        the


14      tail     on    the    dog          Dont           send     the    case       to    the    Connecticut


15      Supreme        Court        to    address          the     tail         Lets        keep       the    case


16      here     and    look        at    the       dog          The    dog    being       what    happened

17      when     they    failed           to    acknowledge              their       error         Thats           what


18      this     case    is     really          about             Is    that


19                       MR      WEINER               In    essence           thats        correct


20      because              when        Your       Honor        raised       for example          what       kind       of


21      damages        would        Dongguk          have        suffered       for       simply       having

22      received        misinformation from                        Yale             would       have    told       you

23      probably        not          lot       because        maybe       they       could       recover          for


24      the    wages     they        paid       her        maybe        they    could       find       some       other


25      type     of    damages           they    may have              suffered            But    the    real
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 38 of 184

                                                                                                                            37




        damage       occurs         in beginning                in June            and    July       when       Yale


        says      we    dont           know       what       youre           talking          about        we    never


        contacted           you        we    never        told      you       she       had         Ph.D        from


        Yale      in fact              we    never        received            any       letter       from       you    in


        the     first       place

                            So    while            believe          this       is             you    know        what


        Shirmeister              did    or       didnt        do    was       obviously             very    important


        to    some     of    our       claims             The      core       of    this       case       occurs       as    to


        what     happened          and       why       did    Yale       say       in    June       and    July       and


10      August       and     September                 particularly in the                      face       of    having

11      received        information                from      my     client          saying           you    know

12      think     youre           making               mistake          here        could       you       please       tell


13      the    Korean        press          and    the       prosecutors                 by    the    way        that       in


14      fact    you     did       get       an    inquiry          from       us    and       you    sent       back    to


15      us      fax          Even       if       in the       face       of    being          told    we    were


16      facing       criminal           prosecution                 Yale       continued             to    deny       and


17      claimed        that       it    had       never       received             the    communication                from


18     my     client        and    it       had    never        sent         any    communication                back

19     And     thats         the       core       of    this       case            Its        the    core       takes


20     place     in     2007           not       2005        Thats            the       predicate

21                          Im     not       withdrawing                my    claims          that    it    impacts

22      that         But     if    youre           trying          to    truly          analyze       this       case

23      the    damages           flow       from       the   acts        that       occurred          in    2007

24                          If    Yale       had       simply       said           you    know       what        we    made


25           mistake         then        before          all       the       press        before          they    went       on
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 39 of 184

                                                                                                                            38




        TV     before       they        issued         press       releases               before        they         issued


        official       statements                denyinq          everythinq               then            suspect          we


        wouldnt        be    here               But    thats        what        they       did          And       its

       undisputable

                        We       have       the       press       releases                We    have       the       60


       Minutes      type         of     television               presentation              that       they        made

       We    have   their         official             statements                   All    of    which          they


       deny      stating          that          the    letter       that        they       sent       was


       forgery         the       fax       was         forgery                  disagree             with       my

10     adversary        as       to    that           as    to    what       the    newspapers               said           And


11     they     also    deny          having          received          any     inquiry          from        my      client

12                      What          makes       it       reckless            which       takes        it      tn    the


13     next     step        is    my       client          kept    sending           them       additional


14     information           saying              we    think       youre wrong                   heres            the      fax


15     number       heres             the       person          in the       mail     room       who       received


16     our     inquiry            And       in    the       face    of       this     continuing

17     information           that          we    sent       to    them         they       continued             to    issue


18     false     statements                to    the       press

19                      So       when       you       analyze       this        case           thats         what


20     think     you    have          to    look       at

21                      Now           in terms             of    protection           in       terms       of     public

22     policy       the      fact          of    the       matter       is     thats           why    we     have         Good


23     Samaritan        laws               Im     not       suggesting                         happen        to      agree

24     with    Mr      Springer             that       there       is     no    limitation                        dont

25     think    wed       prove                 lot    of       damages        if   we     were       just        relying
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 40 of 184

                                                                                                                          39




        on   Shirmeisters                 mistake               So         dont        think       theres

        specter         of    huge       damages          on    that            But    there       is    huqe


        damages         that       run    from        the      negligent             or reckless


        misstatements               that       were       made       in    2007       or    defamatory

        statements            that       were       made       in    2007        and       we    believe       we    have


        pleaded         them       correctly           under         Connecticut                law

                             Now          would        like         to    briefly          address       some       of    the


        points         that       Mr     Springer           did      make

                             He    started          off     his      argument          by       referring          Your


10      Honor      to    Chambers                   Time       Warner           Inc        282    F.3d       147    as


11      seminal         case       as    to    when       you       can    rely       on    documents          outside


12      of   the       pleadings              the    actual          cnmplaint             documents               And


13      thats          actually               case          agree         you    should          read         Because


14      in that         case        the       Second        Circuit         took       pains       to    distinguish

15     as    to    when       you       can    do    that       and       when       you    cannot       do    that

16                          And     essentially                what       the    Second          Circuit       has       said


17      is   that       under       Rule       10c                Court         can    consider          extra


18     complaint            documents           if     they       are      dispositive             of    the       claims


19     before          it         For    example            the      cases       that       Mr     Springer

20     referred          you       to    were       cases       involving             contract          disputes          or


21     securities             claims          where       the     prospectus               on    the    contract           on


22     the    face       of       those       documents              were       dispositive             of    the


23     plaintiffs                 claim         And       under          those       very       narrow


24     circumstances                    the    district           court         is    permitted          to    use       and


25     rely       on    those       documents                  However           in Chambers                 the    Second
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 41 of 184

                                                                                                                           40




        Circuit       went       on    to    state        thats              very       narrow       exception

        and    our    rule       on    this    has        been        in    many    respects


        misinterpreted by                   district           courts        so    were        going        to    say       it


        again

                           And         believe            Your        Honor        if    we          to                --
                                                                                               go          page

        let    me    get    that       page    for        you              pages    153       and    154         it


        explains       why       you    have       this        narrow        exception               And     then          it


        goes    on    to    state           Once     the        district           court       was       presented

        with    matters          outside       the       pleadings                Rule     12b                   not


10      10c            Rule           12b      afforded               two    options                You     can


11      exclude       the       documents          and     not        consider          them       and     rule       on


12      the    motion       to    dismiss           or if           youre         going       to    consider


13      them        then    you       must    turn        it    into          summary          judgment

14      motion        you       must    give       the     adversary              notice       of    that        fact


15      and    treat       it    as         summary        judgment           motion               Which     is       why

16      we    argued        Your       Honor        that        essentially              by    relying           on


17      newspaper          articles                this        is   what           heard       Mr        Springer


18      say          those       are    not    the       type         of    dispositive             documents


19      that    dispose          of    this    case             They        simply       quite       frankly

20      raise       issues       of    fact

21                         Neither          side    is     endorsing              them    as       having        truth


22      to    the    statements               Were         saying           theyre defamatory

23     Theyre         saying          theyre        not        even        relying       on    the       truth

24                         Beyond       that


25                         THE    COURT            What        strikes        me    --    more       accurately
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 42 of 184

                                                                                                                                 41




        what    struck       me       at    first blush                   when         looked          at       the


        pleadings           is    how       different                this       is    from       what       the       rules


        contemplate                    dont           want       to       waste       your       time           but    it


       might     be    helpful             to    explain                  bit       more    what       has       been       in    my

       mind     so    that       you       can       understand                my    perspective

                        In       the       appendix             of    forms          that       accompanies             the


       West     version          of    the       civil          rules           there       is         form       complaint


        in   negligence           and       it       is         notice          of    pleading              its

       barebones        document                 it       is    literally                  couple          of


10     paragraphs                On         date          the    defendant             negligently                ran       his


11     vehicle        against          the       plaintiff                causing          damage           period               The


12     forms     are    there          to       illustrate                what         notice          pleading             is


13     supposed        to    look          like

14                      It       seems          to    me       that       an    awful       lot       of    thought          and


15     careful        writing          went          into       the       preparation             of       this       30page

16     complaint        which          tells          the       story          in great          detail               Without


17     implying        any       criticism of                   that       approach                   hope       you    can


18     understand           why        to       my    eye        it       reads       like            press       release


19     that     one    would          issue          to    the       Korean          press       to    explain          the


20     whole     saga       from       the       Plaintiffs                    point       of    view            Its        not


21     notice     pleading             for       purposes             of       litigation                  Its

22     statement        to       the       world          for    purposes             of perhaps                mitigatiny

23     the     harm that          has       been          done       to    the       plaintiff                  But    thats

24     not     what    Im        here       for            Thats           where       it       begins

25                      And       Mr        Springer             on       behalf       of       Yale       decides
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 43 of 184

                                                                                                                       42




        well         theyve          told     their       side       of    the       story        now    Ill        make


             motion        to   dismiss        and       well        tell       ours

                            MR       WEINER          Thats           perfectly             fine

                            THE      COURT          And    here            am          guy       whos        supposed


        to    get          notice       of pleading             thats           not    more       than         few


        pages        long       and     if         get      motion             to    dismiss       its        supposed


        to    be     because         the     complaint          itself          contains


        selfdefeating                  allegation          which           if       credited           destroys       the


        purported           cause       of    action       or    omits          in    some       glaring       way    an


10      essential           statement          of    an    element             of      claim

11                          MR       WEINER          Well        Your          Honor


12                          THE      COURT          Tm     not       supposed          to    be    calling          upon

13      you     to    prove       your       case    and    Im        not       supposed          to    be    asking

14      Mr      Springer          to    disprove          your       case            Thats        not    what       were

15      supposed           to   be     doing         But    here          we    are

16                          MR       WEINER          Thats           correct           Your       Honor

17      think        the    only       thing       that    Mr        Springer          says             didnt        add


18      to    my     complaint              that    somehow          we    didnt           add    the    term


19      malicious               or we        didnt        use    it       correctly

20                          THE      COURT          Its     in       there          though

21                          MR       WEINER          Its        in    paragraph             198

22                          THE      COURT          Right

23                          MR WEINER                So    the       complaint             does    tell       our


24      position            that       is    true        Your    Honor               But    under       Bell


25      Twombly            there       is      standard          that          suggests          that    you    need
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 44 of 184

                                                                                                                               43




        to    be    --    even       though           the     courts         have       gone       since       then


        since       then       theyve              come     back       and    said       notice          of    pleadings


        still       exists           but       there        clearly          is    some       question             in an


        adversarys                 mind       as    to    how     much       to    put    in

                              And    when          youre        dealing           with         defamatory                case

        although          there          is    negligence              and    reckless             disregard             and


        reply       contract             claims           you     need       to    tell       very       specifically

        in   terms        of       what       your       defamation           is    and       it    has       to    be


        context          to    it         So          think       that       we    have       fulfilled             that


10      obligation

11                            And        Your       Honor         the    fact       of    the       matter          is        this


12      is   not          summary             judgment          motion             If    it    had       been


13      summary          judgment             motion              would       have       been       happy          to


14      respond         with        affidavits              and    documents             that       will


15      substantiate                my    clients case                       In    particular             the       emails

16     exchanged              and    the       other        documents             that    are       involved             here

17                            What            think       Mr      Springer          has       done       is    raised           as


18     you    said            the    other          side          He    says       there       are            lot       of


19     arguments              that       we    have       here     that       have       to    be    resolved

20     This        is   not          slam          dunk     for    the       plaintiff               Let       me       tell


21     you    what        those          arguments           are

22                            So    he    has       effectively                    if    you       feel       that       weve

23     told     our       side           hes        effectively              told       his    side            But       this


24     is    not         motion           for       summary        judgment              this       is        motion           on


25     the    sufficiency                 of       the    pleadings                     believe          that       we       have
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 45 of 184

                                                                                                                          44




        sufficiently             stated       in our             brief       that       we    have       met    every


        pleading           requirement             every          element          that       is    necessary          to


        sustain            cause       of    action          on       each    of    the       claims          that   weve

        asserted             And           think       thats           what    were           about       to    do   in


        this    stage

                           If    Your       Honor       would          like    to       convert          it    to


        summary       judgment             motion           we    would       do    it

                           THE       COURT              already          have       far       too       many of

        those        thank       you

10                         MR        WEINER            So    just            few    points              Your    Honor

11                         So         believe               covered          the    malice          point

12                              believe       all of             the          the       vast       majority of

13      Mr Springers                  arguments             were       based       upon       factual


14      contentions             as    to    how    he       read       the    newspaper             articles         or


15     how     he    views       the       facts            Those       are    the       facts          that    will


16      have    to    be     resolved         either             at      future          summary          judgment

17     motion         if    discovery             shows          one    side       or    the       other       has   no


18     bases        for    them        or    at         trial

19                         The       statement          of       the    law        let       me    just       briefly

20     discuss        this       negligence             issue

21                         The       only    Connecticut                case       that       we    have       found


22     that     says       that       you    need       physical             harm        is       the    latest      case


23     which        came    down       in    1993           DeVillegas                   Quality          Roofing         and


24     thats              Superior          Court       case          that    came       down       in    1993

25                         Subsequent             to    that          particular             case        two    other
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 46 of 184

                                                                                                                          45




        Connecticut           cases       Reiner             Reiner              which       came       down       in


        1995      and   those       are     cited       in       my    brief          as    well        and       Darien


        Asphalt         And    both       of     those       subsequent                cases       stated          very


        clearly     that      Connecticut              does       not       have       this       economic


        loss        this      doctrine           that       prevents                  party       from       recovery

        unless     theres        physical             injury

                        So       think         the     law       is          goes          hnth    ways       in


        Connecticut           but     the      more     recent             cases       go    the       way    that       we


        suggest     that      they     should          go

10                      We    also     cited          out    of       state       cases

11                      THE    COURT             Generally             speaking              Connecticut


12     Supreme      Court      embraces           the       Restatement                    and    the


13     Restatement           incorporates              the       economic             loss       rule        does       it


14     not

15                      MR     WEINER             Depends             on    what       you       look       at

16                      The    Connecticut              Law       of       Torts            dont        believe


17     does       And    the    Second           Circuit              by    the       way        has          and


18     dont      have    the    cite        in    front          of    me        but       theres             Second


19     Circuit     case       that    has        actually             said       that       Connecticut             is


20     unsettled on           this    point           and    they          did    not       send       it    off    to


21     the     Connecticut          court        to    find       out            But       the    Reiner          case


22                      THE    COURT             Do    you       think            should          send       it    to    the


23     Connecticut           court

24                      MR     WEINER                  dont           know       if    it    will       change          the


25     nature     of    this    case        if    you       do    that           Your       Honor                 think
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 47 of 184

                                                                                                                             46




        the    discovery           is    going          to    be       exactly        the      same              think


        everythings               going       to be          exactly          the     same           We    can     find


        out

                            But    at    the       end       of    the       day      one      of    the       things

        was    going        to    get    to    in       terms          of    the    motion          to    stay        is


        that    all     of       the    claims          that       are       before       you       arise       out     of


        the    same     basic          set    of    facts               So    even       if    you       knncked        out


        this    particular              claim       or       that       particular             claim           its      not


        going     to    dispose          of    the       case          in    terms       of    discovery                You


10     might      shorten          discovery

11                          Im     happy       for you             to       send    it    off       to    the


12     Connecticut               Supreme       Court          for determination                          but       would


13     urge     that        we    continue          the       case          with    discovery             and    move


14      forward        on    that

15                          The    case       was       filed               believe       last       April            We


16     have     not     had       any    discovery                at    all         And       for purposes              of


17     ultimate         disposition                of    negligence                claims           certainly           that


18     would     be     beneficial             to       note           but         dont        think       that       will


19     dispose         of    the       defamation             claims

20                          The    reckless             claims          may    go    with       the       negligence

21     claims          so    thats             possibility

22                          THE    COURT            That          was         question               wanted        to      ask


23     you       If     the       negligence             claim          went       out    of    the       case        would


24     the     reckless           and    wanton          misconduct                claim       follow

25                          MR     WEINER               If   you        ingraft          that       limitation
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 48 of 184

                                                                                                                           47




        possibly             But       the     Sheiman          case        that     was           case     where


        someone        sued       for both           negligence             and     reckless          disregard


        where          bank       negotiated                check        that       didnt          have          proper

        endorsement              and    as       result          of     that      negotiation              of    the


        check     the       plaintiffs           lost             lot    of    money            Person          who


        received        the       money was           long       gone       apparently                So    they       sued


        the     bank    for       negligence           and        for    reckess disregard                            And


        the     Court       there             and          believe          that     was      an     appellate


        decision            by    the    way

10                          The    Court        there       did       not     say        oh     by    the       way

11      theres         no    physical           injury          here        therefore           you       dont        have


12      either          negligence             claim        or          reckless          disregard             claim

13      They     actually          found        for    the       defendant           on    the       question          of


14      duty       There          was    no    duty        established

15                          So         would     think          that     the      Connecticut              courts


16      recognize           that       you    could        have       reckless           disregard and

17      negligence           and       that     is    at    the       appellate           level       without          any

18      physical        harm

19                          But    again              think        if    you      want     to      present           both


20      of    those     issues          to    the     Connecticut              court               could


21      understand           why       you    would        feel       that     way       since       there       is


22      the    lower        court       on    the     negligence              side       cases       go    in    two


23      directions                But         think        it    will       come     out      that        there       is    no


24      limitation           on    physical           liability               and    it    makes            lot       of


25      sense          People          can    commit        negligence              in        variety           of    ways
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 49 of 184

                                                                                                                          48




        that     do    not       have       economic        consequences                 just       property

        damage        or    physical             damage

                            Reiner               Reiner     was            perfect       example               Court


        there              somebody          was     in    an    office       building              had       rented


        lot    of     space           and    next     door            contractor             was    working

        caused             gas    leak        that    made             the    building             had    to    be


        vacated            and    the       person        who    was          the       office       owner           the


        person        owning          the    business            sued       for    negligence             saying

        hey           had    to       pay    all my        people             lost       all this             business


10      because        of    your          negligence           impacted          my    ability          to    conduct


11      my    business                In    Reiner        the    court       said        absolutely

12      apprnpriate              to    have       negligence           in    this       action       here            The


13      fact     you       did    not       suffer        property damage                    you    did       not


14      suffer      physical               damage     doesnt               in our       view        mean       that       the


15      person        who    caused          the     gas    leak       should          not    be    held


16      responsible               and       they     held       that       person       responsible

17                          So         think       that     the       better       reasoned          decisions             is


18      that     there       is       no    limitation           of    property damage                   or    on


19      personal           injury

20                          THE       COURT          It    seems       that       these       limitations             have


21     been     crafted           to       limit     what       might otherwise                be    excessive


22      liability

23                          MR        WEINER               dont        know       --         dont        think       Ive

24      seen    anything              that       would     suggest          that              think       the       law


25     evolved         and       law       has    continued           to    evolve            At    least       the
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 50 of 184

                                                                                                                          49




        initial        cases        would         involve        personal          injury          or property


        damage          But       as    cases       were       brought           involving          simply


        economic        harm           the    courts        said         well       there          are    situations


        where        someone        can      do      negligent              act    and    cause          economic


        harm          Reiner        was      one         And     the     court      said           no    problem

        saying        they    were        liable

                            THE     COURT           It    makes        sense       in principle                 but


        what    about        the       concern       evident           here       that    liability             can


        become        unmoored          from       the     underlying             misstep

10                            mean           putting        aside        your      defamation             claims

11      because        were        not       talking        about        those      at    the       moment

12      Ms     Shirmeister              doesnt            look    closely          enough           shes        too


13     busy       too       distracted              shes         got         funeral          to    go    to     who


14      knows         and    the       next       thing     you     know          Yales        facing

15      50   milliondollar                   lawsuit

16                          MR     WEINER            Not       just      because         of    what


17     Shirmeister            did         Your      Honor           If      it    was    limited          to    that

18     then     the     damages           wouldnt          be     $50       million

19                          But    under          negligence           law        thin    skull               Ever


20     since      Ive        been       in    law    school            if    you    commit               negligent

21     act     and     someone          has         thin       skull         you    have       substantial


22     liability              But       our       liability        flows           really          in terms          of


23     damages          damages           really         flow     from      what        happened          in    2007

24     And     when     you       begin       to    actively                 and    this      was        an    active


25     role     by     Yale        this       wasnt         just       passive                issue       press
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 51 of 184

                                                                                                                         50




        releases          that       are    wrong           make     these       statements             that       are


        wrong        give       press       interviews             that     are       wrong        issue


        official          statements             that       are    wrong         then       you    may       have


        substantial             liability                  This    wasnt         just       the    innocent


        mistake by          someone             who    didnt         have       reason       to    investigate


        it

                           By    that       time           Your    Honor         they       had    reason          to


        investigate              and       by    that       time      we    were       providing             them       with


        information             saying          you    were       wrong     so    please          correct          what


10      you     said       and       they       didnt        and     wouldnt

11                         THE       COURT            Well        from          pragmatic          point          of


12      view        which            believe          is      legitimate              way    of    thinking

13      about       any    case        particularly given                       the    command          of    Rule


14      were        supposed          to    try       to    bring     about            just        speedy          and


15      inexpensive             resolution             of    the     case             question          the       wisdom

16      of    spending               lot    of    time        effort        and       money       litigating             the


17      negligence          and       implied          contract           claims        which       really             seem


18      to    be    addressed          to       Ms     Shirmeisters               response              if    the       core


19      of    the    case       is    the       defamation           claim       and    the       claim       for


20      reckless          and    wanton          disregard           of    the    plaintiffs

21      interests

22                         MR        WEINER            The    reason        why       you    cannot          so    simply


23      separate          out    the       negligence             claim           maybe       you       can       in    an


24      implied       contract             claim           because        the    implied          contract             claim

25      is    really       just more             focused          in what        happened          in    2005
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 52 of 184

                                                                                                                            51




                           THE    COURT            It     only       refers          to    that           it    doesnt

        refer    to       anything        else

                           MR WEINER                 Thats           correct

                           2007        the     acts       that       occurred             could       be


        defamatory              jury can          find     them       to       be    negligent             and       not


        defamatory               Those       were       mistakes                Now        whether             they       were


        mistakes          that    rose       to    the     level          of    being          defamatory             will


        be   something           for     the      jury     to       determine                  As    to    whether


        they    were       simply        limited          to    negligence                as    to    what          occurred


10      in   2007         is    simply            jury     issue           and       the       same       thing       with


11      reckless          disregard

12                         So    2005     encompasses                both       implied             contract          as


13     well     as    negligence             as    well        as    perhaps             reckless          disregard

14     The     reckless          disregard           and       negligence                claims       continue             into


15      2007    on         continuing             basis        between          July       --       June       or    July

16     through        September

17                         THE    COURT            Okay             While       were           on    the       subject       of


18      implied       contract                 and      Im      going          to    need       to    give          our


19     reporter                break           but      while        were           on    the       topic       of


20      implied       contract            your       complaint             alleges             that       Yale       has


21     established              protocols          and     by       virtue          of    that       fact       has


22     agreed        to    be    bound       by    them

23                         Can    you    clarify           what       you       mean       by       that

24                         MR     WEINER             It    is       our    understanding                    from


25     articles           at    Yale      it      was     quoted          in    the       Yale             the       daily
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 53 of 184

                                                                                                                             52




        news               dont         know       what        the       local       paper       is        is    that       they

        have    protocols               they       were        not       followed          in    this       case        and


        as      result          they     were          revisiting              their       protocols             and


        determining             what     to       do

                           In    my view               having        looked          at    the    cases           that


        creates              the    fact          that        you    have       protocols             that       you


        undertake            you    know           to    follow           those       protocols             and


        universities             share        this       information                 back       and    forth           in our


       view     that       creates           an    implied           contract             between          the    parties

10      that        you    know         we    will       send        you       inquiries          and       we    expect

11     you     to    provide        us       accurate           information                and    you       send       us


12     inquiries           and     we    will          send     you       accurate          information                 is       an


13     implied        contract

14                         THE     COURT               Prior        to    this       case       there       were       no


15     dealings           between        these          two     universities                as    far as          we    know

16                         MR      WEINER               As     far       as    we    know        thats           correct

17                         THE     COURT               When     you       say       in the       complaint

18     Based         on    their        dealings             with        one    another           Yale          and


19     plaintiff           entered           into       an     implied          contract               what       dealings

20     are     you    referring              to

21                         MR      WEINER               Im      referring             to    the       fact       once       we


22     made     an    inquiry           knowing          full        well       that       universities                like


23     Yale           even       though           we    hadnt            done       one    why    with          Yale


24     have    protocols                that       those        protocols             would       be       followed              we


25     would        get    accurate           information                      Thats        why       we    exchange
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 54 of 184

                                                                                                                              53




        information               with    one       another

                            And       just     to    digress           for         moment            Your        Honor

        because        you        were    discussing              about          Ms     Shin        and       being

        someone        who       is       scam       artist           or whatever                        think        if     you

        look     back       at     the    complaint              in paragraphs                 30    to       42      you

        will     see      impeccable            credentials                 from       this     woman              She       was


             major     curator                 curator           of    several          major        museums               she


        had    put     on      hundreds         of       well-regarded                 exhibitions                 she       was


        featured          in     the     Korean          Art     Press            She    had        taught         at      other


10      universities               in    Korea            So     were        not       talking           about        someone


11      who    was     just             fly by       night

12                          And       what     occurred           in       September            as       we    said          was


13      an    unfounded            rumor       that       came        in         couple       days        after


14      saying         we      dont       think          she    has          Ph.D        from        Yale             Not


15      that    any       of     the     other       credentials                 were    at     all       wrong              And


16      it    was    at     that        point       my    client           sends         letter           saying

17      Could       you     please        verify          it               dont        think        thats

18      inappropriate                 under     the       circumstances                 and     Im        not      sure


19      theres         an      obligation            or should              be    an    obligation               as     to


20      say     Oh        by     the     way    we       heard        an    unfounded           rumor            so     please

21      verify       it          But     that            think        is    something           ultimately

22      jury    would          have      to    determine              as    to    whether           we    were        acting

23      reasonably in terms                     of       our    conduct

24                          THE       COURT          Perhaps

25                          So    dealing           with       the     implied          contract              claim          its
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 55 of 184

                                                                                                                           54




        your    position                that    the       allegation             that       Yale       has    protocols


        is    sufficient                to    support          the    existence             of    an    implied


        contract          once               another       academic             institution             calls       and


        inquires

                              MR        WEINER            Yes         That       the    two       universities             are


        forming          an     implied         contract             whereby       Yale          will       fulfill       --


        fcfllow       its protocols                  and       provide          accurate          information

                              THE       COURT            Does    this       implied          contract          include


        provision             whereby          the       person       requesting             the       information


10     will     tell          Yale       what       it    knows       that       causes          it    to make       the


11      inquiry

12                            MR        WEINER                 dont        know    --       and       this    could       be


13     one     of    the       things          we    can       certainly          look       into             but


14     dont         believe             that    universities                will       provide          information


15      for    the       very       reason          that       Mr     Springer          said            We     think


16     that     so       and       so    is         fake              think       creates             its    own    issues

17                            They       didnt           think       she    was         fake            They       actually

18     thought           this       was       going       to    be    nothing          --    this       was    just       an


19     unfounded              rumor theyd                  get       their       verification                from    Yale


20     and     move       forward               This       wasnt           as    if we       believed          there       was


21           real problem                here

22                            So    the       answer       to    your       question              Your       Honor

23     would        be    no       unless       you       have       some       real hard             evidence       that


24     you     think          that       someone          was    fabricating                their       degree            We


25     didnt         have          any       reason       to    believe          that       this       would       come
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 56 of 184

                                                                                                                     55




        back     with    anything           other         than         yes      she     got        Ph.D           from


        Yale      based       upon       the    information               that       was    already          in the


        public        record

                         THE       COURT         If            had   an     application            from


        somebody        who    purported             to    be        Yale       graduate          and         called


        for verification                 and    they       incorrectly               responded          that        yes

        this     person       is         Yale    graduate              would         that     violate         an


        implied       contract

                         MR        WEINER            If    you       just      called       and    you       didnt

10     go    through         the          ask    for            verification

11                       THE       COURT         Id        do    what       the      university          did


12     except      its me                 am not          the    university                Im     not    an


13     academic         university               Im             perspective             employer         in


14     different         field

15                       MR        WEINER            Possibly                   think       it    would       depend

16     somewhat         on    the    circumstances

17                       But       one    of    the       reasons         why     people         ask    for


18     references                    mean       to    say       for verification                        is    they

19     can     have     significant             impact

20                       You       suggested              you    know          the    University             of


21     Kansas     analogy            but       supposing               wanted         to    know       whether


22     someone        had     received               medical         degree          from     Yale      because


23     was     going     to    put       someone          to    work      in         hospital

24                       THE       COURT        As             brain      surgeon

25                       MR        WEINER            To   me     those         verifications             are
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 57 of 184

                                                                                                                             56




        significant           and       there       needs        to    be       some       consequences                     And


            dont think              you       know     --    talking             about        liability               and


        whether       they      should         be    shielded              from       liability                   think


        will    depend        on    the       circumstances

                          THE      COURT            Theres            no    case        law    involving

        similar       situation                People        seek          references             and


       verification             from      others          continually                 and     this       is      the       first


       time

                          MR       WEINER                 actually              think       there        are      cases          in


10     the     employment           field       where        there          are       defamation              cases         and


11     other       cases           We    didnt        research              those          cases       for       purposes

12     of    this     particular              motion because                    we    viewed        it      as         motion


13     on    the     pleadings           and    whether           we met             the    standards                  But


14     believe           Your      Honor        when        you       raise          that     question                yes

15     there       are    cases

16                        Im       not    an    employment                 lawyer           but     Im        aware         of


17     them     with      dealing         with       my     firm           we    are       very     careful            about


18     what     we    say     about       former          employees              because          we     know         we    can


19     get     sued      if   we    give       wrong        information                     And     the       reason


20     why      as    Mr      Springer          said        to    you           what       people        do      is    they

21     dont        say    anything            because        then          they       wont        get       sued       if


22     theyre wrong                     But    in    fact        here       Yale       did     so

23                        But      as         said    earlier               the       core     of      my     case         isnt

24     just     that          It    goes       into       2007

25                        THE      COURT            This     is       my    point                 think          that       the
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 58 of 184

                                                                                                                           57




        claims       that       you    make       based          on    Ms        Shirmeisters                incorrect


        response          distracts             attention             from       what      you    regard        as      the


        core    of     your      case       because          they       entail          all of         these


        uncertainties                and    raise       all       of    these         questions

        uncertainties                under       the    law       and       questions            about       public


        policy

                           If    thats           really          not    what       the       case      is    about         why

        should       we    immerse          ourselves             in    them            What      do    you     gain

                           MR        WEINER            Well             need       the       facts       for    sure

10     got     no    question          about       that               And    at    trial          if    we     come       to


11     the     point       where       what       claims          do         want       to      press        Ill        make


12     that     decision

13                         But       Ill        tell    you       something             else          Your     Honor

14     and     we    didnt           put    it    to    the       pleadings                but    we    have       heard


15     that     Ms        Shin       was    working          with       someone            within       Yale       to     get

16     this     done                 dont        have       proof       of       it             didnt        plead        it

17     It    will     certainly be                th        subject          of    discovery-                And     it    may

18     well     be    that       Ms        Shirmeister                was    not      simply          the    innocent


19     person        who    made       the       mistake

20                         And       one    of    the       things          that      is     really         sort     of


21     interesting              in    this       case       is    that       she      sort       of    disappeared

22     from     the       scene            In    June        when       we       heard       contrary

23     information              from       Yales        librarian                that      in    fact       Shin     did


24     not     receive               degree       from       Yale           my    client         contacted


25     Ms      Shirmeister                 tried       to    reach          her       to     have      her     explain
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 59 of 184

                                                                                                                             58




        how     it    was    that        she      had    sent        this       fax         Ms        Shirmeister


        never        responded

                            If    you     look      at    --     and       then       it    became          interesting

        tous-
                            THE    COURT            She        learned          not    to       respond

                            MR     WEINER               She     learned          not       to    respond

                            And    how       is    it    that        Yale       said       in early          July       that


        Shirmeister              never       sent       the     letter            It       was         fake            Did


        she    tell      that      to     Yale           So     we    dont        know          what


10     Ms      Shirmeisters                  role       was

11                          It    shouldnt              have     been       very       difficult             for       Yale


12      to    figure        out    that        Shirmeister             sent       the       fax            All    it    had


13      to    do   was      to    ask    her

14                          So    yes        Your       Honor         it    may       be         sideshow

15     just        dont      know       enough          yet            havent              had    the       opportunity

16     to     take    discovery

17                          THE    COURT            All       right             Why    dont           we    take


18     short       break         and    Ill        go    through           my    notes          and    see       if


19     theres         anything           more       that        Id     like       to       ask    while               have


20     you     here          And       why     dont       we     say       well        come       back       in 20


21     minutes              Is    that       all    right

22                        MR       WEINER               Thank        you        thats           fine        Your       Honor

23                                     Whereupon                     recess       followed

24                        THE      COURT            Mr Weiner

25                        MR       WEINER               Yes
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 60 of 184

                                                                                                                           59




                           THE       COURT         We       took         recess          while       you       were       at


        the    podium                 wanted       to       follow       up    with       you       on    the


        defamation           claim

                           The       motion       to    dismiss          that       claim          makes       two    basic


        points          First          that       the       statements          cannot             reasonably             be


        interpreted             as    defamatory             of    the    plaintiff                 and       second

        that    the     plaintiff            is         public          figure       and       we    dont           see


        allegations             to    support               finding       of    actual             malice

                           Dealing          with       the    first       point               In    the       memorandum

10      submitted          by     Yale      in    support          of         motion           we    see       at


11      page    29    the       section          entitled           Yale        Made          No    Defamatory

12      Statements           About         Dongguk

13                         Going       over       to    the       next    page           page       30        Yale    sets


14      out    what     it      describes          as    the       statements             underlying                the


15      defamation           claim           It    then       proceeds          to       look       at    each       of


16      these        and     for      reasons          given        urges       me       to    find       that       none


17      is    defamatory               Id        like    to       give    you            chance          to    comment


18      on    each    of     these

19                         But       first       let    me    ask         Are       we    in agreement                that


20      these    are       indeed          the    statements             underlying                the    claim

21                         MR        WEINER            No     we    are       not

22                         The       statements          that       are       quoted                and       Id     rather


23      go    through        the      complaint          than       Yales           characterization                      of


24      them         But     if      you    look       throughout             the    complaint                      suggest

25      we    look    at             guess       for    example           paragraph                95     paragraph
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 61 of 184

                                                                                                                     60




        97     paragraph           --


                           MR      SPRINGER               Im        sorry           didnt        hear       the


        first       one

                           MR     WEINER                95     97    and           96     97     110        112

        111     the    official              statement              which     is    143         Those       are     just


        my   quick     reading           of       the    complaint            Your       Honor        but    let     me


        just   qo     to    the     core          of    the    argument

                           Core     of       the       argument       is    that     on    their        face


        theyre        not    defamatory                 and         would     disagree          with       that      but


10      thats          jury       question                However           under        Mix          Woodward

11     which     is         longstanding                 Connecticut           case        and       cases     that


12      follow      it      this        is    called          liable       or defamation              by

13     extrinsic           fact          And       what       theyre        saying        is    Dongguk        is    not


14     necessarily mentioned by name                                  therefore           how    could       it     be


15     defamatory                And     by    extrinsic             fact      and       this    is


16     longstanding              liable        doctrine              that     if    someone          had    reason


17     to    know     who    you       were        referring          to    when     you       say           never


18     received        that       from        him             and     they     know       who    him         is


19     thats        enough             And     its            determination               of    the    jury       then


20     to    determine           whether           in    fact       the    him       can       reasonably           be


21     identified           as    us

22                        But     the        interesting             thing     is    that       if    you    read


23     the    articles           that        Mr     Springer          has     attached          to    his


24     pleadings            they       all make           very       clear     theyre           talking        about


25     Dongguk            Just     not                   didnt        quote        the    entire       article
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 62 of 184

                                                                                                                                 61




        But    if     you       read     the     articles            themselves                 in    their       entirety

        youre         going       to     see     theyre           talking             about          Dongguk               So    as


            matter         of    law      its         not         basis          to    dismiss              and       as


        matter        of    fact         hes        actually           provided             to       Your       Honor       the


        entire        articles           which        provide          the       detail

                            Now     going        to      your     second          question                 which


        believe        was       whether         we      had    asserted              enough          for       malice

                            As    we     cited        to    Your       Honor           there          are       two    cases

       both     Connecticut                one        is    Morron         at     464                Supp        2d    111

10      and    the     other        is    Dougherty             at     282       F.3d       83        and       in each          of


11      those       cases         and     going          back     to      Your        Honors           statement                to


12     me     about        notice        pleading              that       is     sufficient                to    meet       the


13     malice        requirement               by     simply         putting           into          the    complaint

14     that     the        statements               the     alleged            defamatory              statements


15     were     made        maliciously                  which       we    did

16                          Now        having         said      that           the     complaint                goes       on    in


17     detail          in our          view         to     provide         what        we       believe          was


18     reckless         that       would        satisfy           the      malice           standard              in


19     particular            the       actions           that     occurred             through             the    summer


20     and     September           of     2007        in    which         Yale        was       making          these


21     statements            at    the     very          time     it      knew        or    had       reason          to


22     know           and          would        say        knew            that        the       statements                were


23     false     because           of    the        information                that        my    clients          had


24     provided to               them    regarding              the       proof        that          had    been


25     received        by        Yale      fax       number          and       all that              stuff
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 63 of 184

                                                                                                                                 62




                              So       not    only     have         we    pleaded          malice          in         way

        thats           appropriate                 but    weve           also       provided             you    with       the


        evidentiary                detail           which       we       didnt        have       to       do    but    we       did


        it    anyway

                              THE       COURT          Okay              Let    me    detain          you       and    ask       you


        to    go    through             this    while          its        fresh       in my          mind              would


        be    interested                to    have     your         thoughts           of       course

                              In       the    section          of    the       memorandum             in       support          of


        the    motion             to    dismiss        that              referred          to    earlier          starting

10      at    pages          29    and       continuing             on    to    page       30        we    see    what          Yale


11      offers          in    support          of    its       argument             that    the       claim       should             be


12     dismissed

13                            Focusing          on    page          30     Yale       lists          the       statement             by

14     Reinstein              that       the    certification                   letter          had       been    formed

15     With        regard          to    this        Yale       argues          that       this       refers          to    the


16     certification                    letter        not       the       fax        and    Yale          continues

17      Even        if       Yale       said    that       the       fax       was         forgery              this       would


18     not     defame             Dongguk

19                            MR        WEINER            You       look       at    paragraph             111        Your


20     Honor            just       for an       example              and       also    paragraph                110        which


21     by     the       way            dont     believe             is    specifically                referred             to    on


22     page         30       on    July       19th        it    quotes          Reinstein                 this    is


23     Korean           publication                 paragraph             110        Dongguk              University

24     said        it    mailed               letter       for       inguiry           so       we    looked          into       it

25     but     we       never          received       the       letter                That            think       is       pretty
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 64 of 184

                                                                                                                           63




        explicit         And       if    you    read       the       next       paragraph                 it


        basically says             the    same       thing

                        So    we    did       an plea       and       the       complaint                does    contain


        the    defamatory          language          and    it       does       refer          to    Dongguk               And


          think    what       Yale       has    provided             to    you           Your       Honor        is       an


        interpretation in basically                         trying             to    draw       inferences                of


        fact    from    the    words           which       is    really             the    province             of    the


       jury

                        THE    COURT            Please          be    patient             as         review          these


10     documents

11                      Are    you       suggesting             that       one       can       reasonably

12     interpret        the    statements             set       out       in these             paragraphs             of


13     the     complaint       as       referring          to    the       letter          of       inquiry          as


14     distinct        from    the       certification                letter

15                      MR     WEINER            Yes                 mean           it    says           but    --


16     just     read    it    into       the    record                mailed               letter          for


17     inquiry     for       academic          letters           so       we    looked          into       it    but       we


18     never     received          the    letter

19                      THE    COURT            So    thats                reference                to    what       we


20     will     refer    to    as       the    letter       of       inquiry

21                      MR     WEINER            Correct

22                      THE    COURT            As    distinct             from          the    crtifical-ion


23     letter

24                      MR     WEINER            Thats           correct                 Your       Honor

25                      THE    COURT            Okay            And       so    one       could          interpret
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 65 of 184

                                                                                                                              64




        these      statements             to    mean        that       Dongguk          did       not       send       the


        letter      of    inquiry

                          MR        WEINER               And     it    lied       when       it    said       it       did

                          THE       COURT            All        right         Going          back       to    the


        memorandum in support                         of    the       motion       to       dismiss           at       page


        30    the    first Reinstein                       statement          referred             to       cites


        paragraphs            95    to    97    of       the     complaint                   July       13        2007


        article

                          MR        WEINER               Your     Honor           if    you       look       at


10     paragraph          95        in the          complaint           itself              Reinstein             is    quoted

11      as   saying           Professor             Shirmeister               whose          signatures

12      included         in    the       letter            is    presently             away        but


13     verification                with       her    assistant              professor             confirmed             that


14      Professor         Shirmeister                never        signed          such            letter               Thats

15      referring         to       Shirmeisters                  fax        not    to       the    earlier


16     certification

17                        THE       COURT            Right            right

18                        And       this       is


19                        MR        WEINER               Again          lie that             we    said       we       had


20     received               letter          from       Yale     saying          signed          by    Shirmeister

21                        THE       COURT            Yales            point       seems       to       be    that       this


22     is    not    reasonably                susceptible              to    the       defamatory

23     construction                because          it    doesnt            suggest          that       Dongguk

24     forged       anything             or    even        that       Dongguk          is    lying          about       what


25     it    did    or    did       not       receive           but    rather          simply          means        that
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 66 of 184

                                                                                                                              65




        somebody            presumably                Shin           forged          it

                            MR        WEINER               That       may       be    their       theory         but       the


        words     dont           say       that        Your          Honor            And    the       context        of


        this      as       we    said       in       the    complaint                 when     Dongguk         was       called


        to    task     by       the       media       and       explained             that     it      had    sent


        letter        of    inquiry             and    received             one       back     from      Yale       which


        said    that        Ms        Shin       had       received             her    Ph.D            and    then       they


        contact        Yale          to    verify          whether          what       we    said       was    true

        which     is       what       happened             at    that       point           and     Yale      says no

10      we    never        received             an    inquiry             and    we    never        sent      the     letter

11      that    basically                 calls       my client                  liar publicly                 and       thats

12      defamation              by    extrinsic             fact                if    its      not      clear       they      are


13      referring           to       us     the       articles             are       clear     they      were


14      referring           to       us         Youre           essentially               calling        my    client


15      liar      and       thats           defamatory

16                          THE       COURT            So       your       point       is    while       possibly

17      jury    could           construe             this       as    Yale       has      construed           it thats

18      not    what        matters          at       this       stage

19                          MR        WEINER               Thats           not       what    were        here       for

20     And        would          say       to    Your       Honor           as         said       earlier           even      if


21      these     were          not       defamatory                 at         minimum           in    our    view        they

22     were     reckless              or    negligent                     Thats        why     all three            of     those


23     claims        are        present

24                          THE       COURT            Understood

25                          Continuing                 the       next       statement             on    page     30      in
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 67 of 184

                                                                                                                          66




        Yales memorandum                   references              paragraph             105       of   the


        complaint

                           The      news     article          at       issue       in


                           MR       WEINER          There          clearly              yeah        this      is    what


        the    quoted          language        says          we    refer          to    the    September            22nd


        fax    and       the    certification                letter           and       they       followed         by

        quote        faxed       from      Yale     University                     Faxed        from      Yale


        University               Certification                letter              as         understand             was


        not    --    the       original        Ph.D          letter          was       not    faxed        as


10      understand             it      But    what       we       said       what       we    received          was


11      faxed            And    then    it    goes       on       to    quote           They        were      all     fake


12     documents           that      were     not       prepared             by    Yale       University               It


13      incorporates             everything                  And       if    they       want       to   argue       that


14      that       was    only      referring           to    the       first document                        would       say

15      that       the    word      all       would          encompass             more       than      the     first

16     So      again           defamatory

17                         THE      COURT          So    the       documents                 plural        referred


18     to     as    fake        include       the       letter          of    inquiry

19                         MR       WEINER          Im        not       sure            would       argue       that


20     necessarily                     would       have       to       do    some       discovery          of      that

21     Certainly           included          the    fax       coming          back

22                         THE      COURT          Your       point          would       be    that           jury


23     could        reasonably          construe             this       statement             to    mean      that


24     Dongguk           itself      fabricated              one       or    more       documents

25                         MR       WEINER          No        no            Im     saying          that    when       you
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 68 of 184

                                                                                                                          67




        read     the    context             of     this      in     the    chronology                that       these


        things       occur            is    that       my    client        was       continually                being


        called          liar by             Yale            And     as    these       things          were       coming

        as    Reinstein           was       makes       these        statements                 in    the       background


        we    were     sending             Yale    information                  said        by       the    way        youre

        not     right        please             correct       it          And       they    continued             to    make


        these     statements                     And    they       continued           to       say       they    never


        received        our       letter          and       that     what       we    did       receive          from    Yale


        was    not     by    Yale               Its     calling           us    liars       on            regular

10      consistent           basis          even       though        they       had    evidence             to    the


11      contrary

12                          Your       Honor                think        there       was    one       more       in    that


13      group     that       Id        like       to    briefly           address               Thats           the    last


14      bullet       point        on       page    30        143

15                          THE       COURT            Yes

16                          MR        WEINER            Id        like     to       focus       Your       Honor       first


17      on    paraqraph           140       in the          complaint                And    paraqraph             140


18      youll        see     that          in    the    September              12th    email               we    advise


19      Yale    of     the       fact       that       the    Korean           prosecutors                were    now


20      actively        looking             at    my    client           for having             been


21      participant              in    this       and       having        covered          it    up       and    having

22      somehow        lied       about          having       contacted              Yale            So    its

23      little       more        urgent          here

24                          If    you       go    back       to    137         by    this       time       my    client


25      had    provided the                 mailroom information                           the       fax    number        the
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 69 of 184

                                                                                                                    68




        website         the    mailing          label         all    to      Yale         And    what        do    they


       do       And     thats        when       we    get     to    the      paragraph          that


       Mr      Springer        was       referring           to      Let      me    get    that        paragraph

       again        page      30

                         THE    COURT            143

                         MR     WEINER               143       Thats          when    Yale          despite         all


       this     evidence            issues       an    official           statement            saying        all    the


       documents         were       forged            And     again          going    back              or    fake

       Excuse       me      forgeries          and     are     fake           And         dont         have       the


10     article          the    official          statement           in      front    of       me      but    again

11     making       very      clear      to    the     world        that      we    lied         And     thats

12     why    we    believe         we   have          defamation             claim       as    well     as       the


13     other       claims      that      were asserting

14                       THE    COURT            Let    me     see      if         have    anything


15     further        for     you

16                                  Pause

17                       THE    COURT                 think        Im     all      set         Thank     you

18                       MR     WEINER               Thank     you        Your      Honor

19                       THE    COURT           Mr      Springer              Ill     give       you     the       last


20     word     for today           anyway

21                       MR     SPRINGER               Thank        you       Your    Honor                  will


22     try    to   be    brief

23                       Your       Honor       there        was     discussion            of    two     stories


24     being       told        As    Im       sure     you     well       know       this       would        not


25     have    been      our    complete             story         We     really      have       responded              to
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 70 of 184

                                                                                                                           69




        their      story       based       on    their          allegations              and    documents

        Weve       got    more       of         story        to    tell        and       it    is    because          we


        think      thats              what       they        have       said       really       has        you       know

       been     insufficient               for       all the        reasons          weve mentioned                    and


            wont     belabor          them                just     didnt           want       you    to    think       that


       we    had    gotten       our       story          out     there

                          THE    COURT               Theres         more       to     this      story

                          MR     SPRINGER                  There        is         lot    more       to    this


       story

10                        But    as                             out      and         think          it    is    --    there
                                          you    point

11     are    no    claims       in this             regard             We    have       researched             them

12     There       are    no    universities                 suing       universities                over       this

13     The    employment             context          is     different             for    those            And


14     Mr Weiners right                         as    you       know          am an       employment             lawyer

15     and    there       are    those          suits        and    thats           why         mention


16     employers          sometimes             do    what          said           obtain       release          before


17     providIng          information

18                        THE    COURT               Let    me     ask       you    for       your       help    on


19     that

20                             realize          were         talking          about       academic


21     institutions              but       were           also     talking          about       employment

22                             new    employer             having        recently             hired       this       person

23     contacts          someone          else       to    verify        that       the       persons

24     representation about                      her       qualifications                 is    correct               In


25     the    employment             context          when        you    have       just       regular          everyday
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 71 of 184

                                                                                                                           70




        business          entities          as       opposed          to    academic          institutions

        does     the      Good       Samaritan             rule       apply

                            MR       SPRINGER               Well           because          there       is    fear    that


        it    doesnt            its        why       people       dont respond                       Its       precisely

        because        of      that       chilling           effect         now        that    you       obtain


        releases            you      dont        talk        and       you       know        you    are       leery     of


        doing       it         If    theres           any       wisdom           it    does    have            chilling


        effect       because          there          has    been       talk       about       those          lawsuits


        and    some       do    exist

10                          THE      COURT            And       the    upshot          of    that            guess    is


11      net    loss       to    the       public       interest

12                          MR       SPRINGER                    think       thats           right              think


13      thats        right            But       people          like       me     counsel           employers           all


14      the    time       are       not    to    take       the       risk       without       an       ironclad


15      release        about         providing information                             even    to       your    good

16     buddy        whos        in    the       industry          because             you    never       know       what


17     that     person          hars        and       that       person          says         Its        just       being

18     cautious

19                          THE      COURT            Thank       you

20                          MR       SPRINGER               Sure

21                              wanted          to    pick       up    just       briefly          on    Mr Weiners

22     point        about       Dongguk          and       its        in    response          to    your       question

23     not     having          an    obligation             to    tell       what       it    knew       about


24     hearing         the      rumor       which          is    said       to    be    unfounded             but    turned


25     out     to    be     founded         and       that        you       know        that       Dongguk          should
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 72 of 184

                                                                                                                        71




        have     no      obligation             despite       having          all the             interest        here

                           And         think          going       back       to    your       point             think


        there             if Yale          is    to    have       an    obligation                 Dongguk


        certainly          should          have       an    obligation             in       the    first       instance


        to    provide          what    it       knows         And       as    we       point       out        theres

        public        policy         reason       for       not        you    know           going       forward       with


        the    negligence             claim                 think       its        just            troubling


        statement          to    hear       that       Dongguk          should          have       no    obligation

        under       these       circumstances

10                         Mr        Weiner       talked          about       the       statements             and   said


11      that     we      had    provided          the       newspaper             articles               With     regard


12      to    the     core      of    this       complaint              as    he       repeatedly             mentioned

13           believe           the    June        the       July        the       August           September

14     actions             If    thats           the       core    the       complaint                 then       dont

15     see     how       those       newspaper             articles          arent           integral

16                         We    would          argue       that       Chambers             doesnt        require

17     dispositive               that       you       know        the    documents                be    dispositivca


18     But     even       if    it    does       require          that       they       be    dispositive              that


19     would        be    fine       here       because       those          articles             do    contain      the


20     defamatory              statements             and    are       dispositive                     Thats      where


21     they     come       from       and        you       know        even       as    we    looked           and


22     think        we     as        you    know           cite    all those                articles            So


23     just              one     its        integral          and        two           it          if    need     be

24     its dispositive

25                              want       to    say       again        and       Im        always       leery
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 73 of 184

                                                                                                                                  72




        about                   want       to    be       careful          about          how         say     this      --


        Mr      Weiner          repeatedly                mentioned             that       Yale       accused          Dongguk


        in     essence          of    lying          with       its       statements                     think         if


        think        if    you       look       at    the       statements                      and     again         all    the


        ones     Mr        Weiner          cited          are       ones       that       we    cited       on    page       30


        and     then       explained                       think          if    you       engage       with       those


        statements               engage          with          --    and         wont           walk     through            them

        although           Im        happy       to            Youve           been       awfully        kind         and


        generous           to    provide             us    all this             time           Your     Honor                think


10      if     you    look       at       those                dont        think          you    can     reasonably

11      infer        that       theyre           defamatory                     Even       the       last     statement            on


12      paragraph           143           if you          look       at    the       newspaper           article             which


13      is    Exhibit                 it    doesnt              even       mention             Dongguk            It    doesnt

14      even     mention             Dongguk               And       so        you    know           where       it    cites


15      it

16                          Yale          was    very          careful          to    deal       with       the       issue       of


17      what     it       was    faced          with           which       was            great       deal       of         great

18     many      documents                that       were       fraudulent                     And    yes        it    made


19     mistake             but       it    didnt           attribute             the       fakery        or      the    forgery

20      to    Dongguk           nor       can    it       be    reasonably                inferred               And         think


21      if    you     look       at       all    that           its there

22                          And       just            couple          of       more       brief       points

23                          On       the    motion             to    stay        and       it    was     just         mentioned

24     briefly             there          are    three          prongs           as       you    know            One    is    the


25     burden of discovery                           which            think          is    --    theres           no    dispute
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 74 of 184

                                                                                                                         73




        it    will    be    enormous                    will       tell       you       just       because        its

        ironic        Mr        Fetner          received          an    e-mail          indicating           that       the


        Korean       Supreme          Court       had       ruled       that       Ms        Shin    now     needs       to


        stand    trial          on    the       claim       of    forgery          which       had       been


        dismissed          on         technicality                     So    we    have            hundred


        thousand          Korean       documents             already          from       that       criminal


        proceeding               We    are       now    going          to    have       more       documents             The


        burden        you       know        that       we    laid       out       in our       papers            you


        know     in       some ways             are    extraordinary                here       and        you     know

10      we    laid    out       some       of    them       but        you    know           theres        going        to


11      be    difficulties             at       every       step       of    the    way

12                         And       Mr     Weiner          has    not       indicated                   its      been       10


13     months         but       theres           been       no    prejudice                  And         think     weve

14     made     some       substantial                arguments             with    regard          to    the


15     viability of              these          claims            And       for those          reasons                 think


16      the    motion       to       stay       should       be    granted          at       this    point

17                         And       one    last       thing       about                Mr     Weiner


18      speculated          about               third       party            Its        obviously          not     in    the


19      complaint                    note       that         have       trouble          remembering              what


20     did     last       week         There          may be       an       issue       of    memory       here        with


21     regard        to    Ms        Shirmeister             over       two       years       and    its         all


22      speculation             at    this       point            We    want       to    focus       on    the     story


23     they     told       and       the    documents             that       they       made       integral        to    the


24     complaint

25                        And          think           Your       Honor           if those          allegations
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 75 of 184

                                                                                                                    74




        are    engaged         with              think     our    arguments          have     some     force


       and         believe          persuasive            again      Thank       you        for your       time


       and    attention

                          THE       COURT          Thank     you

                          MR        WEINER          Your     Honor        there       just       maybe

       may--

                          THE       COURT          Yes

                          MR        WEINER          In    essence         the    motion          to   stay      in


       some    ways       has       been        granted     since    this       case    was        filed       in


10     April       or    so

11                        THE       COURT               apologize     for       that               referred


12     the    case       to    the       magistrate judge

13                        MR        WEINER          And     then    there       was         disclosure              and


14     that    caused          an    issue         but    that     motion was          actually           argued

15     in August          and       we    hadnt         gotten       decision          on     that

16                             do    believe        that     there    will       be         number        of


17     discovery          issues          that     will     require       either       another


18     magistrate             or    Your    Honors time               For       example            issue       of


19     Ms     Shins           criminal           trial

20                        This       case        really     doesnt              we    all know         what


21     Ms     Shin       did         Really        the     issue    from    our       perspective


22     Im     not       sure       why    all     this    discovery        is    part       of     this    case

23     other       than       to    frighten        the     Court    as    to    how    much discovery

24     has    to    be    done             is     the     jury will       determine           whether          the


25     statements             were       made     negligently         recklessly              or
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 76 of 184

                                                                                                                          75




        defamatorily                     Its         not    that        complicated               Its        not    that


        big    discovery             case             Yes        there       are    facts        that       involve


        Ms     Shin            She       was     originally             the       person       that     caused        all


        this         But       the       notion        that       we    have       to    get     into       her


        criminal          trial as             to     whether          or    not    she     forged          the


        document           we       all       accept        it         The       document        was    forged            We


        dont        need       to    go       down     that       road

                           So            think        the    specter                and          would


        stipulate                   the       specter        of    this          huge    amount        of    discovery

10     that     needs          to    be       done     in    Korea               think    has     been       overstated

11     and       do       think          it    would        be    appropriate             to     have


12     conference               at       least             cnnference               At    least        lets        get

13     moving        on         discovery              plan       or    something                Because          this


14     case     has       sat

15                         THE       COURT             My    thought             would    be     to    convene


16     telephone           conference                next        week       at    which     time            would     give

17     you       ruling             on    the       pending        motions          and     we    would       see     where


18     we     stand       and       go    from       there             But         dont        want     to    keep       you

19     waiting        any       longer          for          ruling          on    the    motion        to    dismiss

20     Accordingly                  if    youre            free    toward          the    end     of    next       week

21     Thursday           or    Friday

22                         MR        SPRINGER                Those          are    the    two     days       Im     taking

23          short     vacation                 Your        Honor

24                         THE       COURT            Vacation

25                         MR        SPRINGER                Its        the       first in             long       time
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 77 of 184

                                                                                                                      76




        Its        five    days          only

                           THE       COURT          Whats        happened          to    the    standards             at


        Day    Pitney

                           MR        SPRINGER               apologize              Your       Honor            Its
        you    know        it       is   spousal       request

                           MR        WEINER          Your    Honor             never          have         problem

        with       another          lawyers vacation                    So    if    you       want    to push             it


        into       the    week       after      that       thats        certainly             fine

                           THE       COURT          All    right         Are       you    around          on


10      Wednesday              by    any      chance

11                         MR       WEINER           Thats        Wednesday             the    13th

12                         THE       COURT          No     no

13                         MR        SPRINGER             Wednesday           the       4th

14                         THE      COURT           Next    Wednesday

15                         MR       SPRINGER                am    in    New    Jersey          preparing

16      witness          for        deposition but                 could       certainly             break       free

17      It    just       would      be     inconvenient                Thats        the


18                         THE      COURT           Are    you    planning          to    be    there          all


19      day

20                         MR       SPRINGER                am         Part    of       the    juggling          act

21      If    there       were           way          you    know             if    you       want    to             it


22      is    an   all     day      session         that    is    planned               But         can


23      interrupt          or            if   you    want

24                         MR       WEINER           Im     available

25                         THE      COURT           Youre        available          more       or    less       any
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 78 of 184

                                                                                                                          77




        time    Wednesday

                        MR        WEINER             Other       than       1230           lunch        that         have


        and      very    early           MRI    which       is    going          to    be    730            which


       dont      think        the    Court       would       be    calling                 Im fine

                        THE       COURT          You    eat       lunch           you       go     on vacation


       What     am      doing        wrong

                        MR        WEINER             This    is    what          the       legal        profession


       has     come   to

                        THE       COURT          Well        well           get       back       to     you    this


10     afternoon        and       see     if    we    can    set       something             up       for


11     Wednesday             If     not        then    well        go       to    the       following           week

12                      MR        WEINER             Okay              will       be       driving          back     to


13     New    York    City          so         expect       to    be    back          330 400                   So    your

14     chambers       can     contact           me     or    let       me    give          you          cell    phone

15     number         9176901488

16                      THE       COURT          Would       you       please          repeat           that

17                      MR        WEINER             9176901488

18                      THE       COURT          Thank       you            Well           set     up         time    for


19     that     telephone           conference               Until          then           thank        you    very

20     much

21                                  Proceedings              adjourned                at    1250         p.m
22


23


24


25
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 79 of 184

                                                                                              78




                                    CERTIFICATE

                                  In    Re     DONGGUK        vs   YALE




                           Darlene             Warner        RDRCRR       Official    Court


        Reporter    for    the    United       States       District   Court   for    the


10      District    of    Connecticut           do    hereby    certify     that    the


11      foregoing    pages       are       true      and    accurate   transcription        of


12     my shorthand        notes       taken    in    the    aforementioned        matter   to


13     the   best   of   my   skill      and    ability

14


15


16


17

                              /s/______________________
18
                                 DARLENE             WARNER     RDR-CRR
19                              Official  Court Reporter
                              450 Main Street     Room 223
20                            Hartford   Connecticut   06103
                                           860        5470580
21


22


23


24


25
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 80 of 184




           EXHIBIT                             80
     Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 81 of 184




                                   IN   THE UNITED STATES DISTRICT COURT
                                       FOR THE DISTRICT OF CONNECTICUT

DONGGUK UNIVERSITY
                                                                                          Civil       Action    No        308-CV-00441-RNC
                                 Plaintiff




YALE UNIVERSITY

                                 Defendant




PLAINTIFF DONGGUK UNIVERSITYS SECOND SUPPLEMENTAL ANSWERS                                                                                                  AND
      OBJECTIONS TO DEFENDANT YALE UNIVERSITYS FIRST SET OF
                        INTERROGATORIES


          Pursuant to Rules             26    and   33    of the Federal          Rules     of Civil      Procedure              plaintiff      Dongguk


University      Dongguk                 by and through              its   attorneys      McDermott             Will         Emery          LLP    and



Jacobs    Grudberg Belt             Dow             Katz       P.C        hereby responds         to    defendant          Yale Universitys



Yale          First   Set of Interrogatories              the Interrogatories                    as   follows



                                                    RESERVATION OF RIGHTS

                      Dongguks           answers         and    objections        are   made      without       in   any    way        waiving        or




intending to waive            but on the contrary preserving                      and    intending to preserve                   all   questions       as to




their   competency           relevancy        materiality privilege and                   admissibility          as   evidence            for
                                                                                                                                                any   purpose


of the answers        or subject       matter       thereof         in   any   subsequent        proceeding          or    the    trial   of this or any



other action



                      Dongguk       preserves the right to object                       on any    ground       to    the   use of said          answers        or




the subject     matter       thereof     in          subsequent            proceeding       or the     trial   of this or any other               action
                                              any



                      Dongguk       reserves the right to supplement                        or    amend        these answers              in light     of facts



     information                    be   discovered                                   light afier      submission           of these answers
or                    that    may                              or   brought      to
 Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 82 of 184




               OBJECTIONS                  AND ANSWER


               Subject to and           without       waiving     the   General Objections                 Dongguk         states    that   the




following         individuals           interviewed          Shin in    2005


               President        Hong


               Byung     Shik       Kim       former     Vice-President



               Young Ho Lee               former       Chairman of Jeonggak                 Won Dongguks              Buddhist         Center


              Yoon Ku           Seo     former        Dean    of the Graduate         School



              Yoo


The        individuals      listed      above     should be       contacted         only through       counsel for Dongguk                  at




McDermott            Will           Emery        LLP



              SUPPLEMENTAL ANSWER


              Subject      to    and    without       waiving     the   General       Objections           Dongguk         respectflully      refers     Yale



to   its    Supplemental           Answer        to   Interrogatory      No          and     Second Supplemental               Answer         to




Interrogatory            No        for the      addresses of the individuals                 indentified       in this     Interrogatory




INTERROGATORY                            23




              Identify     all    newspaper           articles   or   other media reports            that     criticized     or vilified      Dongguk


University         or harmed            Dongguk        Universitys       reputation           including the        medium           of each       article   or



other report         the    title      of each    article or other       report       the    date   each    article or      other report           was   first




published          and   the     name         of the publication        containing          each    article    or other report




                                                                               22
  Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 83 of 184




             OBJECTIONS                    AND ANSWER


             Dongguk            specifically         objects           to this Interrogatory                 on     the   ground   that   it    is    overly broad



 and      unduly     burdensome                 Subject to and without                             waiving   the    foregoing      specific       objection and         the




 General      Objections            Dongguk              will    identify          non-privileged                 non-confidential        documents            that   are




 responsive         to   this Interrogatory               at the        time of production                    Upon        execution    of the confidentiality



 stipulation         Dongguk         will       further        identify           bates numbers              of   all   non-privileged          confidential




 documents           if
                          any     that    are    responsive             to    this      Interrogatory



             SUPPLEMENTAL ANSWER

             Subject to and without                      waiving         the       foregoing           specific      objections and General                  Objections



Dongguk        states      that    the    following                                     articles       and   other media reports               criticized      Dongguk
                                                                newspaper


or   harmed        its   reputation


  Medium                                                   Title                                                        Date              Name          of

                                                                                                                  Published           Publication

Web                 Debate        over Dongguks                 Faculty       Hiring          Process             6/30/2007         Bowonsa
Article

Web                 Biennale       Art Director           Accused            of   Phony                           7/12/2007         Chosunilbo
article             Credentials

Web                 Biennale        Director       sacked        for    Academic               Forgery            7/12/2007        Korea        Times
article

Web                 Art luminary          forged     her       academic            credentials                    7/12/2007        JoongAng
article

Web                 Falsified      Academic          Degree.. Fabricated                                          7/12/2007         Herald      Business
Article             Dissertation.           Serious        Moral        Hazard           in    Culture

                    Industry

Web                 The Fake        Doctor        Scandal         for   the Cinderella                of          7/12/2007        Chosunilbo
article             the Art     World

Web                 Suspicions           about Jeong            Ah Shins            Falsified                     7/13/2007        Yonhap News
Article             Academic         Degree        Officially       Suggested                 When
                    Hiring   in   2005

Print               Dongguk         Universitys           Weird          Faculty         Hiring                   7/13/2007        Chosun            Ilbo

Article

Web                 Art world      shocked         over        curators           forged       degrees            7/13/2007        The    Korea
article                                                                                                                            Herald

Web                 Mystery behind              hiring    of    shamed            art   professor                 7/13/2007        JoongAng
article


Web                 The    talented       Ms     Shin                                                             7/13/2007        The
article                                                                                                                             Independent




                                                                                              23
   Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 84 of 184




 Web        Stroke       of luck       raw    talent      fueled     Shins ascent                         7/14/2007      JoongAng
 article


 Print      Hiring    Process          of Shin       Full of        Questions                             7/14/2007      Chosun      Ilbo

 Article


 Web        Biennale       Curators           Degree        Revealed                  Forgery             7/14/2007      Chosunilbo
 article


 Web        Dongguk        Univ        to    Fire    Prof   Who       Forged           Her                7/1   4/2007   KBS World
 Article    Degrees                                                                                                      News
 Web       Would  Dongguks Internal Investigation                                     Closely             7/16/2007      Yonhap News
Article    Examine Academic Forgery

Web        Yale University             Wont         Probe Source             of       Shins               7/16/2007      Dong-A      Ilbo

 article   False     Certificate


Web        Dongguk         failed      to    check        records     of    discredited                   7/16/2007      The    Hankyoreh
article    art    professor

Web        The     Rise    and        Fall   of      Korean         Success           Story               7/17/2007      Asia    Sentinel

article

 Print     Dongguk         Did Not Send                     Request         to    Kansas                  7/16/2007      Donga      libo

Article

Print      Fake      Dr     Shin Disappeared                   in    Manhattan                     will   7/18/2007      JoongAng          Ilbo

Article    Stay    for    One Month  to Avoid                 the     Passing Rain

Print      Dongguk         Top Management                    Suspicious               of                  7/18/2007      Chosun      libo

Article    Covering         Shin

Web        University       of    Kansas           Has     No Record             of                       7/18/2007      Korea Times
article    Verification          of   Shins        Diplomas

Web        Growing Suspicion                       Dongguk          University             being          7/18/2007      Hankook      Ilbo

Article    deceived        or protected

Web        Dongguk         Remained               Silent After Receiving                                  7/19/2007      Yonhap News
Article    Confirmation           of   Shins        Fake     Degree               Few
           Months        Ago
Web        Snowball        of Lies                                                                        7/20/2007      news.naver.com
article

Web        Dongguk         University          Shin Investigation                     Nothing             7/20/2007      Yonhap News
Article    Discovered

Web        Fake      Diplomas                                                                             7/20/2007      Korea Times
article

Web        Dongguk         University             Fires   Bogus       Professor                           7/20/2007      Korea Times
article


Print      Shins Fake                 Degree Evidence
                                  Doctoral                                                                7/20/2007      Chosun      Ilbo

Article    Dongguk         Might Have Kept Silent Since This                                  April


Print      After   Shallow Investigation                    There Was No                                  7/21/2007      Donga     Ilbo

Article    Absurdity

Web        Former university president                       takes     the heat             on     art    7/21/2007      JoongAng
article    fraud

Web        Fake      Diplomas          Emphasis            Must     Shift    from                         7/21/2007      Korea Times
article    Academia         to    Meritocracy

Web        Dongguk               Sacks        Bogus        Prof Shin         Jeong-Ah                     8/3/2007       Korea Times
article


Web        Suspicions        Grow Over Shins Diploma                              Forgery                 8/27/2007      Korea    Times
article


Web        Growing        Suspicions                                                                      8/27/2007      Korea Times

article




                                                                                  24
   Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 85 of 184




 Web        Clearing       up      Scandal                                                          8/30/2007    news.naver.com
 article


 Web        GNP     accuses        Biennale         of    endorsing             Shin                8/30/2007    news.naver.com
 article


Web         Factional       Feud    Deepens          in       Buddhist          Groups              9/3/2007     Korea Times
article


Web         Korea    battles       resume         fakers                                            9/5/2007     Yale Daily    News
article

Web        Monk      urges      Dorigguk          Directors         to    Resign                    9/6/2007     Korea Times
article


Web        Ex-professors           home and              office     raided       in    probe        9/8/2007     news.naver.com
article    on degree         forgery

Web        Lie After Lie                                                                            9/11/2007    Korea Times
article

Web        Dongguk         Professors        Call    for       Resignation             of           9/16/2007    Korea Times
article    Directors

Web        Probe Triggers           Backlash         from          Buddhists                        9/22/2007    Korea Times
article

Web        Yale University          Rejects        Shins           Fake     Ph.D Claim              9/23/2007    Dong-A     llbo

article

Web        Did   Not Verify Academic                 Degree              When      Hiring           10/4/2007    Yonhap News
Article

Web        Korean        professor      accused           of forging         Yale       art         10/16/2007   Yale Daily News
article    degree

Web        Dongguk         board    chairman             to    resign                               10/17/2007   JoongAng
article

Web        Brief    Art history professor                     charged       with       forgery      11/1/2007    Yale Daily    News
article    of doctorate         indicted     by authorities

Web        Byeon         Shin   Deny    Charges               in   1st   Trial                      11/12/2007   Korea Times
article

Web          Very Good           Step                                                               12/7/2007    news.naver.com
article

Web        Deception        Sums Up Year                 of    2007                                 12/23/2007   Korea Times
article

Web        Fax on ex-art professors                  Yale doctorate                   degree        12/28/2007   Yonhap News
article    found    to    be genuine

Web        Dongguk              Yale                                                                9/24/2008    Korea Times
article

Web        Poison Ivy           Cleaning up               Korean          Art                       N/A          ArtAsiaPacific

article    Conspiracy                                                                                            Magazine

Blog       Forged        Credentials       and     Korean           Employment                Law   N/A          Korean     Law
                                                                                                                 Blog

Web        Cancelling        Chosun        Ilbo    Subscriptions                                    N/A          The    Hankyoreh
article

Web        DGU     sues     Yale                                                                    N/A          Dongguk-ln
article




                                                                                 25
      Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 86 of 184




 INTERROGATORY                         24




            Identify      all    documents         that
                                                              you contend              contain        false     statements        that    Yale University



made       concerning        Dongguk           University



            OBJECTIONS                  AND ANSWER


            Dongguk          specifically        objects        to     this Interrogatory                on     the   ground     that     it   is   overly broad



and    unduly    burdensome                  Subject to and             without         waiving         the     foregoing        specific        objection and         the




General Objections                Dongguk          will      identify         non-privileged                 non-confidential            documents            that   are




responsive      to    this      Interrogatory          at   the time of production                       Upon         execution        of the confidentiality



stipulation      Dongguk           will      further        identify        bates numbers               of   all   non-privileged              confidential




documents        if   any       that   are    responsive         to     this   Interrogatory



           SUPPLEMENTAL ANSWER

            Subject to and without                 waiving            the    foregoing          specific        objections and General Objections



Dongguk        states     the    following         documents            contain             false    statements that            Yale     made concerning


Dongguk

Date                    Type                                                  Description                                                      Name    of

                                                                                                                                         Publication


                                                                                                                                               if_any
7/9/2007          Letter                Letter     from          Barnaby          to   Gwangju          Biennale

                                          Foundation

7/9/2007          E-mail                  E-mail    from              Reinstein        to    Director    General of the
                                        National        Museum           of   Korea

7/1   0/2007      E-mail                E-mail      from              Reinstein        to    Chosun      llbo      reporter

7/10/2007         Letter                Letter     from          Carney         to          Cho
7/12/2007         Web                   Biennale            Art Director       Accused          of   Phony         Credentials           Chosunilbo
                  article

7/12/2007         Web                   Cannot          be..      Art Industry              Shin Shock                                   Munhwa        llbo

                  Article

7/12/2007         Web                   The Fake            Doctor      Scandal         for   the Cinderella           of the            Chosunilbo
                  article               Art    World

7/13/2007         Print                 Jeong Ah Shin Mystery                        Fax      Dongguk         Received                   Chosun       llbo

                  Article               from Yale Also Fake

7/13/2007         Web                   Dongguk             Ignored     All   the      Shin Suspicions                                   Segye




                                                                                     26
    Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 87 of 184




__________    Article


 7/13/2007    Web       Did    Dongguk             Know Shins Diplomas                     Were Fake                     Munhwa       llbo

              Article

 7/13/2007    Web       Jeong Ah Shin Fax from Yale Also Fake Yale                                                       Herald

              Article   Answers Different Form.. Possibly Fabricated                                                     Business

                        Domestically

 7/13/2007    Web       Jeong          Ah     Shin    Mystery           Fax Regarding                 Degree             Herald

              Article   Also     Fabricated                                                                              Business

 7/13/2007    Web       Diploma         Confirmation             Fax Dongguk               Received               from   CBS      Nocut

              Article   Yale     is   Also        Fake                                                                   News

 7/14/2007    Web       Biennale           Curators        Degree           Revealed             Forgery                 Chosunilbo
              article

7/14/2007     Print     Document              Dongguk Received                    from     Yale        at    the         Donga      Ilbo

             Article    Time of Hiring          is Fake
7/15/2007     E-mail    E-mail        from           Carney       to        Cho
7/16/2007    Web        Fake          Dr     Jeong Ah Shin Review                        of Investigation                MBC
             Article    Request

7/16/2007     Print     Yale   Will        Not Investigate             Shin       Falsified          Fax                 Donga      Ilbo

             Article


7/16/2007     Print     Yale University               Fax Mystery                                                        JoongAng
             Article

7/16/2007     Print     Jeong         Ah    Shin     Hiding      After Returning                to    Korea              Chosun      Ilbo

             Article

7/16/2007    Web        Who      Sent the Falsified                   Confirmation            Fax       of               Joins

             Article    Doctorol        Degree

7/16/2007    E-mail     E-mail        from Chosun              Ilbo    reporter     to          Schirmeister

7/17/2007    Web        The    Rise        and     Fall   of      Korean         Success             Story               Asia

             article                                                                                                     Sentinel

7/17/2007    E-mail     E-mail        from           Reinstein         to         Klasky

7/17/2007    E-mail     E-mail        from           Schirmeister           to      Bulter       and

                        Sleight

7/18/2007    Web        Increasing            Suspicions              Dongguk         Deceived               or          Hankook
             Article    Protected             Dongguk           Did     Not Verify Academic                              libo


                        Degrees         of Shin


7/18/2007    Web        Jeong         Ah Shin         Solve      Degree           Verifying          Fax From            CBS      Nocut
             Article    Yale Mystery                                                                                     News
7/19/2007    Print      Shin      Incident           Yale Did Not Receive                       Dongguks                 Chosun      Ilbo

             Article    Request         for    Shins Academic                    Degree     Verification

7/19/2007    Web        Yale Considering                   Legal        Action      Against           Shin               Maeil

             Article                                                                                                     Business

                                                                                                                         Newspaper

7/19/2007    E-mail     E-mail        from           Reinstein         to   The    Hankyoreh                reporter

7/20/2007    Web        Shins Academic               Forgery                Dongguk        Internal                      Yonhap
             Article    Investigation             Committee            QAs                                               News

7/20/2007    Web        Shins Academic               Forgery                Dongguk        Internal                      Donga      llbo


             Article    Investigation             Committee            QAs
7/20/2007    Web        Dongguk            Will    Dismiss       and Accuse              Shin                            Hankook
             Article                                                                                                     Ilbo

7/20/2007    E-mail     E-mail        from           Reinstein         to   The Hankyoreh                   reporter

7/21/2007    Web        Fake     Dr        Shin      Dismissed..            Request        for       Investigation       Joins

             Article




                                                                 -27-
   Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 88 of 184




 8/4/2007          TV                Munhwa          Broadcasting            Corporation         interview                    MBC
                   Interview

 8/20/2007         Web                                  Amplifying          Suspicions       About      Shins                 MBC
                   Article           Falsified       Degrees

9/4/2007           Web               Did   Shin      Send      the   Fax                                                      MBC
                   Article


9/4/2007           E-mail            Email from                Reinstein       to    Yale    Daily   News        reporter

9/5/2007           Web               Korea        battles   resume          fakers                                            Yale Daily
                   article                                                                                                    News
9/19/2007          Web               Yale University           Embarrassed             by Shins Claim                         Dong-A     Ilbo

                   article

9/21/2007          Statement         Official      Statement by Yale University                    and     all
                                                                                                                 copies
                                     distributed      to Korean media

9/23/2007          Web               Yale University           Rejects        Shins      Fake    Ph.D Claim                   Dong-A     Ilbo


                   article


10/16/2007         Web               Korean        professor         accused        of forging     Yale    art   degree       Yale Daily
                   article                                                                                                    News

11/1/2007          Web               Brief        Art history professor       charged            with forgery        of       Yale Daily
                   article          doctorate          indicted      by authorities                                           News

12/28/2007        Web                Following         scandal       with     Korean       professor       University         Yale Daily
                   article           revises       degree-verification              procedure                                 News
12/29/2007         Statement         Public       Statement by Yale University

1/3/2008          Web               Yale     to    be more careful            about    verifying       graduate               boston.com
                  article           degrees

1/3/2008          Web               Yale     raises      bar   on credentials                                                 New    Haven
                  article                                                                                                     Register

1/3/2008          Web               Yale     to    be more careful            about    verifying       graduate               The AP
                  article           degrees

1/14/2008         Web               Yale revamps            degree-verification              procedure                        Yale Daily
                  article                                                                                                     News
1/31/2008         Letter            Letter      from        Carney       to          Cho
2/4/2008          Web               Yale     to    be sued over         Shin      case                                        Yale Daily
                  article                                                                                                     News

Dated        October    30 2009
                                                                               MCDEMOTT                      WIkL                   RY   LLP

                                                                               By
                                                                                      Robert              Weiner

                                                                                      Audrey Lu
                                                                                340 Madison             Avenue
                                                                               New York New                  York         10173-1922

                                                                                212         547-5400

                                                                                    tiorneys     for Plaint        iff    Dongguk    University
Of Counsel
Ira   Grudberg
Jacobs       Grudberg        Belt   Dow            Katz P.C
350 Orange        Street

New Haven          Connecticut       06511

203         951-3720




                                                                            -28
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 89 of 184




                                                          VERIFICATION

                            -c       F4                  hereby    cerd     that       have   reviewed        the   above

       Interrogatories   and   responses   thereto   and    that   they   are   true   and accurate      to    the   best   of   my
       knowledge and belief




                                                                      NamJ             J7
                                                                      Title




               Subscribed      and sworn   to   before    me   this         day of        Oc       ki               2009




                                                                      LIc                           Yowig            yoo         Kong
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 90 of 184




           EXHIBIT                             81
      Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 91 of 184




                                      IN  THE UNITED STATES DISTRICT COURT
                                         FOR THE DISTRICT OF CONNECTICUT
DONGOUK UNIVERSITY
                                                                                              Civil         Action     No          08-CV-00441-TLM
                                   Plaintiff




YALE UNIVERSITY

                                   Defendant




   PLAINTIFF DONGGUK UNIVERSITYS REVISED FOURTH SUPPLEMENTAL
  ANSWERS AND OBJECTIONS TO DEFENDANT YALE UNIVERSITYS FIRST SET
                                                       OF INTERROGATORIES



           Pursuant to Rules               26 and     33    of the Federal            Rules       of Civil       Procedure              plaintiff      Dongguk


University        Dongguk                by and through               its   attorneys        McDermott                Will          Emery LLP and


Jacobs Grudberg                Belt    Dow            Katz       P.C        hereby    responds          to    defendant           Yale Universitys



Yale            First   Set of Interrogatories              the Interrogatories                        as   follows



                                                      RESERVATION OF RIGHTS

                        Dongguks           answers         and    objections are            made        without        in    any    way       waiving        or




intending to waive              but on the contrary preserving                        and    intending to preserve                      all   questions       as to




their   competency             relevancy        materiality privilege and                     admissibility             as    evidence           for
                                                                                                                                                       any   purpose


of the answers          or   subject     matter thereof               in          subsequent           proceeding            or   the    trial   of this or any
                                                                           any


other action



                        Dongguk        preserves           the right        to   object     on any ground              to   the    use     of said     answers        or




the   subject     matter       thereof     in   any   subsequent             proceeding           or the      trial   of this or any             other   action



                        Dongguk        reserves the right to supplement                           or    amend         these       answers        in light     of facts



or    information       that    may be      discovered           or   brought        to   light   after      submission            of these answers
  Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 92 of 184




Civil   Procedure        and       the    Local     Rules        of the Court                  Dongguk          will    comply with          the       Federal Rules



of Civil     Procedure         and the Courts Local Rules


            SPECIFIC          OBJECTIONS                       AND REVISED SUPPLEMENTAL ANSWERS TO
                                                                INTERROGATORIES

INTERROGATORY                            26


            Identify     the total        amount          in    Korean           won          of   all   government       grants      that    Dongguk


University         received        in   each    year since               1998


            OBJECTIONS                    AND ANSWER

                        to   and        without     waiving              the    General Objections                 Dongguk          states        as   follows
            Subject



            Two      of the research project                   applications              submitted            for the   Humanities           Korea Support


Grants      HK Grants                   were    rejected        in       the    fall    semester of           2007      The   first   project          was   titled




East    Asian       BuddhismInterchange                              Consilience              and        Synergy        initiated     by Dongguks                Korea


Buddhist      Research         Institute          The         second          project     was       titled    Discovery        and        Creation       of Cultural



Identity     of Korean        Nation           in the    Age        of Globalization initiated by                         Dongguk                 Cultural




Research      Center         Had        they been         selected              each     of the projects          would have          received



8000000000             won

            The     result   was        surprising        especially             in    view of Dongguks                  superior        qualifications




compared       to    other applicants               As          Buddhist               academic          institution     with over 100             years of history



Dongguk       is    one of the          leaders     in the      field          of Buddhist            studies      The    Korea Buddhist                 Research



Institute    was established              in    1962      and       is   known          for   its    active    involvement          in    academic           research



and   the   quality     of   its   articles       that    have been published                        over the last 45         yearsr        Its   journal



Buddhist      Bulletin        was       selected         as   one        of the leading journals in the field by Korea Research



Foundation the government                         institution            that    in fact       initiated       and awarded          the    HK      Grants in          2007


The Korea Buddhist                 Research         Institute            is   the only Buddhist                research institutes           in    Korea      that     have




                                                                                        -3-
   Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 93 of 184




held over ten international                     symposiums               since        2002             In    comparison           the      Buddhist          Culture



Research         Center       of   Geumgang            University               who was               the     recipient        of the      HK     Grants        is still    in the




early    stage    of development                 It    was    established                 in    2003 and           had published                only one       issue   of



journal at the time of application                           In    view of           the       facts        above    it   is   hard to imagine               that   Dongguk


would have suffered the same                          loss   without            the   impact                of the Shin incident



             The following              chart   surmnarizes               the    amount of government                            grants         awarded        to   Dongguk


for   each    calendar        year       reflecting        the     loss      of the grants                  mentioned          above       in   2007


Unit 10000000 won                            rounding        off to the unit               amount
Year                    1998             1999         2000J        2001              2002              2003          2004            2005         2006          2007         2008

Amountof                31              68            77           86                98                95            97              162          179           187          250
Government
Grants

                                   Government                 Grants Received                          in   Each     Calendar          Year

REVISED           SUPPLEMENTAL ANSWER

             Subject    to    and without             waiving          the    General            Objections               Dongguk           states      as   follows



 Unit        100000000             won rounding               off to the unit                   amount
Year                    1998            1999     2000             2001          2002             2003           2004           2005        2006         2007          2008      2009
Amountof                31              68       77               86            98               95             97             162          179          187          250       506
Govermnent
Grants

                                   Government                 Grants Received                          in   Each     Calendar          Year


INTERROGATORY 28

             Identify    the total number                  of student applicants                        who were           offered admission                   to   Dongguk


University       for    each       year since         1998        and    the     total         number who accepted                         Dongguk           Universitys



offers   of admission              to   its   undergraduate              and     graduate               programs          for    each      year since          1998


             OBJECTIONS                      AND ANSWER

             Subject     to    and without            waiving          the     General            Objections              Dongguk           states      as   follows




                                                                                      -4
  Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 94 of 184




        The     chart      below summarizes                the   number      of admission            offers   to    Dongguks           undergraduate



programs and      the number             of students        who    accepted         such    offers    for    each   year from 1999                until




2008   Dongguk          has no information responsive                     to   this Interrogatory             for the
                                                                                                                          year 1998



Application     Year                                 Number       of Admission Offers                       Number       of Students             Who
                                                                                                            Accepted       Offers

1999                                                 3781                                                   2965
2000                                                 3611                                                   2944
2001                                                 3720                                                   2919
2002                                                 3803                                                   2944
2003                                                 3738                                                   2941
2004                                                 3690                                                   2937
2005                                                 3588                                                   2868
2006                                                 3568                                                   2829
2007                                                 3915                                                   2692
2008                                                 3458                                                   2720
                           Number             of Admission Offers to Undergraduate                            Programs


       Dongguk          states        that   it   has no   information         concerning       the    number of students who were


offered admission          to   its   graduate                    for   each                Dongguk          thrther     states      that   it   has no
                                                     program                        year


information     on   the   number            of students     who    accepted          or rejected      the    offers     for   its   graduate



program   for   each    year



REVISED         SUPPLEMENTAL ANSWER

Subject to and without            waiving          the   General Objections                Dongguk       states     as   follows



Application     Year                   Number        of Admission              Number        of Students                 Number         of Students

                                       Offers                                  Who      Accepted        Offers           Who      Rejected         Offers

1999                                   3781                                    2965                                      816
2000                                   3611                                    2944                                      667

2001                                   3720                                    2919                                      801

2002                                   3803                                    2944                                      859

2003                                   3738                                    2941                                      797
2004                                   3690                                    2937                                      753

2005                                   3588                                    2868                                      720

2006                                   3568                                    2829                                      739

2007                                   3645                                    2692                                      953

2008                                   3458                                    2720                                      738

2009                                   3388                                    2687                                      701

                           Number             of Admission Offers              to    Undergraduate            Programs



                                                                        -5
 Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 95 of 184




                                                      VERIFICATION

             2C       3c9       14                   hereby certify that        have    reviewed    the   above



                  and                                              and                              and              to the   best
Interrogatories          supplemental        responses thereto           that    they are true            accurate




of   my knowledge       and   belief




                                                                                                                                 /f11w
         Subscribed     and   sworn    to   before    me   this   44ay     of          Mcw-r   li         2O




                                                                                                            seek      Ahn
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 96 of 184




           EXHIBIT                             82
        Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 97 of 184




                                   Supplemental Information                      Regarding the Yale Lawsuit


                                                      Attachment           sent after      scanning



    When was          the application             made     for the Humanities              Korea Project

    August       24   2007                  attachment       LI
                 Buddhist         Cultural     Research          Institute      Agenda          Exchange        Consilience      and Mutual

            Benefit    in   East Asian          Buddhism


            Cultural    Studies        Institute        Agenda            Creation       and innovation        in   Korean    folk culture in the

            age of globalization




    When      did selection          occur     for     the Humanities            Korea Project

    Stage        selection        28    humanities         institutes      or    groups September              20    2007            attachment



Final   selection      16        humanities         institutes    or   groups November                 14 2007               attachment           LI
    We    were     eliminated          in   stage



   Application         for Humanities                Korea Project submitted               to   the Ministry        of Education           Science

and Technology

        copies     of application           attached              attachment




   Were      there other colleges              that     applied      under the topic of          Buddhism
   69 colleges/universities                   and       total    of 153    institutes/groups          102     in    humanities 51           in   foreign

studies     applied     for      the project         but   the details         of the topics applied          for are not    made         public

among     the selected           institutes/groups           the only Buddhist             one   is   the   Geumgang         Center       for

Buddhist      Studies       at   Geumgang            University                 attachment       Li


   What      order of       Buddhism           is   Geumgang           University
   Cheontae         Order              Geumgang            University          website     http//www          ggu.ac.kr


   What      did   Geumgang            University          achieve      through       the Humanities          Korea Project          in   2007
   From      the time of selection                  for the project       in   2007   to   now        international      conferences

international       seminars        have been held cannot confirm outcomes                                  by year         cannot        confirm

other outcomes         such as         articles      published       or research         contracts            Geumgang         Center       for

Buddhist     Studies        website         http//gcbs          geum gang ac.kr/




Confidential                                                                                                           D0N00UK0265339
            Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 98 of 184




     Have any               researchers           been     let
                                                                  go     due        to   elimination                from     this   project           from among those

 employed              by    the Buddhist             Cultural         Research           Institute            at   the time of the Humanities                      Korea

Project          application
     It     is   not   permitted           to    include          list    of researchers                 in    the Humanities                 Korea Project application

          project       application              attachment                          difficult         to     illustrate         connection              between    the
                                                                         LI
researchers             employed            at    that    time and the Humanities                             Korea Project


     Have         there been other cases                     of elimination                from projects                   similarly to          the case     of the

Humanities              Korea Project                 due    to   the Jeong-Ah                   Shin incident

     Although               it   cannot be said with                 certainty           that        the reason        for     elimination             was the Jeong-Ah
Shin incident                    there have       been the following                     large national               government                projects


Date of                 Supporting          agency                     name                     Person              Proposal        name                    Total   project   costs

project                                                                                         in   charge                                                 thousand      won
application                                                                                     of

                                                                                                research

5/25/2007               Ministry       of Knowledge              Economy                                            Bioenergy Core                          10513500
                                      to    Improve       Expertise       in   New                                  Technologies             Research
                        Renewable           Energy Sources                                                          Center

7/31/2007               Ministry       of    Education Science                and                                   Wave       energy                       4800000
                        Technology              Science     Foundation                                              bioactivation

                                      to    Support       Superior       Research                                   technology        research

                        Centers                                                                                     center

8/24/2007               Ministry      of Education Science                     and                                                  Cultural                8000000
                        Technology              Korea Research                                                      Research        Institute

                        Foundation                                                                                  Exchange         Consilience

                                                Korea Project                                                       and Mutual Benefit              in


                                                                                                                    East   Asian Buddhism


8/24/2007               Ministry      of Education Science                     and                                                  Studies                 8000000
                        Technology              Korea     Research                                                  Institute       Creation     and

                        Foundation                                                                                  innovation       in      Korean
                                                Korea Project                                                       folk culture        in   the age

                                                                                                                    of globalization

10/26/2007              Ministry      of Education Science                     and                                             Korean         Studies       2068956
                        Technology           Korea        Research                                                  Institute       Seeking     New
                        Foundation                                                                                  Paradigms        and Insight

                                                                                                                    on 60 Years         of    North

                                                                                                                    Korea Research

10/26/2007              Ministry      of Education            Science          and                                                   Technology             4500000
                        Technology           Korea        Research                                                  Institute       Developing
                        Foundation                                                                                  integrated       crisis


                                                                                                                    management            systems




Confidential                                                                                                                                          DONGGUKO26534O
               Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 99 of 184




                                                      ii                                  jjSj

                                                                      5fl
                                                                            jr




                7tAF jA1O1                                  JJf
                2007k         24OJ


                                           Agenda           OkOf                                       AJA

                                     Agenda                 Ltfi Jrd               PJ1           fl7    Jft




                        jtXfJAFtj     JAJ tjflj
                14 72JaF 284                           QflL4         2007                 20
                        joj                164    jjLj 2007                      11       14J

                   i-jj    fl4S     1cf4    A14o1A.1        Edf




               242f471l               1qk                   71AF JA1
               AjA12
               tJ2      iL                             cF    tWol    iN
               69 44Ca               1534j--o 1024                   aflh144-o1            51 t-CDf
               jS..f          4O           rflj       JAM           -4tfzJ                      ii W-OI
                  tfl4               L-tF-                                       41


                     cflf                         -QJ7f
               ja%                    SUl0lLlhttp//wm.ggu.ac.kr/Olik1                 41


                        i-WFfl tF                 4c-fL94 2007                   A4 J7F
               2O07       -24j              tiz7Fi          2CI              3t    7flP         -2   4A1iULf   21   7iQ.1

                              -Fw                ci         -M41            H-i
               Lflfi2   F1http//gcbsgeumgang.ac                        kit   nIl   01 XlQlIic   41



CONFIDENTIAL                                                                                                          D0NGGUK0265339
               Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 100 of 184




                            tFf71AF            tJA              -F4-                                    40J94    Ed       2iil


                 4i1        1k   QiHi4i1      t7f
                  i-FiAAF 4oThb ii4                                     yliuH olca         tt1.L.1
                                                                                                     c10.O1S
                                                                                                        .M.fl        AM
                  L1                      1F            t4t4AFP.1             --     1-           tflFl   14

                                                     flof                  QJSfl     Jfj cf A01                  O1-iV


                 Af4             4f4-yf   fltfI      jof        Af7jo1fja                                 J1
                                 cff           A04.01   o1s
                                                        .4Afl




                 ItOJ
                                       q444j                                                                         AM
                                                            fl4z                                                     cfY.4

               ao7.o25
                                       A171
                                                                        u6                   M447Tt1E1               10513533



                              22N7I44JNf
               233707.31                                                31FO1IL124        tWM7jtllE1                 480007k




               23370324
                                                                                                     -i              80307X
                                                                        -F                aalja
                                                        ednctedbasedo


                                                                                             FtfA1cfi
               23370824                                                                                              8030030



                              2f7j4ti2fid                                                       ki       60\91
                                                                                                                     2738956
               2173710213

                                 L2YWAf                                 fl    A4            5KEHJ1


               23071023
                                                                        fli4J 71eiA1                                 4500003




CONFIDENTIAL                                                                                                              DONGGUK02G534O
     Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 101 of 184




                               CERTIFICATE OF TRANSLATION




              Samuel Henderson                hereby     certify        that           am         competent          in    both the
Korean and           English languages            and    that        translated                 D0NGGUK0265339-40
from the Korean           language         into the English          language
             further     certify     that     translation       of      DONGGUKO26S339-40                                 from   the

Korean language              into the English         language       is   accurate                and      correct    to   the best

of   my knowled           and    proficiency




Sam               enderson
Pr     essional Translator




Snbscribed   and sworn   to before   me   on _____________   day                                             year




                                                                   LAKETRA             WILLiAMS
                                                                   Resident    of    Lake County      IN


                                                                        commission          expires
                                                                   My
                                                                   September           2016



             of   Nota                                                        Notary Stamp
ture
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 102 of 184




            EXHIBIT                            83
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 103 of 184




     FILED UNDER SEAL
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 104 of 184




            EXHIBIT                             84
      Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 105 of 184

OONGGUK         YALE   UNIVERSITY                                                                    August    2010




                                                                                                        Page

          IN    THE     UNITED      STATES      DISTRICT       COURT

          FOR    THE     DISTRICT      OF CONNECTICUT

          CIVIL ACTION           308-01-00441                RNC


          DONGGUK        UNIVERSITY

                            Plaintiff

                       -versus-                                             VOLUME

          YALE    UNIVERSITY

                             Defendant




                                    Rule     30b              Deposition             of   SYOUNG

      GEON        JEON       taken    pursuant         to     the     Federal          Rules    of


      Civil            Procedure      at     the    Law      Offices        of      Day

      Pitney            LLP         Audubon        Street       New        Haven

      Connecticut                before      James            Martone            LSR      248
      and       Notary       Public        in   and    for the            State      of


      Connecticut                on August             2010          at    1003        a.m




                                                   Sanders    Gale        Russell

                                                       203     624-4157
               Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 106 of 184

DONGGUK                 YALE               UNIVERSITY                                                                                                                                                                            August                2010



                                                                                                             Page      18                                                                                                                     Page     20

                      Thats           correct                                                                                       day     did     you meet              with       her
                      Mr        Jeon does                the     book        that    is
                                                                                             sitting                                               Seven        to     eight      hours                day
        in    front    of you          contain           the     documents                that      you                                            Mr         Jeon what              claim            does       Dongguk                make
           reviewed                                        for       this                                                                 this    lawsuit                            to    student
                           in    preparation                                 deposition                                             in                           relating                                    applications
                           MR         WEINER                    All     the      documents                                                         In    order       to    explain that                    in    order          to

                           MR         FETNER                                want        to     know                                 explain        that         would have                 to    explain             to     you       when

        generally          whats            in    there                                                                             the   when high school graduation takes place
                                                                                                                                           --


                           MR          WEINER                   The answer                is
                                                                                                no     it                           and when the college starts

        does     not                                                                                                                               Please        explain          whatever                  you need                 to to

 10                   Which            documents                are    you        referring           to                      10    answer         the     question
 11                   Okay             Let       me     start    it    this      way          Have                            11                   High        school       students              graduate                 in

 12    you reviewed                   those documents                       in that       book        in                      12    February            in    Korea         And then they                        start college

 13    preparing           for the           deposition                                                                       13    in    March           And       college           takes           applications

 14                   Yes                                                                                                     14   starting         from September                        to    February
15                    When did you                      review         those        documents                                 15                        And     the       time period                 the       colleges

16                    Now something                             was reminded                   by one        of               16   take     in applications                 are       according                 to   the
17     the    documents                that         have        to    correct       something                                 17   government                 guidelines                  And         December                  is    the    most
18          reviewed         documents                  which          explains           how        documents                18   important             month         for applications                      of students
19    are     supposed            to       be     retained           in the      United         States                        19   Because             most     number of                 students              apply           in

20    The documents                        that       reviewed              were     related          to                      20   December
21    this     case        And              reviewed            the     file     that          have                           21                   And        colleges         select           students             according
22    in front        of   me         in    Korea         before            came        to     the                            22   to college            exam          its similar               to    SAT           in the

23    United          States                                                                                                  23   United         States         And        the       entire          nation          is


24                    Who        compiled               the     documents               in the        book                    24   interested            in college          entrance                 in    Korea               And         the

25    sitting     in front            of    you                                                                               25   number of             applicants            are        published through


                                                                                                            Paga       19                                                                                                                     Page     21

                      Audroy Lu                   the    attorney           at   MWE                                               different           medias such                as      newspapers                   and           TVs
                       MR             FETNER                    We     dont        need        to    do                            programs
      it    now Bob               assume                you have            no objection               to us                                           And      Dongguk University is
      making            copy          of     that       binder        at    some point                                             insisting           that    due to Yales wrongful  answers
                       MR             WEINER                    No     objection                                                   Dongguk has received national    criticism   And due
                  Mr         Jeon           did
                                                    you meet               with any                                                to that number of applicants  were    reduced in

      attorneys         in      preparing               for this       deposition                                                  December
                  Yes                                                                                                                             Of what           year or          years
                      Who                                       with                                                                                          and      2008
                                did        you meet                                                                                               2007

10                InYoungLeeatMWE                                           INYONO                          In                10                  Is    that    Dongguks                  entire           claim       relating

11    Young       Lee                                                                                                         11   to student           applications
12                     MR         WEINER                                                                                      12                  Not only           the    number of applicants                                     but

13                And           Audrey Lu                  at   MWE                                                           13   also    the     school        does       not        think          the       quality          of

14                On how many                           occasions           did     you meet with                             14   students         has reached                its    formal            level        before            this

15    them                                                                                                                    15   incident

16                     met with              In    Young             Lee once                And      met                     16                  Is    that    Dongguks                  entire        claim          relating

17    with     Audrey Lu twice                                                                                                17   to    student        applications
18                When            did       you meet with                   Mr Lee                                            18                  Yes
19                Last          Monday                                                                                        19                  So Dongguk                does          not     claim           that      the

20                For approximately                             how long did you meet                                         20   number of             student          applications                  was reduced                    i$

21    with     him                                                                                                          21     months          other       than       December
22                About two                     to three        hours                                                         22                  Well         there       was an              overall          reduction              in

23                When           did        you       meet       with       Ms Lu                                             23   2007          However               starting           from         2008           the       number of
24                Last          Wednesday                 and        last Thursday                                            24   applicants            increased              Its       been         getting             better

25                And           for    approximately                    how long on each                                    25                    Mr       Jeon my question was does                                         Dongguk


                                                                                                                                                                                                  Pages                              18           to   21
                                                                                                      Sanders          Gale        Russell

                                                                                                                 203    6244157
                   Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 107 of 184


DONGGIJK                YALE UNIVERSITY                                                                                                                                                                        August              2010


                                                                                                      Page       22                                                                                                         Page   24


      claim    in       this    lawsuit           that    the      number of student                                                    Its       not actually                 the    math test        Its


      applications              it   received            in   months other than                                            called      Korean               SAT
      December             was decreased                      because       of    any action on                                         Now            traditionally              Korean        universities

     Yales pail                                                                                                            have      selected           their       students based               on    students

                    Well         that       is    the    principal        complaint                                        SAT       scores             And        depending            on the        SAT          scores    of
      December                                                                                                             students          students decide                     what college they can

                    My         question           is   about       months other than                                       go to
     December                                                                                                                                And            high schools              usually     have

                    We         dont take applicants                     starting         from                              information                 on what colleges the students enter
10                                                                                 As                                 10                                           level        And      the                   of
     September to February continuously                                                                                    according          to       their                                   quality

11   mentioned before we have to follow                                           the                                 11   colleges         depend            on the students who enter                             their

12   government                guideline                And        we receive
                                                                   so                                                 12   schools          because            they are picked                 based     on        their

13   applications               in    December                once  And then we                     take              13   SAT       scores             There       are        no objective           standard

14   in    applications               once or twice before                       that                                 14   which can              which            allows        the comparison                of
15   December             application                                                                                 15   students before                   December
16                       So          was saying for 2007 the                                                          16                     So depending                      on the applications
17   overall       application            was reduced  And                          in    2008                        17   received          in   December                     college      ranking      is    decided
18   would         say    there        were more reduction                         in   the    number                 18   Therefore              it   is   the    most important                month             for

19   of students who applied                             in   December             than       any                     19   college applications
20   other     month                                                                                                  20                Does           the    number of applications                          that

21                 My      question               is does          Dongguk         claim           that               21   college receives                   inDecember  determine                           its


22   the    number of applications                             was reduced               in   months                  22   ranking          or the quality of the applications

23   on the than December                                                                                             23                Generally                 colleges           popular     by new
24                 Yes         in     2007                                                                            24   students          that       college          has     more chance            to     select

25                 In    what months                                                                                  25   better     students               Just        like    in   United      States           Ivy


                                                                                                      Page       23                                                                                                         Page   25

                     dont remember                             would        have        to    look                         Leagues           more applicants                      and theyre           able         to


     at   documents                                                                                                        pick     better        students

                   Do you have any documents                                     with        you    that                               Okay                 Mr     Jeon         my     question        was about
     would     help        answer            that       question                                                           the college            rankings           that       you mentioned                      moment
                   Yes                                                                                                     ago My            specific             question            was    are those

                   Youre             free    to    review          them                                                    rankings         based           on the numbers of applications

                   Okay                                                                                                    that   colleges             receive           or are they based              on the
                   What         months            in    2007       does    Dongguk             claim                       SAT      scores         of the applicants                    to each       college
     it   received        fewer         applications                because        of Yale                                                  would            say    it   depends on the both
10                 Just        December                                                                               10   criteria         Well            the    number of students
11                 ls    the    same true               for    subsequent           years                             11   application            are published                  through        media              And      so

12                 Yes                                                                                                12   the colleges            have more chances                         or opportunities

13                 Mr      Jeon you said                      earlier     that                                        13   to pick     better           students

14   December             is    the    most important                   month           for   student                 14               Is that          your        complete            answer
15   applications                                                                                                     15               Yes
16                 Yes                                                                                                16               When             you       talk     about       college        rankings

17                 Whyisthat                                                                                          17   is   them         particular             organization             that     performs

18                 Applications                  taken        in   before     December                                18   the rankings                youre describing
19   rely are based                  on students               grades      and      their                             19               No
20   essays        and    their        interests          and talents             However                             20               So what are you referring                               to
21   for   Decembr                   applicants           they are selected based                                     21               Im         talking about                 how     the school            is


22   on    their    college           math        test    scores                                                      22   perceived          in       the         schools            perceived       generally

23                      THE INTERPRETER                                   May      the                                23   among       public               and what type ofjobs                      the graduates

24   interpreter          correct           something please                                                          24   have       And         according               to    those people           have          ideas

25                      MR FETNE                           Sure                    ______                             25   which       is     aood college and which                             is   not


                                                                                                                                                                                        Pages                      22       to     25
                                                                                               Sanders Gale                Russell

                                                                                                           203    6244157
                 Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 108 of 184

 DONGGUK                         YALE           UNIVERSiTY                                                                                                                                                                            August             2010


                                                                                                                        Page   38                                                                                                                 Page    40

           seen        the       faculty            criticism                                                                                              Well              was asking               about        all


                                  MR           FETNER                      Bob           understand                                          applications              but       if the       factors        are    different           in

                                           Id                              him                                                                                                  yes December
                                                                like                      answer                                                                    then
          your position                              just                          to                      the                               December
          question Ive                    asked                                                                                                                MR          WEINER                       think       theyre
                                  MR       WEINER                          Okay                                                              actually       different             within         December

                            Well               have        to    say        its    an obvious                                                              Okay            So yeah what                      factors       does

          fact        but          cant        think        of any           ways         to    explain            to                        Dongguk           look        at in       determining               whether          to    offer


          you why                that     is    so                                                                                           admission           to    December                 applicants
                            How          docs         Dongguk                know            that   public                                                 Well            --    there        are     two     categories

          perceptions                   relating           to    the       Shin     incident            caused                         10    One category                 relies       on     the     college        SAT         scores
          the     decrease               in the        number of December                                                              11    100 percent               And         the      other       category           relies       on

          applications                                                                                                                12     the    student         high school                grade         and     the    college

                            Because             theres no                  other     reason           for the                         13     SAT      scores
          reduction               of    the     number of applicants                                  Because                         14                         would           say 97          to    98    percent        on
          this    case           was      the       only thing               and        therefore               this                  15    the     SAT exam                 and          or          percent       on     the    high
          is    the    only reason                   that       we     can        think        of                                     16    school        grades
                            Is    that    Dongguks                     entire       explanation                                       17                   Are      those        the     only         factors       that    Dongguk
                                 MR        WEINER                      No          its    not bccause                                 18    looks     at    for     December                  applicants
          hes     --    but       we went              through              this     so       its his                                 19                   Yes
          entire       explanation                                                                                                    20                   What        factors          does        Dongguk              examine             in


 11316
                                 MR       FETNER                       Well hes                testifying                             21    determining               whether            to    offer        admission            to

         on     behalf of               Dongguk                                                                                       22    applicants           in other          months
                                 MR       WEINER                       Right            as    have         other                      23                  Well         there       are        various        factors        and

         witnesses                                                                                                                    24    included          are     such       as    high school              grades            essays
                         My            question            was isthtsDongguks                                                         25    and     interviews                  And then any awards                        the        student


                                                                                                                        Page   39                                                                                                                 Page   41

         entire        explanation                                                                                                          might have              received

                                 MR       WEINER                       And Im going                        to                                                 Well              have      to    say     there       are

         object        to    the        form          for the          reasons                stated                                        number of            different            categories             that    we     consider
         But     you can               answer                                                                                               new applicants                       mean new students                          And each
                        Thats            the        best        answer             can        give     you                                  category        looks          at    different            criteria

                        My         question is                   is   it   the     entire                                                                 Do you mean                    there        are    different

         answer                                                                                                                             categories           of students

                                 MR       WEINER                       Thats         his       entire                                                     Well         the      college          has     different

         answer              Okay              Lets         move on                                                                         categories           set   up         For instance                 there       might        be
10                           MR           FETNER                      Thats         not        what        he                         10    one     category           where          the     college         will       pick     students

11       had     said                                                                                                                 11    based     on    their         rewards             received          and       another

12                           MR           WEINER                       Its    the       best     answer                               12    category        might          pick        students          based           upon     the

13       he can        give you                is    what        he said                                                              13    students grades and                        essays           So     students          review

14                      Is       that    the        entire       answer                                                               14    these    categories                 and     they pick one                category
15                           MR           WEINER                      Do      you         have      anything                          15    which      would be most                     beneficial            to    them         in


16       else    to    add                                                                                                            16    getting       into         college
17                      No                                                                                                            17                  Are       the    swdents             who       apply       for

18                           MR          WEiNER                       Okay                                                            18    admission          in      December                are      they higher              quality

19                      So        is   that     the        entire          answer                                                     19    than    the    students             who apply               in   other        months
20                      Yes                                                                                                           20                  Yes          Generally
21                      What            factors         does          Dongguk                examine             in                   21                  How         does       Dongguk               know         that

22       determining                   whether             to    offer       admission                to    student                   22                  Because            some        students            apply before
23       applicants                                                                                                                   23    December             or    who       enter         school         before       December
24                      Are you                talking          about        the     December                                         24    doesnt        necessarily              have        to     take    SATs
25       applications                                                                                                                 25    Therefore            the      students            who       apply before              December


                                                                                                                                                                                              11            Pages                     3B          to     41
                                                                                                                Sanders        Gale         Russell

                                                                                                                         203    6244157
               Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 109 of 184

DONGGUK                    YALE         UNIVERSITY                                                                                                                                                                                  Augusl             2010



                                                                                                             Page   46                                                                                                                          Page    48

                           MS          KIM Higher scores                                                                                             What            claim does                 Dongguk               make      in       this

                           MR          WE1NER Could we                                  have      that                                 lawsuit       relating             to    job       fairs or other               recruiting

        corrected then                                                                                                                 events
                      It   just       means          the   students            who have                                                                    THE          INTERPRETER                               May         the


       higher       SAT           scores       have        rejected            the        admission                                    interpreter             ask      the     aft   orney          to    repeat       the

                           MR          FETNER                Lets         take             very                                     question please
       short      break         just    so     the    videographer                      can     change                                               What claim does                            Dongguk               make      in this

       the                                                                                                                             lawsuit                                           fairs or other
               tape                                                                                                                                  relating             to    job                                    recruiting

                           THE VIDEOGRAPHER                                             OtT     the   record                        events
 10     1219                                                                                                               10                        First        the      number of companies                               who
 11                        Recess          taken                                                                           11       participate                in the          recruiting            event        sponsored               by
 12                        THE VIDEOGRAPHER                                             On      the   record               12       Dongguk                University                 has decreased                     And         top    one
 13    122                                                                                                                 13       hundred               companies                 in    Korea well                  number of top
 14                   Mr        Jeon when you                     testified just                                           14       one hundred                   companies                   in   Korea          who        attend

 15    before the break                  about         the    numbers                of    students                        15       recruiting             event          have         decreased                 And therefore
 16    who                         Dongguks                offers        of admission                  were                16            lowers           the                                   of
                 rejected                                                                                                          it
                                                                                                                                                                  possibilities                      getting          good jobs
 17    you     referring           to students             who          applied           for                              17      for    students
 18    admission             in   December                                                                                 18                        Is    that      Dongguks                   entire         claim        relating
 19                 Yes                                                                                                    19      to            fairs         or    other                                events
                                                                                                                                         job                                        recruiting
20                  Does Dongguk                       claim        in this lawsuit                   that                 20                             MR         WEINER                        Just    so     its   clear
21     students         who        applied           for   admission                 in    months                          21      its    not             claim         its           reflection            of    reputation
22     other than           December                 rejectedDongguks                            offers      of            22      damages                      think          we explained                    that    in    our     damage
23     admission            in increased               numbers                                                             23      analysis
24                  Now           with     regards           to    students               who apply                        24                             MR         FETNER                     How            ever     its

25     in   other     months            this     procedure                that          just
                                                                                                                           25     characterized                         just        want        to   understand               what         it




                                                                                                             Page   47                                                                                                                          Page   49

      explained            to    you does            not apply                It   is     not                                     Is

      rcquired          by      the    government                                                                                                         MR         WEINER                     Okay
                   Apart           from whether                   that       particular                                                          Yes
      procedure            applies           Im       asking           generally                                                                  When               you say             that      the    number of
                        dont know                                                                                                 companies                    who      participate                 has decreased                   are    you
                   Does Dongguk                       have        any information                      about                      referring               to      particular                          or    years
                                                                                                                                                                                             year
      the    reasons         that      students            who         are    offered                                                            Well             the      job        fair     was        established           in

      admission            rejected          those         offers                                                                 2007          so    there          are       no     other        materials            to    compare
                   No                                                                                                             the     job    fair          with       regard          to    other          recruiting

10                 In      what       year      or    years does               Dongguk                                     10     events             The number of businesses                                      participating

11    claim      in this         lawsuit        that       increased               numbers            of                   11     in the        event           in   2007           and       2008 was lower than
12    students        rejected           its   offers        of    admission                                               12     2006          second            semester                    And        the    number of one
13                 2007                                                                                                    13     hundred            top Korean                     companies                  participating              in

14                 Only 2007                                                                                               14     this        event        has been             decreasing                 since        2007        to

15                 Yes                                                                                                     15     2009          when            compared                 to    the    number            in    2006
16                 Does Dongguk                       know         if    other       Korean                                16                    With           respect             to the         top one hundred
17    universities              saw     similar        trends           in the       number of                             17     companies                    what          event        are      you      referring          to         Is


18    December             applications               as     Dongguk               in     2007        and                  18     it    the    job        fair or       some           other         recruiting          event
19    2008                                                                                                                 19                    Job           fairs      and       recruiting             events

20                 No                                                                                                    20                      Other            than         the     job      fair       what
21                 Does          Dongguk              have        any information                     about              21       recruiting               events          does          Dongguk               hold
22    whether         other Korean                   universities              saw         similar                       22                      Id        like      to      explain           in detail          about        the

23    trends      with       respect         to the        number of                 students          who               23       recruiting               events              When            you say           recruiting

24    rejected        offers          of admission                in    2007                                             24       events         it       refers        to     companies                  coming         to    our
25                 No                                                                                                    25       school         and           promoting                  and        those companies


                                                                                                                                                                                          13              Pages                     46          to     49
                                                                                                      Sanders       Gale          Russell

                                                                                                              203    624        4157
              Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 110 of 184

DONGGUK                     YALE                 UNIVERSITY                                                                                                                                                                            August              2010



                                                                                                                  Page      54                                                                                                                      Page   56


        list     has       the     number of                   the    top      one    hundred                                                               If there          are       documents             that       would         help

        companies                that         participated               in    Dongguks               job                                 you answer then                           please        look       at   them
        fairs    or other               recruiting              events         increased             or                                                      dont            have       any documents                       relating       to

       dccrcased              since              2007                                                                                     that

                      Decreased                                                                                                                             When you                testified          earlier         about        the

                      How          about             from 2006                to    2007                                                  top one           hundred                companies            that       participated                in

                      Does             it   include            2007                                                                       Dongguks  events  were  you referring                                                to    the


                      My         question is                   did      that       number of            the                               number of top one hundred companies                                                      that


       top one          hundred                  companies               that       participate           in                              participated                     or the       ratio    of    the    top one              hundred

 10    Dongguks                  events            decrease             from        2006        to   2007                          10     companies               that        participated              to    the       total      number
 11                   Are                        talking       about         all    the    companies                               11     of participants
                                  you
 12    that     attended            these           event         or are        you        just talking
                                                                                                                                   12                        was           talking        about        the    ratio

 13    about        the      top       one         hundred            companies                                                    13                   Okay                      didnt       ask about            the       ratio

 14                   Im         talking            about         the    top one           hundred                                 14     Regardless                  of    that     ratio       did    the       total       number of
15     companies                                                                                                                   15     ton one           hundred                companies            that      participate              in

16                    It    increased                in up           until     2006         end of                                 16     Dongguks                job        fairs or other             recruiting                 events
17    2006          and then                it    decreased             in    2007                                                 17     increase           or decrease                  from 2006               to    2007
18                    Now          Id         like to       ask       the      same question                                       18                   Well                 have        to     look   at other             documents
19    about       all
                           companies                      Not        just     the     top one                                      19     in   order        to   give          you an answer
20    hundred              companies                                                                                               20                   Would                the same be true                     for       2007     to

21                    Probably                   increased            because          the      job       fair                     21     2008
22    was       established                  starting           from         2007                                                  22                   Yes
23                    And how                     about     since        2007                                                      23                   And 2009
24                    Well          it      increased             because             of   the       newly                         24                   Yes
25    established             job           fair                                                                                   25                   Does Dongguk                            keep    track          of    the    numbers

                                                                                                                 Page       55                                                                                                                      Page   57


                      Im      asking               has that           the      number of                                                  of   its    students              who      get      jobs through                  these    job
      total corporations                          that     participated               in    Dongguks                                      fairs      or other              recruiting           events
      events         increased                   from      2007         to   2008          and       from 2008                                          About               the    number how                     many        gct    jobs

      to     2009                                                                                                                         through           these events                  you     mean
                      Yes         the        ovcrall           number increased                                                                         Yes
      However               the     top one               hundred             companies               the                                               No                   lot   of    students        attend             these

      number of top one hundred                                        companies                decreased                                 events            Therefore                we cannot               determine               who

      Therefore              the        companies                    well       the    quality            of                              participates                in    these       events

      companies               that          attend         these        events        have        gone                                                  Does Dongguk                          keep      track          of    the    number
10    down                                                                                                                         10     of   students           who          participate             in the       job       fairs or

11                    How                                                                                                          11    other                                events
                                   many of               the     top     one        hundred                                                           recruiting

12    companies               participated                  in    Dongguks                 job       fairs     or                  12                   Well               general        ballpark

13    other      recruiting                 events         in    2007                                                              13                   Has           that     number increased                         or    decreased

14                                          well           told                about        the                                    14     since       2006        and        cach        year subsequent
                        just       --
                                                                     you
15    ratio     of companies                       that                                in    these                                 15                   Well                 dont       have      an    answer               to that
                                                            participated

16    events          One hundred                                 companies                compared              to                16     now           dont           have         any documents                      to    look at
                                                         top

17    the     other        companies                     However                    have        to   look                          17                   But       does             Dongguk            maintain documents

18                               documents                        order              know         what                             18    with                information
      through         my                                    in                 to                              that                                  that

19    ratio     is                                                                                                                 19                   Yes
20                    Mr      Jeon                 wasnt asking you about                                                          20                   Does Dongguk                            know     why corporations                           that

21    ratio           was simply asking                   how many of the                                 top
                                                                                                                                   21    did    not     participate                 in    its   job    fairs       chose           not    to

22    one     hundred             companies                    participated                in   2007                               22    participate
23                      do                  know                                                  can                              23                   Wcll                                                      told       the     school
                                 not                     the     numbers              but                                                                                  only one           company
24    tell
              you     after             look through                    my      documents               and                        24    the    reason                Its    called        NHN           Its            major
25    find      out                                                                                                                25    company                 It    could         be    compared               to     Google           in the




                                                                                                                                                                                                15       Pages                         54           to     57
                                                                                                          Sanders           Gale          Russell

                                                                                                                      203    624        4157
              Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 111 of 184

DONGGLIK                 YALE             UNIVERSITY                                                                                                                                                                                      August              2010



                                                                                                                 Page   58                                                                                                                             Page   60

       United           States            And        NHN         stated       that       the      company                                                    heard        that       NI-IN thought                      it   was
       was going              to    participate              in the         event         During                                     inappropriate                       to    attend       this       job    fair           due    to

       the    playing stages           However                          after       the     Jeong           Ah                       Jeong         Ah         Shins            crisis     being         repeatedly                  reported

       Shins       case        was known to the                         public       because                of                       by     the     media
       the    media          reported                with regard             to    the     Dongguk                                                      Is    there           anything           more you can                      tell       me
       Universitys                 hiring           of professors             NHN               notified                             about         that        phone            call

       tho    school          that       it   will    not       participate                                                                          No
                        Which            particular         job       fair are       you                                                             How did                   you      learn        that

       referring         to                                                                                                                          Mr Hae                    Duk Kim               told     me              And       it    was
 10                 It    was ajob                  fair                                                                       10    also     reported               in the          college           newspaper
 11                 My        question is                  when        was        that    job      fair                        11                            MR          FETNER                   Unless               you object
 12    to    be   held                                                                                                         12    this    seems             like             good     place          for             lunch       break
 13                 2007            September               job       fair        Initially                                    13                            MR  WEINER Thats                                      fine

 14    NHN        was going                   to participate                But      then         later                        14                            THE VIDEOORAPHER                                                 Off       the       record
 15    decided          not to                                                                                                 15    104
 16                 You           said    that NHN wrote   to Dongguk                                                          16                  Lunch Recess
17     saying      that       they        would no longer participate                                                          17                    THE VIDEOGRAPHER                                                         On    the       record
18                  Well            it   wasnt   letter It was                                                                 18    207
19     communicated                      to    the    school           And         that     was                                19                    Mr         Jeon             just       want        to    go back               and
20     reported          in the          college           in        college newspaper                                         20   clarify         one        point            in light         of         comment                 you           made
21    in     Korea                                                                                                             21   earlier             Is
                                                                                                                                                          Dongguk claiming                                  in this lawsuit

22                       THE INTERPRETER         May the                                                                       22   that     the        number of top one hundred                                            companies                 that

23    interpreter         ask Mr Jeon to clarify something                                                                     23   participated                    in    its   job     fairs        and     other

24    please                                                                                                                   24   recruiting                evcnts            decreased              or    is    it
                                                                                                                                                                                                                         only
25                       MR          FETNER                     Sure                                                           25   claiming                 that    the        ratio    of      thc    top one                hundred


                                                                                                             Page       59                                                                                                                             Page   61

                   Well            its
                                               newspaper               which         reports           on                           companies                  to    the        total    number of                     participating

      the    events          of    different           schools           different                                                  companies                  decreased

      colleges                                                                                                                                               MR          WEINER                   Or both
                   When            did        NI-IN        notify       Dongguk                 that   it   was                                     Or both                     Yes         Ijust       want            to     know

      not    going       to participate                    in the      September 2007                                               what       the       claim            is


      job fair                                                                                                                                      One thing Im                        certain         of        is    that    the

                        do    not        know         the    exact          date                                                    ratio     has decreased                            Im      guessing                 thc    number
                   Do you know approximately                                                                                        also     decreased                    becausc           of    the       decrease               in     the

                   Im certain was in September it                                          of                                       ratio          However                       need       to    look        into           my     documents

10    2007                                                                                                                     10   to    give      you         the       exact        answer
11                 It    was        in
                                          September                                                                            11                   Do you                have        those documents                           here
12                 Yes                                                                                                         12                   No          Not with                me
13                And         just        so    Im     clear          did    NI-IN         contact                             13                   Do you                have        any information                          today          about

14    Dongguk            in   writing                                                                                          14   whether             the     number of top one hundred                                           companies

15                No          It    was communicated by                                                                        15   participating                   in    Dongguks                   events             decreased

16    representative                or          person
                                                                                                                               16                   Yes
17                Aphonecall                                                                                                   17                   What            is    that       information

18                Yes                                                                                                          18                   Well                 have           list     of    the        companies

19                Who             received           that       phone        call                                              19   that    participated                      in these         events             and          also          have

20                HaeDukKim IIAE                                        DUK KIM                              Job             20     the     list   of onc             hundred top one hundred
21                                                                                                                           21                                that                                          these            events              And
      support team                 employee                                                                                                                                                            in
                                                                                                                                    companies                             participated

22                And who made                         that      phone            call    from         NI-IN                 22     the     list    was provided                       by      the     job    support team                         and

23                      dont know                                                                                                     have         to    go
                                                                                                                                                                back            to   my     hotel           and--             in order            to

24                And         as     completely                 as    you can            tell
                                                                                                  me                         24     look     for        it

25    what    was        said       in that          phone        call                                                       25                     Since           youre going                   to    be        testifying                 on


                                                                                                                                                                                            16              Pages                            58         to    61
                                                                                                       Sanders          Gale        Russell

                                                                                                                 203     6244157
              Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 112 of 184

DONGGUK                     YALE                     UNIVERSITY                                                                                                                                                                                August            2010


                                                                                                                           Page   62                                                                                                                      Page   64


           Wednesday                       please           expect             me     to    ask     the     same                                 chances         for    Dongguk                    graduates               to     secure        good

           question on                Wednesday                           And         please         also    bring                              jobs
           those     lists       to        the        deposition                on    Wednesday                                                                Im      not asking                  about         the       significance

                          Okay                                                                                                                   of   the     number of                 top       one     hundred               companies               that

                          Did         the         percentage                   of    Dongguk              students                               participate                Im      asking           about           the     significance

       who          obtained                   jobs decrease                     from        2006      to    2007                               of    the     ratio    of top one                  hundred             companies                to

                          As         far as                know          slightly                                                               total       number of companies                                that     participate

                          What was                     that        percentage                in    2006 And                                                    Well          dont            they       mean          the       same           Number
       what was                 it    in        2007                                                                                            of companies                     that    participate                 and        then     the    number
 10                        will             give                   that        answer         on                                         10     of companies                     that                     to                          hundred
                                                       you                                                                                                                                  belong              top one
 11    Wednesday                      as        well                                                                                     11     companies              and         the       decrease            in the           ratio        Ill


 12                      Do          you have                 documents                 that       contain        that                   12     say     the    reduction                in    ratio       means             the       same      thing
 13    information                                                                                                                       13     as    the     reduction             in the         number of one hundred
 14                        would have                         to    contact            the     school        in                          14     companies
 15    Korea                                                                                                                             15                    \Vell         if    the       number of                the       top    one
 16                      Do you                  have         information                  about       those                             16     hundred          companies                    that      participate               in the       job
 17    percentages                    for         2008        and         2009                                                           17     fairs stays           the        same          but       the    number of                 other

18                       Well  dont have them with me so --                                                                              18     companies              that        participate                 increases               wouldnt
19                       Does Dongguk have any information about                                                                         19     the    ratio     decrease
20     the     reasons               that            any companies                     other        than     NHN                         20                   Yes
21     chose         not       to participate                       in     its   job       fairs or                                      21                    Why          is    that       bad
22     other        recruiting                    events                                                                                 22                   Well                would           have         to    look        at the

23                         MR                  WEINER                     You         mean          direct                               23     numbers          and then                    will then                 can        answer          that

24     communication                                                                                                                     24     question
25                       Well             the        question              for      now       is
                                                                                                   any                                   25                   Im       not asking                 about         particular


                                                                                                                       Page       63                                                                                                                     Page    65

      information                    at        all                                                                                              numbers
                         No           Just           NHN                                                                                                         do    not have                any information                         in front

                         Did         NI-TN            participate                in   any of         Dongguks                                   of    me    which           can     tell       me how many                        one      hundred

      job      fairs      or any other                        recruiting              events         after                                      companies              how          many of               the       top one           hundred

      2007                                                                                                                                      companies             participated                   and       --    so         would have               to

                         No                                                                                                                     look    at that        information

                         Does Dongguk                              invite        companies                other                                               Apart from                    the    number of companies                                 that

      than         the    top one                    hundred         companies                     to participate                               participated            in       any        particular              year Im             trying

      in     its
                   job fairs                                                                                                                    to    understand             the        significance                  of    the       ratios      at


10                       Ycs                                                                                                             10     all         answered              that        way because                        thought          the

11                       Flow         many companies                                does      Dongguk             invite                 11     number of reduction causes                                      the    reduction               in

12    to    participate                   in     each         of    its    job fairs                                                   12       ratio       So        would have                    to    look        at    accurate

13                        do         not         know         the       exact         number                                           13       numbers          in    order           to    answer            your question
14                       Approximately                             how         many                                                    14                     And those numbers                                are    on        the    list    that

15                       Between                     200    to     300                                                                 15       you have         in    your         hotel          room
16                       What             is    the     significance                   of    the     ratio                             16                     Yes
17    that     you        mentioned                        earlier                                                                     17                     Well          revisit          that       on     Wednesday
18                       Well             it    is    an    indication                of    the     number                             18                     Yes
19    of top one hundred                                companies                    participating               in                    19                     What          claim does                  Dongguk                 make          in this

20    either        job    fairs               or     recruiting               events         in                                       20       lawsuit       relating            to     government                   grants
21    comparison                     to        all    other        companies                   And         the                         21                     First the            government                    grant          Dongguk
22    decrease             in    percentage
                                                                   of     the       percentage              means                      22      University             has received                   had        decreased                  When
23    that     less      and          less           companies                 that     are        included be                         23      compared           to the           entire          government                     grant
24    one      hundred                top companies                            attend        our events               It               24                     Can you              explain           that              dont

25    is   also      significant                      because             it   decreases             the                               25      understand


                                                                                                                                                                                                     17             Pages                      62         to     65
                                                                                                                 Sanders          Gale          Russell

                                                                                                                           203     624        4157
              Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 113 of 184

DONGGUK                       YALE                 UNIVERSITY                                                                                                                                                                                 August              2010



                                                                                                                              Page    70                                                                                                                   Page   72

                        Yes              Thats              correct              But        Dongguk                                                  of Education                  receive

       Universitys                      Buddhism research                                  teams were                                                                   would                      about        60    universities            and
                                                                                                                                                                                         say
       established                  in        1962           And           has produced                     many                                    there        were        about            80    subjects          for    research

       research               materials                     And        sponsored                  academic                                                         Did        the        government                  announce          in    advance

       conferences                                                                                                                                  that    it   was         definitely              going       to    fund          research

                              THE INTERPRETER                                               May              nterpreter                             project        relating              to    Buddhism
       ask        Mr     Jeon            to clariQi                please                                                                                          Well            the        government               did      not   limit        it




                        And             the         Korea        Research                  Foundation                   lists                       to    the    Buddhism                     study of           Buddhism

            journal           produced                    by    Dongguk                    University              research                                        That           wasnt my question                             Couldnt            the

 10    team        as         famous                 journal               and        it   is    actually                                    10     government                 have           chosen         not      to    fund      either

 11    recorded                As                  famous         journal                  So     it   is
                                                                                                             very                            11     Dongguks                 project           or    Keum Kang                  Universitys
 12    unusual           that           Keum Kang                      University                   was picked                  to           12     project
 13    do    this       project                 because            when           you           compare Dongguk                              13                    Yes         thats           correct           However               the

 14    University                  and         Keum Kang                     Universitys                                                     14     research           project            about the study of                     Buddhism was
 15    achievements                           it    was very unusual                                                                         15     selected

 16                     Who             awarded                 the                   that        youre                                      16                    What was                   the    subject          of    Keum Kang
                                                                       grant

 17    referring             to     that            is    the    Flumanities                     Korea grant                                 17     Universitys               research               proposal
18                      Educational                        department                                                                        18                        dont            know                                                        does
                                                                                                                                                                                                      Dongguk               University
19                      The Ministry of Education                                                                                            19     not     know
20                      Yes             Ministry of Education                                          And    it    is                       20                   Does Dongguk                         University               have       any
21     managed                by Korea                    Research               Foundation                                                  21     information               about            Keum Kang                   Universitys
22                      Is    the        Korea             Research               Foundation                  part                           22     proposal
23     of   the    Ministry of                       Education                                                                               23                   Well             if     look        for    it        believe             may
24                      Its             public            agency                                                                             24     be    able     to       find        about       the     subject
25                  But            is    it
                                                part       of    the       Ministry of                                                       25                   As with               the        other    areas          we   discussed


                                                                                                                              Page    71                                                                                                                   Page   73


      Education                or       is     it
                                                     independent                  of       the     Ministry of                                      earlier       Mr          Jeon please review                            whatever

      Education                                                                                                                                     information               you have                on    that      subject         so     that

                    Well                its         not         part       of    government                                                         can     ask you           about           that     on    Wednesday                     What was
      However                 that           organization                   is    affiliated                with        the                         the    subject           of    Dongguks                 research            proposal

      government                                                                                                                                    relating       to       Buddhism
                    Why             did            the     Ministry of Education                               award                                              Comparison                       studies       of    Buddhism               in     Pan

      the    Humanities                        Korea            grants           to   Keum Kang                                                     Asia         Asian         countries

      University                                                                                                                                                  What            faculty           member             or    members
                         dont            know                But       however when                           you                                   submitted           that           proposal            forDongguk
10    compare            these               two         univcrsities                  Dongguk                                               10                   Shs                   professor            Mun Sung Kang
11    University               was more capable                                  of doing              this    type of                       11     MUN SUNG KANG
12    research                So with regard                          to    the       tact        Keum Kang                                  12                   What            is    she          professor             of
13    University               being                selected           to   do        this       project           is                        13                   Buddhism
14    mystery           to     Dongguk                      University                 too                                                   14                   What            is    the    name of               her    department
15                  How                                  universities                 applied           for these                            15                   Study            of    Buddhism
                                    many
16    grants                                                                                                                                 16                   Is    she        the    only        Dongguk                faculty        member
17                       believe                   two                                                                                       17     who was responsible                              for that         application
18                  So        there             was             particular                 grant       that                                  18                   No
19    was     limited              to    the         study of              Buddhism                                                          19                   Who else
20                  Well                the                                      received                                                    20                        do not           remember any names                              It   was
                                                    government
21    applications                  from             various           universities                    with                                21       research           team        comprised                of about            20    people

22    regard       to        tho    study of humanities                                         However                                    22                     What            professor            or professors                 were

23    the    --   for        the    study of                 Buddhism                      the     grant       was                         23       responsible              for        Keum Kang                    Universitys

24    given       to the           Keum Kang                          University                                                           24       application
25                  Flow            many                 applications                 did        the    Ministry                           25                          do    not have               any information                   on     that




                                                                                                                                                                                                           19          Pages                   70          to     73
                                                                                                                    Sanders           Gale          Russell

                                                                                                                                203    624        4157
               Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 114 of 184

DONGGUK                 YALE             UNIVERSITY                                                                                                                                                                                 August                2010


                                                                                                                  Page   74                                                                                                                        Page   76

                      Did      the       Ministry of Education                              provide                                     whether           Dongguk                 has any information                          to       suggest

       Dongguk           with            any information                        about       the        reason     it                    that    the      government                    relied       on       any improper
       denied         Dongguks                  application                                                                             criteria       in   denying               Dongguks                   grant       applications

                      No          Because              research            teams         are                                            in   2007
       selected based                    on    the     teams proposed                        plans and                                                     MR             WEINER                   He        said       he has no

       the     teams         capabilities                    If the        government                   rely                            information

       on     any other           criteria             then     it    is
                                                                            wrong           it    is                                                       MR             FETNER                    just       want       to       be

       prohibited                                                                                                                      clear       that     he       was answering                      to    my        question

                      Okay               My     question             was         did   the                                                                 MR             WEINER                   Hes         correct

 10    government                 tell    Dongguk               why         it   rejected              Dongguks                 10     Theres          no      information
 11    proposal                                                                                                                 11                         THE            iNTERPRETER                               Could                  repeat
                                                                                                                                                                                                                                   you
 12                     said        no        and      then                                                                     12     the     last
                                                                     gave         you an                                                               question
 13    explanation             as    to       why                                                                               13                    Does Dongguk                           have                  information               to
                                                                                                                                                                                                        any
 14                   Does Dongguk                       have        any reason                  to     believe                 14     suggest         that      the        Korean           government                  relied          on any
 15    that    the    government                      relied    on         any improper                                         15     improper             criteria             in   denying            Dongguks                  grant
16     criteria       in rejecting               its
                                                        application                                                             16     applications                  in    2007
17                    Yes                                                                                                       17                    No
18                    Tell    me         all    information                 that       Dongguk                                  18                    Mr         Jeon you               testified            earlier        that

19     has about         that                                                                                                   19     the     ratio      of    grant           funding        that          Dongguk               received

20                   The      selection               process          began           on     about                             20     to    the    total      avail able              amount of               grant        funding
21    October          or    November                   of    2007              And      this      is    the                    21     decreased            beginning                  in    2007
22    time      when         Dongguk                  University                was being               criticized              22                    Yes
23    because          of Jeong               Ah Shin               Shin Jeong              Ah-Gate                             23                    Were           you         referring          to    the       total     amount
24                      And         at this           time     whon             Dongguk                                         24     of    grants       that        the       Korean         government                     awards         each
25    University             made          an    application                to    do     other          type                    25     year

                                                                                                               Page      75                                                                                                                       Page    77

      of studies            research             projects             the        government                                                           Yes
      actually        asked         for the            rescarch            team        members                 who                                    How much money in                                  grants         did    the       Korean

      were going             to     be involved                 in    those projects                      And                                             award in 2007
                                                                                                                                       government
      also     the    education                backgrounds                   of    the      people         who                                           would have                    to    look        for    documents                and

      were going to be heading those projects                                                                                          then         will       let
                                                                                                                                                                      you        know
             What projects  are you referring to                                                                                                      Do       you         have        documcnts               that      contain           that


                       THE INTERPRETER                                           Could           the                                   information

      interpreter           reask        that         question please                                                                                 Yes
                       MR           FETNER                     Sure                                                                                   Other          than        to    the    grants           youve already
10                   One      subject            is    identity            of    Pan Asian                                      10     described            for      which            Dongguk                applied          in   2007           are

11    culture         which was presented                             by Jong             Yun           Hwang                   11     there               other           particular          grants           for      which
                                                                                                                                                   any
12    JONO YUN                            HWANGaprofessor                                                                       12     Dongguk             applied and                  it   did    not        receive         that      are

13                     want         to   be sure          that             understand                                           13     part    of   its    claims               in this      lawsuit

14    your testimony                     Mr      Jeon                asked        you       if    Dongguk                       14                    There           are       two     mentioned                  in this lawsuit

15    had                            to       believe         that     the                                                      15     and     then      there            are    others
              any reason                                                          government
16    relied     on                                     criteria           in rejecting                                         16                    What           are        the    others
                       any improper
17                                                       for                           2007                                   17                      For instance                     Dongguk               University
      Dongguks               applications                       grants            in


                                                                                                                                18                                                                                  biowave
18                   Well           dont         have         any information                                                          applied        for            grant        with regard                 to                        energy

19    about     that                                                                                                          19       project        which           was headed                   by         professor             whose
20                   Did       misunderstand
                                                                your testimony
                                                                                                                              20       name isJungKeukPark.JUNG                                                         KEUK
21                   Which          testimony                  The question -- was                                            21                            That           was        also    rejected
22    your question asking                          about       if         knew        any        other                       22                      When
23                             other           criteria        that        the                                                23                      Around September or October                                             of   2007
      reasons         any                                                         government
24    used     for selecting                  schools          to    give        grants          to                           24                      Does Dongguk claim that that                                          grant

25                   Well         the     immediate                  question            was                                  25       application             was         rejected           because              of   the    Shin



                                                                                                                                                                                             20          Pages                          74         to     77
                                                                                                         Sanders         Gale          Russell

                                                                                                                  203     624        4157
             Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 115 of 184

D0NGGUK                     YALE       UNiVERSITY                                                                                                                                                                                    August                 2010



                                                                                                                 Page   82                                                                                                                           Page   84


        before                                                                                                                                         Mr          Jeon my question was about                                        the

                       Yes                                                                                                              first
                                                                                                                                                 grant        proposal               listed       on    the    second            page           of

                       When          did     you see            this   document                                                         this     document                     The May 25th                    2007         application
                       On or about May or June of 2009                                                                                                      THE INTERPRETER                                         Was        the    question

                       Do you know when this document                                                was                                why was             it     rejected          or    was wasnt                 it   rejected
       created                                                                                                                                         Well my                 first      question            for               is    why
                                                                                                                                                                                                                     you
                            would say probably                        at the        same time                                          does       Dongguk                  believe         that       proposal             was rejected
                       Who          created        it                                                                                                    have            to   guess        that       when       compared                  to


                       Manager             of     RD        team her name                            is    Yoo                         other      --


 10    Jin                                                                                                                     10                           MR            WEINER                  Dont         guess
 11                         THE INTERPRETER                                      have           to                             11                      Idonotknow
 12    correct         it     its    Jin     Yoo        JI                                                                     12                      Dongguk                 has no           information                about       the

 13    Last       name              00                                                                                         13      reasom           that        that      proposal            was rejected
 14                    Why was              this    document created                                                           14                        MR               WEINER                  Before         you answer
 15                 Her        --    the    preparation                of--      as                                            15      hes       not    here         to talk         about        ones        that were not
 16    preparation             for this           litigation                                                                   16      claiming
 17                 Mr         icon         the    table        on    the     second            page                           17                        dont            know
 18    of   the   document                 lists    six grant          proposals                     Do                        18                      Okay               How        about        the       second
 19    you    see      that                                                                                                    19                                    The one dated                                   1st       2007
                                                                                                                                      application                                                      July
 20                 Yes                                                                                                        20      What information                            does        Dongguk           have          about        the

 21                 Does Dongguk                      claim          that     all     of those                                 21     reasons          that          was rejected
                                                                                                                                                                    proposal
22     proposals            were      rejected          because             of   the    Shin                                   22                      This was headed  by Jung Keuk                                            Park            And
23     incident                                                                                                                23     he didnt           get             grant       for this subject                     in   2007
24                  Not       all                                                                                              24     However                he got           the                 for the        same                             in
                                                                                                                                                                                      grant                                     subject
25                  Which            ones       does       it   claim       were        rejected
                                                                                                                               25     2009

                                                                                                                Page    83                                                                                                                       Page       85


       because         of     the    Shin incident                                                                                                     The         grant       that       he    received            in     2009       was
                    The       five     except          for the         first     one                                                  for the      same proposal                          that    was       rejected            in   2007
                    All       except         for the       first       one                                                                             Yes
                    Yes                                                                                                                                How much money                      did Dongguk  receive                                      in



                    Why         does        Dongguk              believe         the    first                                         connection                 with         this   2009 grant

      proposal          was rejected                                                                                                                     MS KIM                       Around five million
                        THE INTERPRETER                                     Could          the                                                         Around              five      million           U.S      dollars

      interpreter            ask     the     attorney           to    repeat        that                                                               What          information                 does       Dongguk              have           to

      question please                                                                                                                 believe          that        the     July           1st 2007            application              was
10                  Why        does         Dongguk             believe          the    first                                  10     rejected          because               of    the    Shin        incident

11    proposal was rejected                                                                                                    11                      Because                he    was        able    to    receive funding

12                      THE          INTERPRETER                            What        was               the                  12     for the      same             subject          in    2009          And         that       proves
13    question         before              Because          the        question doesnt                                         13    this       research            subject          was worthy                 of        getting      the

14    seem    to    make            sense          With         regard         to the      --                                  14    research           grant              So       questionable why
                                                                                                                                                                                   its                                           this

15                  The previous question                               had         asked            him                       15    proposal did                   not       receive grant in 2007

16    which       of    the                  proposals               listed    on      this      page                          16    Therefore                it
                                                                                                                                                                    only       leads       to     one       conclusion                that
                               grant

17    does    Dongguk                believe        were         rejected           because                of   the            17     it   was due           to     Shin Jeong                  Ah-Gate
18    Shin incident                                                                                                            18                      Does Dongguk                        have        any     other           reasons          for

19                     dont         know                                                                                       19    believing           that

20                  Why        does        Dongguk              believe          that      it    was                           20                  No
21    not   because           of     the    Shin      incident                                                                 21                  Turning                 to the         third       application               listed

22                  Because            of    the    reasons            that         stated                                     22    in this      table            the     first      one       thats       dated          August
23    before            stated        that      with regard              to the                                                23    24th        2007              What            information              does          Dongguk               have

24    Buddhism studies Dongguk                                   University              is      the                           24    for    believing               that       application              was      rejected

25    leadina rcsearch                 institute                                                                               25    bccause           of     the        Shin        indent


                                                                                                                                                                                           22            Pages                       82              to     85
                                                                                                          Sanders       Gale          Russell

                                                                                                                 203     624        4157
             Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 116 of 184

DONGGUK                      YALE          UNIVERSITY                                                                                                                                                                                   August             2010



                                                                                                                    Page     86                                                                                                                     Page    88


                        This         is   also     related          to   Buddhism                                                          grant        funding             that     is    not used           to    conduct

       said    previously                  that    Keum Kang                       University                had                           research

       received              ftinding           for the       same         subject             and           also                                         It    becomes                    part      of school            budget             so

       said    when you compare                               the     Dongguk                  University             with                 school        uses         it


       Keum Kang                     University               Keum Kang                       University             was                                  What does                  the        school        use    it    for
       much more capable                           of--                                 University                was                                    Well                   varies           Wherever                the    school
                                                                Dongguk                                                                                                    it




       much more capable                           of conducting                        this                                               sees       the need
                                                                                                 study
                        Are        there        any     other       reasons              that                                                             Does            the      government                 impose            any

       Dongguk                has     for       believing           that      the        first     August                                  requirements                    for     how         the    funding            associated               with

 10    24th        2007            application           was        rejected                 because          of                    10     each       grant          is   spent
 11   the     Shin incident                                                                                                         11                    Are         you         talking        about        the    20 percent               or

 12                     No                                                                                                          12     the     80    percent
 13                     Was         this     grant proposal ever funded                                      at                     13                    Im just               asking          generally           if    the

 14         later    date                                                                                                           14     government                     imposes          any such               requirements
 15                     No                                                                                                          15                    Yes
 16                     In    order        to    carry        out     this     grant             had                                16                    What             are     those requirements
17    it    been     successful                  what         expenses              would            Dongguk                        17                    Paying                for the        research           team           And
18    have      had          to    incur                                                                                            18     purchasing                research             equipment                 Transportation
19                      First       research            team        has       to    be       set   up                               19     money          for the            transportation                  to    and        from academic

20    And then               the     team and then                    the      team           has       to   come                   20     conferences                     Papers and                other        stationeries              that

21
      up
             with            research            plan application                            And money                              21     are     needed            for the        study             Those         are       what

22    for    meals            and     also       for     overtime             work             working                              22     remember
23    night        shift           And       application              documents                    have        to                   23                   Does             the     government                 impose             any
24    be compiled                   into         book         in    order          to    be presented                               24     limitations               on    how        the       20    percent            of    the    funding
25    Those         things                                                                                                          25     thats        not used             to    conduct            research            may be spent
                                                                                                              ___________

                                                                                                                    Page     87                                                                                                                     Page   89


                     What would Dongguk                                  have           had        to   do    after                                      No
      receiving              the     grant       in     order       to   comply                with      its                                             So         the     university               can     spend        it    how ever
      terms                                                                                                                                it   wants
                     After recciving                          grant           20 percent                of                                               Yes
      the    grant           is   actually        paid        to the       university so                                                                 Doesnt have                      to    be    related        to        the

      the    20 percent                   becomes         the       school              property                                           research            at    all

      School         assets               And     then        the     rest     is       used       to                                                    Thats             correct

      conduct           studies              And        then       the    rest          which           is   80                                          Lets             turn     to the       next        application

                                                                    for the         research             team                              listed       in the        second                         of Exhibit                      This    is
      percent           is
                                  spent on        paying                                                                                                                                 page

10    members                and      also      purchasing               research                equipment                        10      the     second            application                 dated       August             24th         2007
11    et    cetera            If the       research           term       is    more than one                                      11       Was        that     proposal ever                    ftmded

12             then           the     school          has     to    submit                   research                             12                     Well             prior      to    this      time yes but                     not
      year
13                 to    the        government                                                                                    13      after       this     date
      report

14                   Was           the     research           tent       of    this                                               14                     You          mean          similar           research            was funded
                                                                                             grant

15    proposal        more than one year                                                                                          15      earlier

16                  Ten year                                                                                                      16                            few        years          prior      to this       time yes
17                   Would            the       school        have        had           to    submit                              17                     And          Im         asking         if this particular

18                 to the          government                 each       year                                                     18       proposal            was funded                  at   any time on                   or after
      report

19                  Yes                                                                                                           19      August          24th            2007
20                   What does                  such          report          consist              of                             20                     No
21                                    who         are    involved              in the            research                         21                     What             information                 does        Dongguk              have        for
                     People
22    and     what       was researched                       for that                                                            22                            that       this     proposal               was     rejected           because
                                                                                   particular            year                             believing
23    And      how                                 was spent               for that                                               23      of    the     Shin         incident
                             the    money                                                        particular

24    year
                                                                                                                                  24                     Im          basing         it
                                                                                                                                                                                          upon        the    fact        that    the

25                  What            happened             to     the      20    percent              of   the                      25       professor            Jong            Yun Hwang was                       able       to    receive




                                                                                                                                                                                                23           Pages                      86          to     89
                                                                                                             Sanders         Gale          Russell

                                                                                                                     203      624        4157
              Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 117 of 184

DONGGUK                     YALE          UNIVERSITY                                                                                                                                                                              August             2010



                                                                                                               Page      90                                                                                                                   Page   92

       smaller            amount of              grant        prior      to      this     time and                                      opinions and                 interviews

       he     was         able    to     complete             the      research                                                                           There             are          few      universities              who
                                                                                                                                                   which         have            North          Korea        related         studies
       successftilly                                                                                                                    have
                            And          the    money            was     granted           from         the                             however               Dongguk               University               is   leading         university

       same agency And Mr Hwang was going                                                              to   study                       in that     subject
       the same subject in-depth and he thought                                                       since                                             Does Dongguk                        have                  other     reasons          for
                                                                                                                                                                                                       any
       he     received               grant       prior        to that         time he was                                              believing              that    this        grant         proposal           was      rejected

       going         to get             grant                                                                                           because          of     the        Shin         incident

                      Does Dongguk                          have       any       other     reasons            for                                    No
 10    believing            that       this     proposal              was      rejected             because                     10                      What         university                 was awarded                this    grant
 11    of     the    Shin incident                                                                                              11                   Well your question                               actually            does    not

 12                   No                                                                                                        12     apply       to    --      cannot             say which               college         received
 13                   Would              the    same expenses                     that     you                                  13     funding           for this subject                       because           with regard           to

 14    described             for the           other August               24th          2007                                    14     this                                 the                   would have                been
                                                                                                      grant                                    application                              grant                                          given
 15    have         applied         to    this grant             as   well                                                      15     to the      research                team and not                  for the          subject
 16                   Yes                                                                                                       16                        MS          KIM                Research           center
 17                   And         the     same         division          between               80                               17                       would             like     to     correct          its

 18    percent            used     to     fund        research          and       20 percent                used                18     research          institute

19     for other           purposes                                                                                             19                   What research                        institute          received            the

20                    Yes                                                                                                       20                that        Dongguk                                 for     on October               26th
                                                                                                                                       grant                                        applied
21                    And         the     same requirement                        for     an        annual                      21     2007
22    report         to    the    government                                                                                    22                       dont         know
23                    Yes                                                                                                       23                   Does Dongguk                          have                   information           about
                                                                                                                                                                                                       any
24                    How many                  years         would         this grant              have                        24     the     research          proposal                that     succeeded               over
25    covered                                                                                                                   25     Dongguks                October              26th 2007 application

                                                                                                              Page       91                                                                                                                   Page   93


                     Ten years                                                                                                                       No
                     Okay              Lets      turn       to    the    next grant                                                                  Would             the       same expenses                     and

      On      the    second             page     of Exhibit                      which         is     the                              administrative                  requirements                    that       you described
      first    one        dated        August          --    excuse           me       October                                         earlier      have        applied             to this        grant          if
                                                                                                                                                                                                                       Dongguk
      26th      2007             Was       this       particular            grant         proposal                                     had     received              it

      ever      funded                                                                                                                               Yes
                     You mean                  prior     to      this    time       or    --                                                         How many                     years         would         this     grant      have

                     No             mean         at    any time             after      this                                            covered

      application                was rejected                 was       this particular                                                                  dont         remember
10                        funded                                                                                                10                   What information                            does       Dongguk              have        for
      proposal
11                        dont have              any information                       about                                    11     believing          that       the         last
                                                                                                                                                                                         grant        application            listed

12    that                                                                                                                      12     on    page             also     dated            October         26th 2007                 was
13                   Does Dongguk                       believe          that      this                                         13     rejected          because             of    the      Shin incident

14    particular                         was     rejected             because             of   the     Shin                     14                       dont         have         detailed           information                with
                            grant

15    incident                                                                                                                15       regard       to    this       study
16                   Yes                                                                                                      16                     Well            let    me      back         up       second             Does
17                   What         information                 does       Dongguk                have        for               17       Dongguk            believe            that        that     application              was
18    that    belief                                                                                                          18       rejected          because             of    the      Shin incident

19                         THE INTERPRETER         May                                     the                                19                    Yes
20    interpreter           ask Mr Jeon to clarifl                                                                            20                     Why
21              Dongguk University is                                    the      first                                       21                    Because                 of    the     timing            During          this

22    university   in Korea to establish                                       North           Korean                         22       time     Dongguk                University                was being                criticized

23                                  And therefore                      when        there         is    an                     23      because            of    the     Shin Jeong                Ah-Gate                  And during
      study course
24    issue     with regard                to    North           Korea           the      Dongguk                             24      this     time      Dongguk                  University             was being
25    University             professors               are     called        to    give         their                          25      scrutinized              and         the     government                 was      veriing           the



                                                                                                                                                                                            24          Pages                      90         to     93
                                                                                                        Sanders          Gale          Russell

                                                                                                                   203    624        4157
               Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 118 of 184

DONGGUK                       YALE          UN1YERS1TY                                                                                                                                                                                          August            2010



                                                                                                                          Page   98                                                                                                                       Page   100


       grant         proposals were                     rejected                because            of     the        Shin                      registered               for     its   brand         name And                      its     notified

       incident                                                                                                                                to    the     public

                                                                                                                                                                  Who                            members
                                         may be other may be
                         There                                                                  other        ones                                                            are      the                          of       the     top

       However                  its difficult               to      list   all     of them                                                     management                      team         that    decided             which           logo         to   use
       because               theyre smaller                                                                                                          The                    president             of   the       school           YoungKyo
                         Are        there      any      that         you could                  identifS                                       Oh          The vice             president              of   the     school             Jin      Soo
                         No                                                                                                                    Han          JIN             SOO              HAN
                         What         efforts         has          Dongguk                 made         to                                                     Anybody else
       mitigate              the    damages              that        it    seeks           to   recover             in                                         No           These           two     people             have       the

 10    this       lawsuit                                                                                                               10     authority            to      make        decisions                with       record         to the

 11                      Dongguk               University                  has changed                    its       UI                  11     logos
 12    its
              university              identity                                                                                          12                     When            did     Dongguk               first       consider
 13                      What does              university                    identity           refer         to                       13     changing             its     UI
 14                     University              logos               After Shin Jeong                                                    14                    Probably                in     September                 or    October             of
15     Ah-Gate            Dongguk    University                                  has changed                    its   logo              15     2007
16                      Does university  identity                                 include                                               16                    Doyouknow
17     anything              else                                                                                                       17                         have         some documents                           reference

18                      University              had         put an ad                 in   the     paper                                18     materials            at      my       hotel
19     that       the    university image                           of     the        university               has                      19                    Other            than changing                     the    UI        what          else

20     changed               and     its     refreshed                   and
                                                                    had and the  it                                                     20     has    Dongguk                  done         to    mitigate          the       damages                that   it



21     school        just          had   let    the      public know that the                                                           21     claims        in this           lawsuit

22     school           had        changed            its     identity                                                                  22                    Donggtik                University                 made promotional
23                      When          did     Dongguk do that                                                                           23     brochures               or    PR       brochures              and       sent       them          to

24                      Decision             was made in 2007                                   September                               24     different           companies                 in    Korea               And        also       produced
25    and      the      school           decided              to    change             its      UI                                      25          promotional                 individual              yes        sir        And         put    it
                                                                                                                                                                                                                                                       up


                                                                                                                         Page    99                                                                                                                       Page   101


      However                 it    was confirmed                        in     2008                                                           on    the     Internet            so    it
                                                                                                                                                                                             was        public          can       come and
                        When          you say            it    was confirmed                         in    2008                                access        it    on     the      Internet

      what        does        that       mean                                                                                                                      MS KIM                        Schools           website

                             number of                differont               logos were                                                                      Schools                 website            And           that    video          was

      presented               between           2007           and         2008            because             the                             used        at different               high schools                 for      high school

      decision           to     change          UI was made                           in   2007            However                             students           and       their      teachers             to    view        when              during

      the     logo       was        selected            in     2008                                                                           recruiting            events            or     its       an admission

                        Approximately                       when           in    2008           was       it                                   recruiting           event

      selected                                                                                                                                                     And the school                       has       hired           PR       firm

10                       dont         remember                     the     exact           date                                       10      to    plan           future        promotion                  to    promote              our school

11    However                      believe       it    was          in the        beginning                    of                     11       And one of                the     main reasons                     for     hiring             PR       firm

12    2008                                                                                                                            12      was      to    let    the       public         know           that       Dongguk
13                      Who made                the      decision                to    change                                         13      University                had      not done              anything          wrong with
14    Dongguks                 UT                                                                                                     14       regard        to    Shin Jeong                    Ah-Gate               And in 2010
15           The                   president           of     the        school                                                       15      Dongguk              University                    started         to advertise              in

16                      Other        than the           new logo and                         the                                      16      different            subways              in       order      to    raise       its    brand

17                             advertisements                         what            else      does         the                      17      name value
      newspaper
18    change            of    Ui     consist          of                                                                              18                     When              did     Dongguk               hire       the       PR firm
19                      Selecting            an independent                           professional
                                                                                                                                      19                     In     2009
20    agency            to    come up with                       different             ideas            And                           20                      What month
21    collecting              opinions          from alumnis                           professors                   and               21                          do     not     remember
22    employees                    with regard                to         logo                                                         22                     Do you remember what                                       part      of    the      year
23                        And         then      the                                                  team                             23                     As        far as           can        remember                   prnhahly
                                                                                                                                                                                                                                                     in
                                                           management
                                                         top
24    of    the    school           decides           on which logo to use                                      And                   24      the    fall     of    2009
25    if the      logo        is    selected            then         it    has        to   be                                         25                     When              did     Dongguk               produce              the




                                                                                                                                                                                                 26          Pages                         98             to     101

                                                                                                                Sanders          Gale          Russell

                                                                                                                          203     624        4157
             Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 119 of 184

DONGGUK                   YALE                UNIVERSITY                                                                                                                                                                             August          2010



                                                                                                                  Page     102                                                                                                            Page      104

       promotional                   videos              that     you mentioned                                                                        Yes
                          believe              it    was        in 2009                                                                                Did        President                Oh    assign           the    PR
                     When                in    2009                                                                                     department                to     begin        the    process              of changing            the

                          do     not          remember                                                                                  UI
                     Approximately                                                                                                                     Yes
                     The beginning of 2009                                                                                                             What were                    his    instructions

                     When                did Dongguk  create                             the    PR                                                     Well              do     not        know         The         president

       brochures               that       you mentioned                                                                                 would know                 better

                     2007             2008           and        2009                                                                                   What             did    the    PR        department                do How              did

 10                  How many                        different              brochures            did                               10   it
                                                                                                                                              begin     the       process            --


 11    Dongguk create                                                                                                              11                       MR           WEINER                  Of-
 12           As far as                             can        remember                  one    or   two                           12                  Of looking                   into    changing               the     UI
 13    Theyre            produced                   by our           PR     department               and      sent                 13                  The PR             office           submits                plan     for    the

 14    out   to    various               companies                                                                                 14   change         to    the        president           of   the     school                And      then

 15                  When             did          Dongguk                send     the     brochures               to              15   select     an       outside            independent               agency
 16    the   companies                                                                                                             16                  What does                that        agency           do
17                   When             the          brochures               are    ready         but         do                     17                  And then they present                             different              ideas

18     not   know          the       exact           dates                                                                         18   which      may            best        suit the       image           of    the     school         And
19                  When              did          Dongguk                first    send        the                                 19   then those               ideas        are    presented               to    different

20     brochures        Approximately                                                                                              20   professors               and     employees                    And         alumnis and

21                  Around December of 2007                                                Maybo                                   21   students        and        their        opinions are collected
22                  Did Dongguk                           send        brochures                only    to                          22                       And then based                       on    all    those
23    businesses                                                                                                                   23   elements             the        president           of   the     school            decides       on
24                  No           To alumnis too                              And      to   other                                   24   the    final    design                  mentioned               about            the    top
25    people        who         had           given        money             to    the     school                                  25   management                  officers



                                                                                                                  Page    103                                                                                                             Page      105

                    What             did       the       brochures                say                                                                  Who was                 the    outside agency                      who was
                    Well             its       promotional                    so    it   statos                                         involved            in the        UI    change
      the    history           of    the       school                And what              kind of                                                      dont            have        that    information                  with      me
      reforms        the        school              is    making             at that       time        And                              now
      how     the        school           plans           to    educate           its    students                                                           MR          WEINER                   Do     you need                the     name
      And     it   lists
                               improvements                                                                                             Well      get       it


                    When             did        Dongguk                   first   place        newspaper                                                    MR          FETNER                   Sure
      ads    relating           to       its   new         UI                                                                                               MR WEINER                            Okay
                    In     the       beginning                  of    2008                                                                                  MR FETNER                            Its just          about         five

10                  Why          did          Don gguk decide                       to     change           its                    10   oclock         this        is         natural       breaking               point       for      me
11    UI                                                                                                                           11   Why      dont            we adjourn                for   the day and                   pick up       on

12                  Because                   of    the    criticism              the     school                                   12   Wednesday
13    received           due        to    Shin           .Ieong       Ah-Oate                  The school                        13                         MR  WE1NER Okay
14    wanted        to     send          out             message             saying         that      the                          14                       THE VIDEOORAPHER                                             Off     the    record

15    school       wanted                to    start       over       with           new heart                                   15     456
16                  Are        there                      other       reasons            the    school                           16
                                               any
17    changed            its    UI                                                                                               17
18                 No                                                                                                            18
19                  Is    there                particular             department                or                               19
20    committee                that      was responsible                          for the       UI change                        20
21                 Yes              PR        department                                                                         21
22                  Whose                idea        was        it   to    consider changing                                     22
23    the    UI    in the        first
                                               place                                                                             23
24                 The          president                 of    the       school                                                 24
25                 PresidentOh                                                                                                   25


                                                                                                                                                                                    27           Pages                         102        to        105
                                                                                                            Sandefs         Gale        Russell

                                                                                                                        203 6244157
      Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 120 of 184

DONGGUK         YALE    UNIVERSITY
                                                                                                       August   11   2010




                                                                                                        Page     107

          IN    THE     UNITED       STATES    DISTRICT        COURT

          FOR    THE      DISTRICT        OF CONNECTICUT

          CIVIL ACTION           308-CV-00441                RNC



          DONGGUK        UNIVERSITY

                              Plaintiff

                       -versus-                                              VOLUME        II


          YALE    UNIVERSITY

                               Defendant




                                      Continued       Rule     30b                   Deposition

      of        EYODNG        GEON    JEON     taken       pursuant          to      the

      Federal            Rules       of   Civil    Procedure           at      the     Law

      Offices            of    Day    Pitney       LLP         Audubon            Street         New

      Haven             Connecticut           before       James             Martone            LSR

      248              and    Notary      Public      in     and     for     the      State      of


      Connecticut                on August         11      2010       at     1000 a.m




                                                   Sanders    Gale         Russell

                                                        203    624    4157
            Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 121 of 184

DONGGUK                     YALE          UNIVERSITY                                                                                                                                                                                    August            11 2010


                                                                                                                 Page     120                                                                                                                       Page     122

       increased             much more however                                    there       were          more                                             And how                 did       that    number change                         from

       companies                 that     were           not top one               hundred                                                   2007      to        2008
       companies                                                                                                                                            The         rate       decreased

                       Why         is    that       bad                                                                                                     By how much
                       Its    same            in the          United         States           You                                                            .4
                                                                                                                                                                   percent

       know           students            want           to    be     employed               at           at top                                            Why
       companies                 such          as   Cloogle                 And        Korean             students                                           Well            the    news was                reported              in   the

       have      the       same         set        of    mind                                                                               newspapers
                            Top     ten        companies                    if     could           list                                                      What news was                         reported              in the

 10    them       there          are     probably                Samsung                Electronics                                   10    newspapers
 11    Hyundai              Automobiles LG Electronics                                              Et cetera                         11                     Well            Ill    explain            In       the     fall      of
 12    Students             want        to     be employed at those companies                                                         12    2007       in         order        for students                jobs they go
                                                                                                                                                                                                           to    get
13                     Why         did        the number of top one hundred                                                           13    and     have          interviews                at   various companies   And
14     companies                                                in    Dongguks                job         fairs                       14                                             asked         the      students              about       Shin
                              participating                                                                                                 many companies
15    and     other          recruiting                 events        decrease              from          2008     to                 15    Jeong Ah-Oate
16    2009                                                                                                                            16                          And         the     students           were           worried             that

17                         dont know                    the    reason                                                                 17    Shin Jeong                  Ah-Gate                                                   influence          their
                                                                                                                                                                                               may     negatively

18                    Does Dongguk                            have     any information                       about                    18    chances              of    getting        jobs            And        also       the        companies
19    that                                                                                                                            19    since    Dongguk                       University            was under                 harsh
20                    No                                                                                                              20    criticism                 Im      guessing            they were                concerned
21                    Why          did        the       number of top one hundred                                                     21    about      hiring               student         graduates              of      Dongguk
22    companies               participating                     in    Dongguks               job          fairs                       22    University
23    and     other         recruiting              events            stay       the    same from                                     23                    Who was concemed
24    2007       to    2008                                                                                                           24                    The companies
25                                                                                                                                    25                    Which companies
                           dont_know                            ______________________

                                                                                                                Page      121                                                                                                                       Page     123

                      Does Dongguk                            have     any information                       about                                          Well             the    names of             the       companies                 were

      that                                                                                                                                  not   listed          in        any    newspapers so                           dont        know
                      No                                                                                                                                    You             said    that       you     were           guessing              that

                      Mr      Jeon Id                   like    you     to       look        now      at                                    companies                  were        concerned                about          the     Shin        incident

      the    second          table            on    the       first
                                                                       page       of Exhibit                                                Do you know
                      Yes                                                                                                                          You know                            it      was reported on
                           asked        you         on    Monday   if the percentage                                                        newspapers                       And      thats           my    opinion              based        upon    the

      of    Dongguk              students                who obtained jobs had                                                              articles        that             read

      increased             or    decreased                   from     2006            to   2007            Are                                             Is    it   based         on        anything           else
10    you     now          able     to    answer               that    question                                                      10                  No
11                    Yes                                                                                                            11                     If    the        companies                were       so      concemed
12                    What         is    the        answer                                                                           12     about      the Shin                incident               why did they continue                          to

13                    Increased                    However              the       number                                             13     participate                in    Dongguks                 job       fairs

14    reflected            under         2007            represents           the percentage                       of                14                     Because                our school               asked          them to
15    students             who     acquired                ajob        in the          February             of                       15                     Why             did they continue                      to      hire    Dongguk
16    2007        So        2007         --    therefore               it
                                                                            represents              the                              16     students

17                            for the           students              who        graduated                before                     17                     Well             the    ratio        of   students             who         were
      percentage
18    Shin    Jeong           Ah-Gate                   became          public                                                       18     acquiring jobs                     went         down         actually
19                    How         about            2008             What         does        the     number                          19                     Youre              talking          about        the      .4
                                                                                                                                                                                                                            percent
20    for   2008           represent                                                                                                 20     change          from            2007      to       2008
21                    It   represents               the       percentage                of                                           21                  No                 When you             see     the       trend          the       number
22    students             who     acquired               jobs        after       the Shin            Jeong                          22     has been              increasing               since       2005              However               in

23    Ah-Gate              became             public             The graduates                     of-- and                          23     2008       it    decreased

24    the   students             who          graduated               in    the February                   of                        24                     Why             did    that     number decrease                            in   2009
25    2008                                                                                                                           25                  My            opinion            is   that      its     still      affecting




                                                                                                                                                                                                       Pages                           120          to       123
                                                                                                            Sanders           Gale          Russell

                                                                                                                        203     624        457
             Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 122 of 184

DOEGGUK                     YALE            UNIVERSITY                                                                                                                                                                                   Augusi        11 2010


                                                                                                                  Page    124                                                                                                                     Page    126

      the    numbers that event                                                                                                         develpment                 of-- development                                change                and

                So your testimony                                      is   that       more                                             application             of       culture           through             ancient Buddhist

      companies                   chose          not     to       hire      Dongguk   students                                          language             and        ancient            literature               Participants

      because           of        the       Shin       incident             in 2009 than in                                             person        in     charge             Jeon         Ah Kim
      2008                                                                                                                                            Mr        Jeon Im                 not          asking         you        to        read

                       Yes                                                                                                              the     entire       document                      Im just            asking           generally

                       What            is   that       based           on                                                               what      the      document says
                       Because                there         is    no     other         issue        which                                             It     explains about                      the        HK      Project                which
      can    negatively                     affect      these          numbers                                                          the     Kum          Kang University                          has      won             It    states      the
10                     Is    it
                                  possible             that       the       state       of the                                     10   subject         and     the       people             who            will    be    participating

11    economy   made   harder               it                    for students                 to    find    jobs                  11   in this       project             And         it    also           states    the        name of
12    in 2008 and 2009                                                                                                             12   the     organization                  that     will          be      participating                 and
13                  Well               Dongguk                   University             does         not have                      13   and     the     amount of grant
14    any    information                      on    that                                                                           14                        THE         INTERPRETER                                 May             the

15                  Did           students             at    other Korean                                                          15   interpreter            correct           something                    please                Sorry
16    universities                 have            harder time finding jobs                                  in                    16   dont      have        to    correct
17    2008        and       2009                                                                                                   17                 And          it    also    states              the     tcrms of               the

18                  Theres                  no     information                    on   that     either                             18   research

19                  Dongguk                      has no          information                about          that                    19                 What          was         the        amount of                the    grant
20                  Thats               correct                                                                                    20                 Initially           it    was        set        at    approximatoly
21                  Did Koreas                      overall             employment                    rate                      21      eight     million                But     when          you go down the actual
22   decrease               in    2008 and              2009                                                                    22      amount          that       was given                 was almost 8.6 million
23                      dont know                                                                                               23                    Million             or    billion

24                          MR          FETNER                     Mark           this                                          24                    Million
25                          Defendants                      Exhibit                 markcd                                      25
     _______                                                                                                                                  Q.__Of          what_unit
                                                                                                                                                                                                                ____________________
                                                                                                                Page      125                                                                                                                     Page   127

                  For        identification                                                                                                                THE           INTERPRETER                                 im        sorry            its

                    Mr            Jeon Im showing you whats bccn                                                                        dollars

     marked Exhibit                                On Monday                           asked
                                                                                                     your       if                                    The       grant          would have                     been        awarded                in


     Dongguk                had        any information                           about      the      research                           Korean         won wouldnt it
     proposal           submitted                  by       Kum Kang                   University                                                     In Korean won  its 8.6 billion wons

     relating          to    the        study of            Buddhism                   in   2007                                                      Who prepared this document
                    Yes                                                                                                                               Well               copied            it   from          Kum         Kang
                    At       the       time        you       told        me you             had      no                                 Universitys                home         page
     information                  about           that                                                                                                When              did     you do               that

10                  Yes                                                                                                         10                    Ycsterday                  Oh no                     Monday          night

11                  Does           the       document                  labeled           Exhibit                                11                    Other         than        whats                in this        document
12   respond         to my question                                                                                             12      does     Dongguk                 have        any         information                   about           Kum
13                  Yes                                                                                                         13      Kangs         2007         Research                 proposal
14                  Unfortunately                           since           we    just      received                            14                    No
15   this    document                   last      night             have          not been            able      to              15                    Mr       Jeon you                    testified           on    Monday                    that

16   have    it     translated                     Can you summarize                                the                         16      Dongguk              submitted               two         separate            research               proposals
17   document               for        me                                                                                       17      relating        to    Buddhism                  in      2007            Do you               recall

18                Pause                in the      Proceedings                                                                  18      that       Do you               have     Exhibit                     available

19                  Humanities                     Korea project                        Our                                     19                         MS KIM                     It    was            in his    binder

20   school       --    Kum Kang                       University                  has been               picked     to         20                    Well Ive                 got     another               copy         of        it


21             on                                and     that                          is   called                              21                    Thers              only one                in    2007          Did                 say
     carry                   project                                   project

22   Humanities                   Korea Project                        It    is   sponsored                by                   22      there    were         two
23   Korean Research                             Foundation                      About         eight        million             23                    Perhaps                  was unclear                      When            you
24   dollars        will          be    given          in ten          year period                                              24      testified       on     Monday                  that          Dongguk              applied               for

25                      And            the       subiect          of study                                                      25      grant    that        was awarded                        to    Kum           Kang            University



                                                                                                                                                                                                      Pages                         124           to     127

                                                                                                             Sanders        Gale        Russell

                                                                                                                     203    6244157
            Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 123 of 184

00NGGUK                   YALE            UNIVERSITY                                                                                                                                                                                   August              11    2010



                                                                                                               Page        128                                                                                                                     Page         130

      which Dongguk application                                         were          you     referring              to                                      With         respect           to    my      question              though
            The third one from                                      the        top                                                            about      whether               Dongguk              had        been         rejected         for     any
                        How         about            the    fourth         one        from        the        top                              Buddhism              related           grants        that       it    had        applied        for

                        No          The        fourth         one     from           the    top has                                           before      2007 do you have any information
      nothing            to    do     with           Kum      Kang             University               project                                             dont have any information on that

                    Okay              To whom                     was     that        grant       awarded                                                 Do you                have        any information                        relating        to

                          do    not       know               Because                the    grant        was                                   whether          Dongguk                had        been         rejected           from        its



      given        to    various schools                                                                                                      applications              for      other       grants            prior       to    2007
                    That            one    grant            was given                to    various                                                        Maybe                 but    however                      do     not have           any
10    schools                                                                                                                          10     detailed         information
11                  It    states          --    it    is   stated         here        16                                               11                 Mr         Jeon             asked          you        on Monday                  when
12                  Does Dongguk                            have        any information                        about                   12     Dongguk           first          considered               changing                its   UI
13    why those                16 schools                  received            that       grant                                        13                 Yes
14                  No                                                                                                                 14                 Your answer                       was probably                    in     September
15                  Mr          Jeon                 asked        you on            Monday              whcther                        15     or   October           of    2007
16   there     were            any     grants              other than               those        listed in                             16                 Yes
17   Exhibit              that        Dongguk                 claims           it   did     not     receive                            17                 Do you now know                               certainly               when       Dongguk
18   because             of    the    Shin            incident                                                                         18     first    considered                changing               its    UI
19                  Yes                                                                                                                19                 September                   of    2007
20                  You         testified              that       there        were           few                                      20                 Was         it
                                                                                                                                                                                 particular             date        in     September
21   more but you could                              not     remember what                         they        were                    21                      dont know                   the    exact         date
22                  Yes                                                                                                                22                 How         do        you        know         that        it    was September
23                  Do you             have           any information                       about            those                     23                 Because                PR    office           started              process          to

24   grants        now                                                                                                                 24     hire    an outside agency                          and     that        was        in    September
25                  Well              called               Korea          And             received                                     25                 When             did       the    PR      office           hire       the    outside


                                                                                                               Page        129                                                                                                                     Page         131

     an     answer            saying           that        with     regard           to    smaller                                            agency
     grants         if    the       school           gets     rejected               then        all    the                                                    do    not        know
     applications               are       discarded                  Therefore                     was        not                                         Mr         Jeon             asked         you on               Monday            when
     able     to    get       any     detailed              information                    about        that                                  Dongguk           hired             PR        firm in connection                         with        its


                    Do        you     have            any     information                   about            any                              brand      rehabilitation                    efforts            You         testified


     grants        other than              those            listed        in    Exhibit                 that                                 there     are          number of PR firms                                   Theres         one

     Dongguk              claims           it    did not           receive            because            of    the                            responsible            for       publishing                     book          and       then

     Shin      incident                                                                                                                       theres another                   one                                  for creating
                                                                                                                                                                                      responsible
                   No                                                                                                                         new Ul           Which             agency           are     you            talking      about
10                  Mr         Jeon on Monday                                  asked         you        if                         10                          You         testified             that    theres                 PR
11   Dongguk              had        ever        been        rejected               for    any     grants           it
                                                                                                                                   11         firmthat Dongguk hired                               in    2009             but     you couldnt
12   had     applied            for relating                 to    Buddhist               studies                                  12         remember what month
13   before        2007                                                                                                            13                    Yes
14                  Okay                                                                                                           14                    Do you now know what month Dongguk
15                  You         did not have                                                                                       15         hired    that PR firm
                                                              any         pertinent

16   information                then                                                                                               16                     September                   of    2009
17                 Okay                                                                                                            17                     What            is   the    name of              that          PR firm
18                 Do you             have            any     now                                                                  18                     It   was an English name                                       Something             that

19                 No           But       however                    do    know             that                                   19         sounded          like       Plushrnan               l-Iillary              Something             like

20   Dongguk              University                  has received                   total    of       8.7                         20        that

21   billion       wons          as   research                find        since           2003         until                       21                     Mr         icon   asked you on Monday   about

22                  time              would                say 2003            to     2009                                         22        what      efforts        Dongguk had made to mitigate its
     present

23                        total       of   8.7         billion        for that             entirc                                  23        damages                You mentioned  Dongguks  changing                                                    its



24   period                                                                                                                        24        UI       preparing            PR     brochures                   producing               promotional
25                 Yes                                                                                                             25        videos          Hiring               PR       firm          And         placing


                                                                                                                                                                                                       Pages                          128          to           131
                                                                                                             Sanders           Gale           Russell

                                                                                                                         203     624        4157
             Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 124 of 184

DON000K                 YALE             UNIYERSITY                                                                                                                                                                                                August              2010



                                                                                                                 Page   132                                                                                                                                  Page     134

       advertisements                         Other        than those                activities             did                        1109
       Dongguk              do     anything            else          to    mitigate           its
                                                                                                    damages                                          Recess                 taken
       relating        to    this        lawsuit                                                                                                              THE VIDEOGRAPHER                                                        On           the    record

                      Yes                                                                                                              1121
                      What          else       did    Dongguk                   do                                                                      Mr          Jeon before                         the        break            you had
                      The        list    that         gave       you           were        actually                                   described                   or    at least                 mentioned                reforms                  that

       main         activities           carried          out by our                 PR     office                                    President                Oh        initiated                    that     helped              restore

       And theres an employment support team                                                         and         our                  Dongguks                     good           name                  What            reforms were                       you
       employment support team                                   actually              invites         HR                             referring               to
 10    managers             from various                   companies                  and        create                          10                          gave           you         one           example             before                   Our
 11                   and     created                forum                                                                       11   school                  the                      one        to               the    student
       group                                                                                                                                            is              first
                                                                                                                                                                                                        try
 12                      And            the    school           promoted                  itself to                              12   grading system                               Students                  would evaluate                             teachers

 13    these        people              And prepared                      cultural          events          for                  13   and     that           result          was open                    to    public               It    was
14     them      to    experience                such           as    plays          or cultural                                 14   published
15     events          And        starting           from        2010               the    school                                15                           Well                 have            to    correct              something
16     started          subway                advertisement                     and       then      admission                    16   Our school was not                                     the       first       to    evaluate                  teachers

17    office        hired        about         ten    admission                     evaluators              to                   17   by students                       Our school                       was        the       first       to       make          it



18    promote           our school               by       getting              in   contact         with                         18   known             to     public
19    more high school students  and their parents                                                                               19                     What            other               reforms were                      you        referring
20           Has Dongguk    done  anything else to                                                                               20   to
21    mitigate         its
                              damages                associated                 with       this                                  21                          THE            INTERPRETER                                       May             the

22    lawsuit                                                                                                                    22   interpreter                  ask      Mr              Jeon        to     clarifj         something
23                    Well        Mr Oh              had        initiated                 number of                              23   please
24    reforms         at the        school           in    order           to       restore      the                             24                     And            he     also           established                  an evaluating
25    schools          good         name             Well anyway_the                             activities                      25   system            where            you look                      at the        number of                      students



                                                                                                             Page       133                                                                                                                                  Page     135

      that     he     initiated          may not be solely directed                                    to                             attending                    certain               department                       and       this           system

      improving              our reputation       however he did                                                                      allowed            the        school                  to    see        the    popularity                     of    that

      initiate        number of                activities                 And        that     was                                     department                   or       if    that           department                   was necessary
      reported         to    the        public        by    Korean media                                                              and     then           it    also          sees        the        employment rate                                  rates

                        One example                         can       give          you     is                                        of   students                who           graduate                 from           that       department
      there     was           student survey                     evaluating                 teachers                                  and     based                              that        result            the       system               allowed
                                                                                                                                                                  upon
      That     was      the       first       time     in   Korea               and       that      was                               either       to        add       more students                           to       the    department                       or


      reported         to the           public                                                                                        decrease               the       number of students
                     What         reforms            did    President                  Oh       initiate                                                      In    Korea                   professors                  who         would
10    to    restore      Dongguks                    good        name                                                         10      like    to     kecp           their          department                        departments
11                      THE             INTERPRETER                                 May      the                              11      unchanged                     they          like           to    keep         the       number of
12                          ask     the        attorney          to       repeat          the                                 12      students               and       they            like       to    maintain               that
      interpreter

13    question                                                                                                                   13   department                   as       it   was before                         And            therefore               when
14                   What         reforms            did    President                  Oh       initiate                      14      we      came up with this type of system and
                                                                                                                                             first                                                                                                              it




15    to   restore      Dongguks                     good name                                                                15      was announced    was    hot issue and   was it                                                          it




16                   Well what                   meant           to       say       was     that       he                     16      reported               widely              in     Korea
17    didnt      initiate         reforms            to    restore              our                                           17                        When             did           Dongguk                 first      come up with
18                            Its       just that          he    initiated                number                              18      that    system
      reputation
19    of reforms and                    that    in turn          restored              our                                    19                        ltstartedin2008

20    reputation                                                                                                              20                        When             in      2008
21                   What reforms                    are    you           --                                                  21                        Well            the       system                was         set       in    place           in

22                      MR          WEINER                      Can we              just     take                             22      May      of       2008             and           it    went            into       effect           in    2009
23    few     minute          break2                                                                                          23      when         it   was            setting              the        number of                   students               for

24                      MR  FETNER Sure                                                                                       24      certain           departments

25                      THE VIDEOGRAPHER                                                  Off    the    record                25                        When             did           the       reform            relating              to




                                                                                                                                                                                                             Pages                            132            to       135

                                                                                                        Sanders           Gale        Russell

                                                                                                                   203 624415
              Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 125 of 184

DONGGUK                     YALE           UNIVERSITY                                                                                                                                                                                        August                11 2010


                                                                                                                  Page   136                                                                                                                                Page      138

       students            cvaluating                professors               go       into    effect                                     2009            And we                were         one        of       the       only two
                       Its    been         there          for          long         long time                                             universities                 who received                         this       award
       But     making    known public
                                 it                                     was something                         unusual                                      Mr         Jeon my question was                                       other           than

       It    was never done before                                                                                                        what       youve already                          told        me            has       Dongguk               made any
                       When           was       it      made public                                                                       other      efforts            to      mitigate               its
                                                                                                                                                                                                              damages                 in

                       The       results           of second             semester               of     2007                               connection                  with        this       lawsuit                   Did                              do
                                                                                                                                                                                                                                 Dongguk
       was made public                       in      February               of    2008                                                    anything              else       to    mitigate               its      damages
              Was that                     the       first       time        Dongguk                  made                                                 In        order       to    draw            in    more donations                           the

       such         results      public                                                                                                   school          started                new                                                             which
                                                                                                                                                                                             campaign                      in   2008                         the
 10                   Yes                                                                                                         10      school                                                  do             2007            due             Shin
                                                                                                                                                          was         not       able        to              in                              to
 11                   How          did     Dongguk                make those                   results                            11     Jeong         Ah-Gate
 12    public                                                                                                                     12                       What campaign                                                                 to
                                                                                                                                                                                                    are       you          referring
 13                   It    was       in   our       home page                     so anyone                who                   13                      Its        called        Dongguk                    President                Members
 14    enters        our     home page                    was     able        to       view      the                              14     Well Donggnk                                                                                  of alumni              who
                                                                                                                                                                                 created                community
 15    results           And       they were                 able      to     refer       to    this                              15     are     either           business              owners               or       who        are      successful
 16                  when        students were                      choosing              their        classes                    16                      How           much money                           did       the
       report                                                                                                                                                                                                                   Dongguk
17     the    following               semester                                                                                    17     President               Members                                               raise
                                                                                                                                                                                           campaign
18                    Other           than      the       items        youve            just                                      18                           dont         have           that        information
19     described             are      there          any       other        reforms            that                               19                      How much money                                    did        that     campaign
20     President            Oh     initiated              that    had         the       effect        of                          20     attempt           to        raise
21    restoring            Dongguks                  good        name                                                             21                           do     not have               that        information                      either
22                    Well         there        is         result       evaluation                                                22                            there         anything                 else        that                               has
                                                                                                                                                          Is
                                                                                                                                                                                                                                Dongguk
23    system which                     evaluates               each      department                    and        each            23     done        to    mitigate              its    damages
24    college              And     the       result        is    reflected              in                                        24                      Nothing                      dont remember anything
25    promotions                 And          it     is   applied            to    future        budgets                          25     else     now

                                                                                                               Page      137                                                                                                                               Page      139

      for     each                                   and       each
                         department                                      college                                                                          Why was Dongguk                                    denied             approval              to    open
                           Under Korean law each                                       college         has                                 U.S        style           law        school
      to    evaluate          themselves                       And Dongguk                      University                                                     THE INTERPRETER                                               May          the

      was leading               university                which             Dongguk              University                              interpreter                 ask     the      attorney                to repeat               the


      already         was doing result evaluations and                                                other                              question please
      schools         came to Dongguk   University to                                            learn        our                                         Why was Dongguk                                    denied             approval              to    open
      system                                                                                                                               U.S        style           law        school
                     Are      there        any          other     reforms                                                                                 Dongguk                  University                    was not              able       to   be

                     Those         are       what              remember                   And         any                                approved               as          law        school           due           to    Shin Jeong
10    other youll             probably               have        to    ask        Mr Oh                                           10     Ah-Gate                and        the     effect          that          it    had       on    the

11                   Other         than       what youve                     told   me did                                        11     schools           reputation
12    Dongguk              make any                other        efforts           to    mitigate            its                   12                      How          does           Dongguk                 know              that

13    damages              relating        to      this    lawsuit                                                                13                           am     basing            that       information                       on     the

14                   Well        in     2007              KIvISC         Consulting                   Agency                     14      analysis          report            on       law        school               evaluation                 by   Hyn
15    rated     our school                 as      as     an    excellent               school         for                        15     Gik                                           University                       This         result       was
16    customer             satisfaction                   However                  this                       sent                16     announced                   at the        symposium held by Korean Law
                                                                                             agency
17    thc     school            letter       saying            that     it    was not            able                             17     School           Professors Association                And the Korean
18    to    grant     the     award          to      us    in    2007             due    to    Shin                               18     media        also           reported on                  it    too
19    Jeong         Ah      crisis                                                                                               19                       Is    it    based           on    anything else
20                         We    tried       to      receive           this       award          in                              20                       No
21    2008 and             2009 again                     And       we       were        selected             for                21                       What          did       the       report           by        Hyn       Gik
22    customer             satisfaction                 award           Theres            another                                22      University                  state

23    award           And       our school                 also        won              grand         prize       For            23                       In    granting                    law school                     to   --        school

24    quality        management                         This      is   awarded                 by     the                        24      has    to    meet            two        criterias               One           is    quantitative

25    president            of South           Korea              We          received            it    in                        25     and      one       is
                                                                                                                                                                  quality               And            Dongguk                  University


                                                                                                                                                                                                        Pages                             136              to       139
                                                                                                            Sanders        Odle          Russell

                                                                                                                     203   624         4157
            Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 126 of 184

0ONGGUK                     YALE             UNIVERSITY                                                                                                                                                                                       August             11 2010


                                                                                                                  Page     140                                                                                                                            Page       142

      scored           high         in quantitative                 evaluation                however                                         sent         letter       saying                that    it    cannot           give           the

      it   scored            low        in    quality            And      the        difference                                               approval             It
                                                                                                                                                                         just       said         not       approved
      between               these two                scores        were        prominent                and           in                                    When              the        committee                met        to       discuss           which

      other scores                   when           you     see     other scores                  if                                          universities              would be approved                                   to    open            law

      other schools                      usually           the     schools           who      score              high                         schools        did         it   discuss               the     Shin        incident

      in    quantity               scored            high        in quality          also                                                                   Well          the        committee                    held           15    meetings

                       However                       our school              was       different                                              And     13    meeting                 minutes                were        made public
      and       it   what unusual                        and     therefore             according                 to                           However             two of             the        most         important                     meetings

      Hyn Gik               Universitys                   report          our schools                  being                                  their   content            was not disclosed
10    unable           to    receive            the      approval            depended              on       --                         10                   Ivfr        Jeon do you remember my question
11                          THE INTERPRETER                                      May         the                                       11                   Yes
12    interpreter              correct             something              please                                                       12                   What          is    the           answer
13                     If    Dongguk                 University              had      received              --                         13                   Well with regard                               to     your           last

14   if the          Dongguk                 University            had       scored          high        in                            14     question              --
                                                                                                                                                                         no               dont         know
15   quality           as    it    did        in   quantity             then    it    would            be                              15                   Does Dongguk                             have         any information                         that

16   one        of    the     top        ten       universities              When            compared                                  16     the    Legal        Education                    Committee discussed                                  the     Shin
17   to    other           universities                                                                                                17     incident       at     all
18                     Why           did      Dongguk              receive              low                                            18                   No
19   qualitative               score                                                                                                   19                   Who          were            the        members                 of the Legal

20                     Because                of Shin          .Teong        Ah-Qate              it    has                            20    Education             Committee
21   been         under           great        criticism           from        the     public           and                            21                  There          are            13    members                       do        not        know
22   there           was          negative               impression             that                                                   22    their    names
23                          THE INTERPRETER        May the                                                                             23                  Do you know                          their        titles         or    positions
24   interpreter             actually ask Mr Jeon to clarify                                                                           24                    do         know             there        are       about            four law

25   something                please                                                                                                   25    school        professors                     One         or     more attorneys
                                                                                   __________

                                                                                                                 Page      141                                                                                                                            Page       143

                      And          it
                                        negatively               affected          against                                                   Prosecutors                 And             social            organization

     Dongguk                University                to    be     approved             for            law                                   representatives

     school           which             can     produce           judges             attomeys               and                                            how           do     you know                     that      those               people       were

     prosecutors                                                                                                                             influenced            by         the        Shin        incident               at   all

                      Who           scored           the    quantitative               and                                                                 Like           stated               before             our school                 has

     qualitative              scores            that               referred           to    earlier                                          received              high         quantitative                      score           which            scores
                                                           you
                      The Legal                 Education               Committee under                           the                        professors             achievements                           and      the          number of
                                                                                                                                                                                                            and       facilities
     Ministry of Education                                                                                                                   professors            and         equipment

                      Did         that       committee             tell      Dongguk              that       it                              1-lowever            our         qualitative                  score        was low which
10   was influenced by                             the     Shin     incident                                                           10    reflects       the                                of    the     school
                                                                                                                                                                    purpose
11                    No           But        well        telling       us   that       we    are                                      11                  How           did        --    strike           that        Ic    there           any
12   not being              given             we     are    not being            approved                                          12        other       information                     that       Dongguk                 has        to    suggest

13   because               of Shin                         An-Gate             will     be tantamount                              13        that    the    members                  of        the     Legal          Education                   Committee
                                             Jeong
14   to    admitting               that       their       evaluation            system            is                                   14    were     influenced                    by        the     Shin        incident

15                                                                                                                                 15                      Well theres                         the     Joong           Ang            Daily
     wrong
16                    Why          is    that                                                                                          16    newspaper                  JO      ON                    AN                    which            is   one     of   the

17                    This committee                        is    not supposed                to       be                              17    three    largest            newspapers                        in   Korea                 It    made
18   swayed            by any            political          inclinations                    but   telling
                                                                                                                                       18    report        saying        that            the    reason            Dongguk                    University

19   us    that       would be                           like    admitting            the     fact                                     19    did     not was not approved                                    for      its    law           school        was
                                              just

20   that    the       committee                   has given            us       lower                                             20        probably         due         to    Shin Jeong                      Ah-Gate
21                                score         in    order        to                         us                                   21                      How           would Joong                        Ang         Daily              know         that
     quantitative                                                       disqualify

22                    What did                 the    committee              say                                                   22                        dont             know
23                    About why                                         was not approved                          for              23                      What          information                        was       this                         based
                                                   Dongguk                                                                                                                                                                        report

24        law        school                                                                                                        24        on
25                    It    did      not       offer       any reasons                 It    just                                  25                       Well              have              dont            have         any


                                                                                                                                                                                              10            Pages                           140            to        143

                                                                                                            Sanders          Gale             Russell

                                                                                                                       203       624        4157
            Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 127 of 184

DONGGUK                  YALE             UNIVERSITY                                                                                                                                                                      August           Ii 2010



                                                                                                              Page    152                                                                                                             Page   154

      this       point and            Im     trying          to explain                 to    you why                                               Yes
      those        two     things          are     related                                                                                          Were you involved                          in   preparing             this

                          Im         saying because                     of     the                                                  document
      achievement                    there       was no             reason           for       us    to     score                                   Well                did provide               number of
      low        in qualitative              evaluation                                                                             documents                 in    order       to    prepare          this   document
                         asked            you what           factors              the        Legal                                                  Mr        Jeon Id             like      you     to turn      to   page

      Education            Committee                    considered                   in      awarding                                    of   the    document                        understand           that      the


      qualitative           scores               You      listed          several              items                                document               is    in     English             And         expect        you     to   get

      But       you didnt mention                             universitys                     historical                            whatever              help        you need              from the      interpreter                 Do
      achievement                    in legal       education                                                                  10   you understand
                    Yes                                                                                                        11                   Okay              Yes
                    So my question                       is     what does                     your                             12                   Item         number                on    page         titled          Loss

      testimony about                      Dongguks                  history            of educating                           13   of    Revenue                    Do you           see that

      lawyers have                   to    do with           its    qualitative                score         by                14                   Yes
     the Legal            Education               Committee                                                                    15                   The         first    item underneath                  that       heading
                    What             Im saying            is    that         it
                                                                                  proves             that                      16   mentions                  loss      of annual            earning revenue                  minus

     our schools                purpose            for       education                  was excellent                          17   expenses             of     1.35       billion       won
                    Is    that       your complete                      answer                                                 18                   Yes
                    And our school                       had         excellent                                                 19                   What           is   that    number based                  on
     curriculum                 Therefore                there          was no reason                       for                20                   In    our application                    we     stated       we would
     us    to     receive low               qualitative                 scores               because                           21   take      80    applicants              for       our law          school         And        its

     those        were     the        factors          that        is   considered                   for                    22        three-year                law school               and      so    when        you     figure

     qualitative           score evaluation                                                                                 23      those       two numbers                     its    240 people                And we
                    You         told       me     you        couldnt               even        identi                       24      calculated             revenues             from         their tuition            Minus
     all   of     the    factors           that    the       education                  committee                           25      payrolls         for        professors


                                                                                                              Page    153                                                                                                             Page   155

     considered            in        awarding            qualitative                 scores                                                              And        also       administrators                  And then
                    Yes                                                                                                             scholarships                    And        other expenses                 for

                    So how do you know                                  the       committees                                        stationeries


     reason        for    awarding                the    scores           that          it    did                                                   How          much          tuition       would        Dongguk             have

                         TIlE         INTERPRETER                                 May          the                                  charged          the        law      students

     interpreter           --                                                                                                                       As     far as           can       remember            the       entire

                    How         do        you     know         the       committees                       reason                    amount          for       the       tuition       was about           4.5    billion


     for    awarding             the       score        that       it   did                                                         wons            But         do      not    know          how much               the    individual

                         MR          WEINER                    Im       going            to    object                               tuition         was
10   to    the    fonn      of that                                                                                         10                      What           does     the       4.5    billion      figure          figure

11                  Well              have        no    way          of proving                 it                          11      refer     to
12                       MR          FETNER               Mark                this                                          12                      240       students          attending the law                     school

13                       Defendants                    Exhibit                    marked                                    13      Times          their      tutions

14                For identification                                                                                        14                           MR          WEINER                  So you       can        divide        and

15                  This        is   Exhibit                  Mr         Jeon Im                                            15      get   the       tuition          amount
16   showing you whats been marked Exhibit                                                                  Have            16                           MR          FETNER                   understand                   just

                                                                                                                            17                                                         number represented
     you seen this document before
17                                                                                                                                  want      to    know            what       the

18                  Yes                                                                                                     18                           MR          WEINER                  Okay
19                  Did                                                                                                     19                      Did       Dongguk                             the    law     school          to
                            you read              it    in   preparing                   for    your                                                                                 expect

20   depositi       on                                                                                                      20      operate         at          profit

21                  Yes                                                                                                     21                      Yes
22                  Had you seen it previously                                                                              22                      Does         the     rest     of   Dongguk            University

23                  You mean before today                                                                                   23      operate         at          profit

24                      mean before you were                                  preparing               for                   24                      Yes          In     most      departments                 yes
25   the    deposition                                                                                                      25                      Does Dongguks                        medical         school           operate


                                                                                                                                                                               13            Pages                    152             to     155
                                                                                                            Sanders     Gale        Russell

                                                                                                                    203 6244157
            Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 128 of 184

DONGGUK                 YALE              UNIVERSITY                                                                                                                                                                              Augusi              ii 2010


                                                                                                                Page    168                                                                                                                    Page      170

                    Are                                                                                                                                                          used                  classroom
                               there           any other academics                                                                                       Its    being                        as


      departments               that           have                       in   that     building                                                         Is   there         only one              moot courtroom                    or are
                                                           space

                   Right            now yes However                                    they were                                          there        more than one

      supposed            to    move out when                            we were we                      get                                             Just    one
                          for          law           school                                                                                              Has     it       been         used       as      classroom               since
      appruved
                   What             other departments                            are    located            in                             the     reconstruction                      was complete
      the    law    school            building                                                                                                           Yes
                   Other             departments                       professors            are     using                                               What         is     the       name of           the    law     department

      some of           the    rooms             as         research             room                                                     building
10                 What departments                                                                                                 10                   Its    called            Bub Hak Kwan
11                 Buddhism Studies Korean                                              language                                    11    KWAN
12                those        are        it         dont          remember anything                                                12                   Does         that        name mean something
     guess
13   else                                                                                                                           13                   Just          law        school

14                 Are         the     classrooms                       in the       law                                            14                  The building                       has no        other       name
15   department                building               being            used                                                         15                  No        Currently                  thats       the    only        name
16                 Currently                   our School                 of    Law          the                                    16    thats        being     used
17   undergraduates                       are        using        that       room However                                           17                  Is    there              library          in the       law     building
18   well      there          are          lot       of   empty           spaces because                                            18                   Yes                legal           library

19   government                requirement                       for     U.S         style     law        school                    19                  Has      that           been        used       since     the

20   and     the    existing              Korean School                         of     Law         are                             20     reconstruction                   was complete
21   different            So        there        are             lot    of     empty spaces                                        21                   Yes
22   that    are    being           unused                                                                                         22                   Does         the        7.737         billion       won        figure

23                 What             spaces           are     empty                                                                 23     indicated           at the         bottom              of page             represent           the

24                 Like        the        room            that          explained             toyou                                24     complete            cost        of     the       reconstruction              of    the       law

25   where          young mother                           can         breastfced              And then                            25     department             building


                                                                                                               Page     169                                                                                                                    Page      171

     childrens           playroom                     Consultation                     rooms              And    et                                     Yes
     cetera                                                                                                                                             Why       did           Dongguk                reconstruct           the       law

                   Well what                    else        are        you     referring            to                                    department             building

                   Thats            all         remember                                                                                                Because                 the    Dongguk              University             was         sure

                   Have         the        rooms you                    just    listed        been                                        that    it   was      going            to    be    approved            for the          law

     empty        since        the        reconstruction                       was complete                                               school

                   Yes                                                                                                                                  Not      for       any other               reason

                   Are        there        professors                    offices        in the                                                          No
     law     building                                                                                                                                   How       could               Dongguk be                sure     that       it   would
10                 Is   that        different               than        the     research                                           10     be     approved         far             law    school
11   room                                                                                                                          11                        stated        before           that       Dongguk          University

12                 Im     asking               you               dont          know          What          do                      12     ranked         15th    with            regard           to   people         who        passed bar

                                                          room                                                                     13     exams          And               has produced                                           Court judge
13   you mean by research                                                                                                                                                                                      Supreme
                                                                                                                                                                     it




14                 Well theyre                       the     same              However               in                            14     and          Constitutional                      law    judge         And         the    School

15   Korea         each        professor                  receives               room         for        them    to                15     of   Law       has been                established              for   more than 50
16   do     research            But             believe they                   are     the     same                                16     years         And      when             you consider these                        factors            it




17   thing                                                                                                                         17     was obvious                for us           to    be    approved
18                  lave those                   rooms            been         used                                                18                   Is    there        any other                basis      for    Dongguks
19                                                                               used                                              19                                            would be approved                          for          law
                   Yes         its     been                 its
                                                                       being                 by                                           being        sure     that       it




20   the    law    professors                   that       we      hired        for     the    expected                            20     school
21   law     school           and         then        the    existing             School            of    Law                      21                   You know                      just    the      general         consensus

22   professors               and     the        rest       is    being         used       by other                                22     among         public            Dongguk                 University           is    known             as   an

23   departments                like           the    ones         that         mentioned                 to                       23     excellent           university                    Therefore            Dongguk
24           from Buddhist                       Studies                                                                           24     University            was        sure        that       it   was going            to    be
     you
25                 Are        the     moot courtrooms                            being         used                                25     anaroved
                                                                                                                 --




                                                                                                                                                                                       17              Pages                 168               to        171
                                                                                                           Sanders          Gale          Russell

                                                                                                                      203     624        415
              Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 129 of 184

DONGGUK                  YALE                 UNIVERSITY                                                                                                                                                                                       Augusl              11    2010



                                                                                                                   Page   176                                                                                                                               Page        178


       entirety        of those                two buildings                                                                                                       And         then        we have                   for    get    an

                       Yes                                                                                                                   approval              from        the        Ministry of Education                                 that        this

                       What  Dongguk    did                           do       to    construct                   law                                               this    education                   use property has                         to     be
                                                                                                                                             property
       school        dormitory What                                 did    Dongguk                    do    to                               made        --


       construct               law            school        dormitory                                                                                              THE                                                          May            ask

                     Dongguk                   University                 has changed                      windows                          Mr       Jeon          to    clarify           something                       please
       in    those       apartment                  complexes                  and         purchased               beds                                       Our school                   has        to    get       an       approval             from

       and     bookcases                      And renovated                         the    heating and                                      the     Ministry of Education                                    about             changing              this


       air-conditioning                        system                                                                                       education               purpose               property                into            profit        making
 10                  Have            the       buildings             that           Dongguk                                          10     profit            And        since         we have                  to    go       through          such        an
 11    purchased              to     use       as         law       school            dormitory                 been                 11                                              and         we         have          to                         another
                                                                                                                                            approval               process                                                      purchase
 12    used      for  anything                                                                                                       12                            therefore                we cannot                      sell    the
                                                                                                                                            property
 13                  Some are empty                             Some                are    being            used                     13     apartments                  that    are        not being                  used
14     now                                                                                                                           14               Dongguk Ifhas no use for this
15                   What            are       they being                 used        for                                            15     building  why would      have to purchase           it                                              another
16           Theyre being used used for staff                                                                                        16     building when it sells this one
17    members who are overnight guests and also                                                                   for                17                       Because               we     have            to                              the
                                                                                                                                                                                                                 go through
18                 coming from oversees                                                                                              18                       that                     explained                     to              Therefore
       guests                                                                                                                               process                        just                                            you
19                  Are any of them used                                   as       dormitories                  for                 19     thats        why        even        though                some of them                       are    not being
20    students                                                                                                                       20     used         its       not being              sold
21                   Yes                                                                                                             21                       Mr        Jeon my question is why would
22                  Approximately                          what percentage                             of   these                    22                            have        to                                     that
                                                                                                                                            Dongguk                                  go        through                          process
23    buildings          have            been         used                                                                           23                       Because               its    required by                      the

24                     dont             know                                                                                         24     government
25                  Could               you give           me        any approximation                                               25            The government                                      requires                 universities


                                                                                                                   Page   177                                                                                                                              Page         179

                       have             no     information                 about           that                                             that    sell       real      estate           to    purchase                   other     real

                   Has Dongguk                            made any                  effort       to rent          or                        estate       immediately                      afterwards

      sell   the    portions                  of these buildings                          that       it   does                                             Yes           another               one         has       to    be     bought
      not    use                                                                                                                                           Korean              universities                     can        never         sell       real

                   No          Because                those          two        buildings                 are                               estate       without            purchasing                      other           real    estate

      within       the      premises                 of    Dongguk                  University                                                             With          regard            to     the       education               assets           or

                   From whom                         did       Dongguk                purchase                  those                       properties

      buildings                                                                                                                                                    MS KIM                      Education                   purpose
                   Just                              citizens
                              average                                                                                                       property
10                 So why                couldnt               Dongguk                sell      the                                  10                    Education                  purpose                properties                   But        for

11    buildings          to    average               citizens                                                                        11     profit       properties                 you         can         sell

12                     would             like to           explain             to    you about                                       12                    So       just       so         understand                      your testimony
13    the    Korean           laws            relating         to    the        education                 in                         13     any time                Korean                university                  sells real           estate

14    Korea                                                                                                                          14     that    it   uses        for       educational                      purposes             it    must

15                 Does                  answer                                                                                      15                            other                   estate
                                   it
                                                           my       question                                                                purchase                           real

16                 Well            it    will       help       you to understand                                                     16                    Yes
17                 Okay                 Id     like to         know why Dongguk                                                      17                    Did          Dongguk                 consider                  that     when         it




18    hasnt      made any                    effort       to   sell       or        rent       the                                   18     purchased               these buildings

19    portions         of     the        buildings             that       it    does           not     use                           19                    No              told       you before                          Dongguk
20                 Now         the           apartment              that        the school                  had                  20         University              thought               for        sure       it    was going                to    be

21                          becomes                                            that       is    to     be used                       21     approved               for the          law         school
      purchased                                        property
22    for    education             purpose
                                                           And        its       tax-free                  And                    22                        Has Dongguk                          made any                    effort        to    use       the

23    if   we decide           to        sell       then       we     have           to    purchase                              23         portions           of these             buildings                   that       are     not being

24    another                                 that    is    going          to       be     used           for                        24     used
                     property
25    education          purpose                opjy                                                                             25                        Yes           Thats             why         it    was used               for the




                                                                                                                                                                                           19               Pages                         176              to           179
                                                                                                                Sanders       Gale          Russell

                                                                                                                        203   624         4157
              Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 130 of 184

DONGGUK                YALE             UNIYERSITY                                                                                                                                                                               August              11 2010


                                                                                                            Page       180                                                                                                                    Page      182

       staff     members               and    outside            guests                                                                             Have they published any academic
                     Does         Dongguk                have        any    plans          to    use       the                        papers
       unused         portions           of    these          buildings          in the          finure                                             Im         guessing              some         did       and     some         did     not
                       dont           know         what        the     friture       plan        is                                                 Do         you        know
                     Of the           6.283        billion        won       indicated                in                                                 dont
       item          how         much of            that       was used          to    purchase                  the                                Have            these        newly            hired       faculty           members
       real    estate                                                                                                                 performed               any      other          services              while     cmployed by
                     Well except                   for    the     registration              cost                                      Dongguk
      the     rest    was    the        price       to    purchase             the    property                                                      What            exactly           are       you      talking          about         when
 10                  You         said    part       of    it    was used           for      things
                                                                                                                                10   you     talk       about         services

 11    like   windows                  beds bookcases                      and       heating and                                11                  Have they done                          anything              else
 12    air-conditioning                                                                                                         12                  Such            as
 13                    dont           know                                                                                      13                  Thats            my        question            for      you       Mr         Jeon
 14                  How         many         faculty           members              did        Dongguk                         14   As employees                     of       Dongguk                 have       they done             anything
 15   hire     specifically              for the         proposed            U.S           style      law                       15   else    other than                teach          classes           and       perform
 16   school                                                                                                                    16   academic             research
 17                  22                                                                                                         17                  No
18                   You     referred              to    30     faculty        members                                          18                  Are        there           other       services           that     Dongguk
19          Who
      earlier                     were        the       additional           eight         faculty                              19                  members                                                          that       these
                                                                                                                                     faculty                               typically              provide
20    members                                                                                                                   20   faculty        members                did        not
21                   The     existing           professors                 who taught                 at                        21                 No
22    our law school                    School           of     Law                                                             22                  Why         hasnt            Donggtik               fired       the     22    faculty

23                   When         did     Dongguk hire the 22                              faculty
                                                                                                                                23   members             it    hired           for    its    U.S         style       law        school
24    members          for       the     U.S style law school                                                                   24                 In    Korea                 once       the                              are
                                                                                                                                                                                                  professors
25                   Starting          from        2004         up     until     2007                                           25   hired     its       almost impossible                             to    fire    them

                                                                                                           Page        181                                                                                                                 Page        183

                     Have        those        faculty          members             been                                                            Did         Dongguk                consider              that     before           hiring

      teaching        classes           at    Dongguk                                                                                all   those professors

                     What        is    the    time        period          that   youre                                                             Well             the    school           was         certain       that       it




      talking        about                                                                                                           was going             to       be approved                   for        law      school

                     At anytime                                                                                                                    Turning                to    item              at the      top of page

                     Initially         our school               our School                 of    Law                                       What does                 the       administrative                     expense             relating

      was being managed by                              eight     law       professors                    And                        to application                  and        evaluation               refer       to
      then 22 now professors                             were        added         and          we                                                 Its        the    expenses               spent           for     filing

      couldnt        just    pay them                    So they wcre                teaching                                        applications                   such        as    overnight              shift        publishing
10    basic courses              and         other undergraduate                       courses              for                10    and     designing matcrials                                 And        brochures             and     then

11    our School            of    Law         but       new courses                had          to   be    set                 11    per    diem         and with                regard           to    evaluation               mentioned

12    up   for   these       professors                                                                                        12    here     Law          Education                  Committee                   members              came      to

13                Have           all   22     of    the       newly        hired       faculty                                 13    Dongguk             University                  to    evaluate            our school

14    members          taught           classes          at    Dongguk                                                         14                       Thereforc                    we     had        to    create        an

15                Close          to    all                                                                                     15    evaluation               room according                       the       their    requirements
                                                                                                                                                                                                                    And
16                   Flow    many of them                                                                                      16    And we had                 to    furnish              that    room                         cost     of

17                Ihavetosayall                                                                                                17    labor      Transportation                            cost     for      Legal         Education

18                Have the newly                        hired        faculty         members                                   18    Committee                 members                    Money             for     their       meals          Its

19    taught     classes          in    Dongguks                 graduatc            law         school                        19    the    entire       money             that       was spent               for     the

20                Yes some                                                                                                     20    application               process
21                Plow       many of them                                                                                      21                  When              did       Dongguk             spend            that    money
22                Two        or       three                                                                                    22                  Some were                    spent           before        2007              However
23                Have       the        22    newly            hired       faculty          members                            23    itwas mainly spent between                                         October            to    December
24    conducted         academic                research             at   Dongguk                                              24    of 2007

25                    dont know                                                                                                25                  When              did       Dongguk             submit            its
                                                                                                                                                                                                                            application



                                                                                                                                                                                 20              Pages                      180            to         183
                                                                                                      Sanders            Gale        Russell

                                                                                                                  203        6244157
              Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 131 of 184

0ONGGUK                    YALE          UNIVERSITY                                                                                                                                                                           August                 11   2010



                                                                                                             Page      184                                                                                                                 Page           186

       for     approval            to    open            U.S       style          law     school                                                       What arguments                           did   the     Dongguk
                      November                  30th 2007                                                                             University             Foundation                       make      in the        lawsuit


                      Turning            to     the      examples              item       Mr          Jeon                            regarding             the     refusal              to    permit       Dongguk            to    open
       which         is    subsection                      What         does        the       amount                                  law        school

       expended             during            lawsuit represent                         That         is    what                                     Dongguk                    University             is    claiming          that    the

       did     Dongguk             spend           the     money         on                                                           rejection         was              wrong decision
                           THE          INTERPRETER                               Which                                                             Why                 That        is    what        were      Dongguks
       subsection                                                                                                                     reasons          as    stated            in the         lawsuit

                      Immediately                  below          number                                                                            Because               theres                big    ditference

 10                                                                                                                             10    between           the       quantitative                  evaluation score and                       the

 11                   Immediately                  below          subsection                    is                              11    qualitative            evaluation                   score          For our school
 12                  Oh       sony                                                                                              12                      THE INTERPRETER         May the
 13                   My      question             is    what      did        Dongguk                spend                      13    interpreter        ask Mr Jeon to clarify something
 14    that     money         on                                                                                                14   please
 15                  For attorneys                                                                                              15                  Were            claiming                  that   the                Education
                                                                                                                                                                                                            Legal
 16                  Anything                 else                                                                              16    Committee members                                  made the determination                            on    their

17                   Fees       and        costs         for the       courts                                                   17   own         unilaterally
18                   Didnt          the       Dongguk             University                                                    18                  Was        that           not    permitted
19     Foundation             file      the       lawsuit regarding the law                                                     19                  That          the     Legal           Education             Committee
20     school        selection                                                                                                  20   members             did       not score based                       on    standard         scoring
21                   Yes                                                                                                        21   They gave               scores            on    their       own        discretion
22                        THE        INTERPRETER                                  Could              the                        22                  Did                                  claim anything
                                                                                               --
                                                                                                                                                              Dongguk                                                  else     in the

23    attorney            repeat        the     question please                                                                 23   lawsuit
24                   My      question              was didnt             the       Don gguk                                     24                  Yes
25    University            Foundation                   file    the    lawsuit           regarding                             25                  What

                                                                                                            Page       185                                                                                                                 Page           187

      the     law    school          selection                                                                                                      15 schools                  were           chosen         and     the     14th

                     Yes                                                                                                             school        was rejected                      And         Kang         Won       University
                     So     why         did    Dongguk                 University              pay         the                       which        scored            19th highest                     was    selected          instead           of

      lawyers and             court           fees                                                                                   Dongguk            University

                     Well            have         to    explain         to        you    about                                                               mentioned                   to    you     before          that

      Korea          Well only                 private          citizens           or                                                some of           the    Legal            Education               Committee members

      corporations              can        file    suits         Dongguk                University                                   were        law    school            professors                   The law does                 not

      is    not      corporation                   Therefore                 it    cannot           file                             allow                         to     be        involved           in this        scoring
                                                                                                                                                  anyone

           complaint            Thc           plaintiff         in this           lawsuit       is
                                                                                                                                     process           who has                interest          in the      outcome           of     the

10    Dongguk             University                as          corporation                   However                        10      scoring            Some of                the       committees              members
11    Dongguk             University               has been            delegated               to    hire        the         11      violated          this       law         because           the    school         they     worked
12    attorneys             And pay               the    monies                                                              12      for also          applied           for        law       school        approvals

13                   Who      is     the      plaintiff--              strike           Who                                  13                     Did Dongguk                          make any             other     arguments               in


14    was      the   plaintiff           in the          lawsuit        regarding              the                           14      the    law     suit

15    law     school        selection                                                                                        15                     Thats          what              can        remember
16                   Chairman              of     the     Dongguk                 University                                 16                     Did      Dongguk                     make any arguments                         relating

17    Foundation                                                                                                             17      to    the    Shin       incident

18                        MR       FETNER                   Lets        take            very                                 18                    No
19    short       break      just        so the videographer                            can     change                       19                     Why not
20    the     tape                                                                                                           20                        have         to    think           clear       myself           The
21                        THE       VIDEOGRAPHER                                    Off the record                           21      fact    that      we     received               quite           two      different        scores

22    311                                                                                                                    22      in quantitative                    and     qualitative                evaluation          is    an

23                Recess           taken                                                                                     23      evidence           that       it    is    related          to    Shin Jeong

24                        THE       VIDEOGRAPI-IER On                                         the     record                 24      Ah-Gate
25    314                                                                                                                    25                    Mr        Jeon my Question was why didnt


                                                                                                                                                                                    21           Pages                      184            to         187
                                                                                                          Sanders        Gale        Russell

                                                                                                                   203   6244157
             Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 132 of 184

DONGGUK                  YALE           UNIVERSITY                                                                                                                                                                      August             11   2010



                                                                                                                 188                                                                                                                 Page       190
                                                                                                       Page

      Dongguk               make any arguments                          in    the    lawsuit           about                   year anniversary                      in    2007
.2    the     Shin       incident                                                                                                             No He                 just   took       100th year

                            MR         WEINER                  Are you            talking        about                         anniversary               as     an opportunity                    to    raise       money            for


           Complaint             or       lawsuit                                                                              thc     school

                           MR      FEThER                     The damages                  analysis                                           In    2007
      which         is   the     document were working                                   from     refers                                      Yes
     to          lawsuit                                                                                                                      Mr         Jeon Id            like     you         to    look        at the

                           MR          WEINER                   understand                 but    is                           table     towards              the     bottom         of page

      he    referring            to the       Complaint               or the        lawsuit                                                   Yes
10                         MR      FETNER                       dont know                 what                            10                  Does         that      table       represent President
11    hes        referring        to     but     Im      referring            to    the                                   11   Ohs      fund-raising                  goals       over          the    course           of    his

12    lawsuit                                                                                                             12   presidential              term
13                       dont      know                                                                                   13                  Yes
14                   Ivir       Jeon could           you         turn        to
                                                                                   page          of                       14                  And         the       line   beneath              that    represents

15   the     same document                         Im     going        to     ask you         some                        15   the     amount of money                        that        Dongguk                 received          in


16   questions about                    the    section          of     this       document                                16   furtherance of those                         goals
17   relating         the       donations            As with            the        previous                               17                  Yes However                         included              in these

18   section          if
                            you    need        any help               following            the                            18   numbers             are    some money                  that        ws         promised               before

19   document               please        ask      the        interpreter           to    help    you                     19   that    year
20                  Ycs                                                                                                 20                    My         understanding                    is   that     this table            is


21                  What was              President              Ohs         goal     of    raising
                                                                                                                        21     meant      to       represent              what     portion             of President                 Ohs
22   100         million        dollars       in    donations               based        on                             22     goals     have           been        received         in        donations                Is   that

23                  2006         was      100th          anniversary of                  Dongguk                        23     correct
24   University                 There         was         group         of people            who were                   24                Yes              However                you          have     to    consider              the

25   passionate             about        developing                  Dongguk             University                     25     fact    that    the       number            that      is    shown            here under


                                                                                                       Page      189                                                                                                                 Page       191

     Mr Oh           had        connections              to     political           and    business                            amount received                       some of              the    money             that      are     added

     circles         And         based        upon those factors                          this                                 in this    figure           may be           the    ones          that       were         promised

     number was                  calculated          by        Mr Oh                                                           in    previous years
                    Didnt         President          Oh become                     the                                                    And            presumably               some of the money

     president           of     Dongguk             in   2007                                                                  promised            in    these        years       would be received                           in

                    He      was        elected      in        December              of    2006         and                     subsequent                years        correct

     he    started         to    work     in     March           of    2007                                                               Yes They                     can       make            people           can        make

                    So hadnt             Dongguk               already            celebrated                                   promises            to    give        in      lump sum                  or    in    smaller

     its    100th        anniversary before he                          became            president                            amounts         each           year
10                  Yes                                                                                                 10                     low much of President Ohs                                          goal       amounts

11                  So          dont     understand                   how     he could           have                   11     was pledged                to    Dongguk              in        each     of    these          years
12   raised        money          in    connection               with        that    100th                              12                         THE INTERPRETER                                      May         the

13   anniversary                                                                                                        13     interpreter              ask    the     attorney            to    repeat           the

14                  The 100th year                  celebration                   does     not end                      14     question please

15                 one                  You know                      will                                              15                How             much of President Ohs                                   goal       amounts
     in just                day                                  it
                                                                                  develop        as

16   the    year goes             by      100th      year             lOith year            102                         16     was pledged                to    Dongguk              in        each     of    these          years
17                                                                                                                      17                Its        in the          examples              page
     year
18                  Did         Dongguk            raise       money          in celebration                            18                    Well Im asking about the total
19   of    its    WOth          anniversary              in    2006                                                     19     amount          The total amount of President Ohs
20                  No  Not on that day                                                                                 20     goals
21                 Well Im not asking about      day Im                                                                 21                You            are        asking       about          the     pledged

22   asking        about the entire year of 2006                                                                        22     amount              This        is   the    amount received
23                  Yes                                                                                                 23                Correct                   Im     asking              how much was
24                  And                                       that    President            Oh                           24     pledged         in       each        of those years
                                youre         saying
25   raised        money          in    commemoration                        of    Dongguks              101st          25                     have           to    see    the     examples                 page


                                                                                                                                                                           22         Pages                         188              to         191

                                                                                                  Sanders          Gale        Russell

                                                                                                             203       6244157
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 133 of 184




            EXHIBIT                            85
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 134 of 184




     FILED UNDER SEAL
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 135 of 184




            EXHIBIT                             86
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 136 of 184




     FILED UNDER SEAL
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 137 of 184




            EXHIBIT                            87
       Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 138 of 184

DONGGUKv     YALE                                                                               Odober   27   2010




                                                                                                     Page

       IN    THE     UNITED      STATES      DISTRICT      COURT

       FOR    THE     DISTRICT         OF CONNECTICUT

       CIVIL        ACTION                               RNC


      DONGOUK UNIVERSITY

                          Plaintiff

                    -versus-                                            CONTAINS

      YALE     UNIVERSITY                                         CONFIDENTIAL

                            Defendant                                  INFORMATION




                          30b        GDeposition          of    SUN     IN      LEE     taken


      pursuant         to      the   Federal    Rules      of    Civil          Procedure

      at     the    Law     Offices     of    Day   Pitney        LLP             Audubon

      Street         New       Haven    Connecticut             before          James

      Nartone         LSR       248     and    Notary      Public            in   and    for

      the     State       of    Connecticut         on    October         27      2010     at

      1008          a.m




                                               Sanders Gale           Russell


                                                    203    6244157
                   Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 139 of 184

DONGGUK                       YALE                                                                                                                                                                                            October             27 2010


                                                                                                                     Page   86                                                                                                                  Page    88

                              believe          it    was              part of centennial                                                  took        back      the pledge
                                                                                                                                                                                           paper  When                    arrived         at

       celebration                event             in    2006            No       no According                      to                   the school            in       2008         they    were telling                me       about

       my         recollection                       started                the time            of the                                    this        So       had
                                                                       at                                                                                                 to           very very hard                    to   change
                                               it
                                                                                                                                                                                try

       centennial                celebration                    in    2006                                                                his    mind back                to    original         pledge          and          received

                         And when                   did that           campaign                end or has                                 .1    billion       won         pledge            from him               By    the    end of
       it   ended                                                                                                                         2008           received              as          result     50 thousand                  dollars

                         it   became                --    it   was        discontinued                  when                              from him               Approximately                       50 million won                     in   Korean

      joined         The        university                 in       2008      because              of the                                denomination or currency Remaining                                                     half      was    to

      negative                feelings          by the alumni                       for     the     school                               be paid according to him step by step

 10   So          intemipted                 this         campaign                                                                 10                    Did        Mr         Kim      tell
                                                                                                                                                                                                you       --   or    strike        that
 11                           have      the      same               questions for the next                                         11     Was      Mr         Kims               billion        won        pledge         made          in

12    campaign                   The Tuition                        Donation           For Dongguk                                 12    connection                 with       one of these               particular
13    Juniors                                                                                                                      13     campaigns
14                      The same answer                               for    this                                                  14                   No
15                      Also         began            in       2006       and ended                in   2008                       15                         THE INTERPRETER                                      Repeating              the

16                      Yes                                                                                                        16    question              Would            you repeat the question again
17                      And       the        same question again                               for the                             17                    Well sure                    My       question         was was                 Mr
18    Come           Together                with          108        Project                                                      18    Kims                billion       won        pledge         made           in   connection
19                      No        This         campaign                   started         in    2007                               19    with      any of the three                     campaigns               listed        on page
20                      And when                    did        it   end                                                            20    in that        chart
21                      The pledges                      were obtained                    in during                                21                   Not         to    my     recollection                  because          since

22    that     year            And      the         amount                shown        here         reflects                       22    President            Oh         joined       the     school he met with many
23    the     amount             that        we       actually              received           from the                            23    important             individuals                 to urge them to make

24    pledges            made         that          year During                     the     campaign                               24    donations             to    the       school           The pledge made by un
25    Come           Together                with     108 Project                                                                  25    Moon Kim was                      The        result     of President Ohs effort


                                                                                                                 Page       87                                                                                                                  Page    89

                        Does         Dongguk                    know why              the people               who                                            When          Shin       Jeong Ah scandal                       broke

      made         pledges            for      those                campaigns             did not        all                             out he became                     extremely                indignant              He      sent

      fulfill      those         pledges                                                                                                 letter       that     he    is    withdrawing                 his     pledge         to    the

                          cannot         tell
                                                      you about               all     different                                          school            And       then        he    took         the pledge
                                                                                                                                                                                                                         paper
      cases               can     explain                 to    you about the portion of                                                 itself       and he ripped                   it
                                                                                                                                                                                            up while           our    employees
      the reasons                    Im      sorry               have just forgotten                                                     were watching
      the    original            question                                                                                                               With respect                   to    each of         the     three

                     The question is does                                   Dongguk                know        the                       campaigns              identified              in     the chart         on page                 that


      reason         that        people             who made                 pledges            to those                                 is    the Buddhist                Youth            Leaders          Education             Fund The
10    campaigns                 did not             all    fulfill        those       pledges                                      10    Tuition         Donation               For        Dongguk             Juniors          and The
11                      Its    difficult             for        me    to    tell
                                                                                    you the                                        11    Come          Together             with        108     Project             does      Dongguk            know
12    reasons           for      everyone                  but         can        you about
                                                                               tell                                                12    the reasons             that       donors           who made               pledges             did not

13    the    --    some          of   their          reasons                Reasons for some                                       13    Iblfillthem

14    of    them Again                       Im           saying            cannot          tell
                                                                                                     you       the                 14                   After             joined        the university                   in   June

15    reasons           for      everyone                 not keeping                 their        pledges                         15    of 2008               believe           it   was around               October             of   that

16    but         can             you the reasons                           about         for      some of                         16                  made          reminder               calls    to    remind them of
                          tell
                                                                                                                                         year
17    theni                                                                                                                        17    their    pledges                 As          result        many        people          actually

18                   Please           tell     me          the reasons                for      whatever                            lB    paid         Yet      some         of      them responded                   by saying not
19    people         you can            tell        me                                                                             19    to    call    them again and some                                 wasnt           even able
20                   In       case    with           Jin        Moon Kim                                space                      20    to    reach       by phone              call          So by      this      year
21          00                space      Kim               he       pledged         that       he       would        make          21    stopped         making             an      effort      to    collect        from the

22         billion        won                billion                won     for    2007         in eiTher                          22    previous            yea           pledges
23    March          or   April of             that
                                                 year                                                                              23                   Mr       Lee my               question            was does            Dongguk
24                        Once          the Shin    once                           Shin     Jeong                                  24    know         the reason               that    the people              who made                 pledges

25    Ah     scandal             broke         out he canceled                         hispledge                 He                25    for    those        three        campaigns                 didnt      fulfill        them


                                                                                                                                                                                             23           Pages                     86          to     89
                                                                                                           Sanders          Gale         Russell


                                                                                                                      203    624        4157
                   Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 140 of 184

DONGGUK                   YALE                                                                                                                                                                                 October               2t    2010



                                                                                                               Page      90                                                                                                         Page    92

                     As          answered           to                   previous                                                      in2007
                                                          your

       question             would            not   know            the reasons                 for                                                   Hes      not      type    of person          who         to write

       everyone            not keeping              their         pledges            but          know                                      formal    withdrawal             letter        His    major was to
       about       some         of them                                                                                                begin      with     physical       education              and he had                   hot

                     Okay                                                                                                              temper
                     And          explained             the       --   and           explained                                                       Other     than      Oh Hyun Kim                   does     Dongguk
       the current          situation                                                                                                  know       the reasons          why     any     of the otherpledges                          for

                     The only person                     youve            identified              as                                   the 100th                                       campaign              were not
                                                                                                                                                          year anniversary

      having         specifically             not    flulfilled                 pledge          is     Jin                             fulfilled

 10   Moon Kim My                        question            is    about         people           who made                      10                    have        to think     about       it    Right        now
 11   pledges         in   connection               with          these        three       particular                           11     cant    come        up with       any other cases
12    campaigns                                                                                                                 12                    MR          FETNER              Were             few minutes
13                   Theres            nothing            can       think           of    right
                                                                                                                                13     past    500         Why      dont we break                for   the day            and
14    now                                                                                                                       14     pick    up    in the       morning
15                   If   you look            at   the bottom                  of
                                                                                     page
                                                                                                                                15                    THE VIDEOGRAPHER                                   Off the record
16    theres          reference              to the 100th                Year            Anniversary                            16     505
17    Development                 Fund        Campaign And                               youll       see      at   the          17
18    top of the next              page            chart
                                                 identitiing amounts                                                            18
19    that    were pledged            and received  in connection  with                                                         19
20    that    campaign                                                                                                          20
21                   Yes                                                                                                        21
22                    have        the     same          question               for   this                                       22
23    campaign             as     did for the previous                           ones           Does                            23
24    Dongguk             know         the    reasons             that     people           who made                            24
25    pledges        did    nt         fulfill     them                                                                         25

                                                                                                                         91                                                                                                     Page        93
                                                                                                              Page

                      know         about           one case               It   involves              Oh                                                                                have        read        the

      HyunKimOflspaceHYUNspaceOH.--last                                                                                                foregoing          transcript      of the testimony               given           at    my
      nameKim                   KIM            NotOh                                                                                   deposition         on                                           and     it   is   true


                     What        do you know                 about             Mr        Kims                                          and accurate          to   the best      of my knowledge                     and

      reasons        for not           fulfilling            pledge                                                                    belief as     originally          transcribed         and/or        with          the


                   During the 100th                      year anniversary                                                              changes       as    noted     on the attached              errata       sheet

      campaign             he    pledged           --   he    pledged                500 million

      won       And        he    pledged           that      to     be paid during the

      years    2007        and 2008                 When           Shin         Jeong Ah scandal
10    broke     out he became                      extremely               indignant                 and he                     10          SUN      IN LEE

11    withdrew            his    pledge                                                                                         11
12                 Did he say why he was withdrawing                                                    his                     12                  SUBSCRIBED AND SWORN TO BEFORE                                                         ME
13    pledge                                                                                                                    13    the undersigned               authority         on   this


14                    heard        the reason             from himself                                                          14     the_________                day    of                                                   2008
15                 Whatdidhe                  say                                                                               15

16                    am        very     close      to    him currently                        He                               16
17    said although              he made            the pledge                 in    2006 when                                  17

19    Shin    kong         Alt scandal              broke           out he               started                                18     NOTARY              PUBLIC
19                                                                       about           the   school                           19
      feeling very              poorly negatively
20    And     that    he was withdrawing                            his        pledge             And he                        20    My     commission             expires

21    said   all   this     while        he    was smiling to                        me                                         21

22                 Whendidhesaythat                                                                                             22

23                    think       it   was around                  May         of    2009                                       23

24                 Did he send                       letter         or any           other                                      24
                                              any

25    document indicating                      the withdrawal                        of his          pledge                     25

                                                                                                                                                                                24          Pages                    90             to     93
                                                                                                       Sanders Gale                    Russell

                                                                                                                   203    624        4157
             Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 141 of 184


DONGGL.X         YALE    UNIVERSITY                                                              October   28   2010




                                                                                                     Page       94

           IN    THE     UNITED        STATES     DISTRICT     COURT

           FOR     THE       DISTRICT       OF   CONNECTICUT

           CIVIL        ACTION        308-CV-0044l        RNC


           DONGGTJK          UNIVERSITY

                               Plaintiff                               VOLUME       II


                        -versus

           YALE     UNIVERSITY

                              Defendant




                    Continued          30b       6Deposition           of     SUN   IN    LEE

           taken        pursuant to the            Federal     Rules         of   Civil


           Procedure           at     the   Law Offices        of     Day Pitney           LU
             Audubon          Street        New   Haven       Connecticut            before

           James             Martone        LSR ff248        and     Notary       Public    in

           and     for the       State      of    Connecticut          on     October      28

           2010         at   917 a.m




                                                    Sanders Gale        Russell

                                                       203     624    4157
                    Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 142 of 184


DON600K                   YALE      UNIVERSITY                                                                                                                                               October           28   2010



                                                                                  Page   95                                                                                                               Page       97

                      APPEARANCES
             For    the    Plaintiff


            McDERMOfl                  WILL         EMERY       LLP
            340    Madison        Avenue
            New York New                York       10173-1922

            BY AUDREY LU ESQ
              212          541-5408



            For    the    Defendant

 10         DAY PIThEY LLP
 11         242    Trumbull         Street
                                                                                                10    ARIEN               GREENE               Interpreter having                            been     previously

 12                         Connecticut        06103                                            11    first     duly        sworn        interpret                the testimony               of the
            Hartford
 13         BY HOWARD                   FETNER         SQ                                       12    witness

 14         AND FELiX                   SPRINGER        ESQ                                     13    SUN           IN LEE
 15               860      275   0100                                                           14    Dongguk  University
 16                                                                                             15    Seoul Korea
17          ALSO             PRESENT                                                            16    Called          as      witness having                         been           previously        first

18          Robert       Brown       Videographer                                                                                                                                                     Public
                                                                                                17    duly      sworn by James                                Martone                   Notary
           Geornairix        Productions
                                                                                                18    in     and     for    the     State      of Connecticut                          was
19
                                                                                                19     examined              and     testified               as    follows
           Arien     Greene         liflerpreter
                                                                                              20                           THE VIDE000RAPFIER On                                                  the record
20
                                                                                              21      917
21
22
                                                                                              22                           MR       FETNER                        This         is   the   rule


23                                                                                            23      30bX6               Deposition               of    Dongguk                    UniversIty

24                                                                                            24      designating              Sun       In    Lee       as        the     deponent              Recorded

25                                                                                            25      on October              28th         2010          in        New          Haven        Connecticut


                                                                                  Page   96                                                                                                              Page       98

                          W1TNESS            INDEX                                                                    This        dcposition            is    being        taken       in


                                                  PAGE                                               the     case     of    Dongguk           University                versus         Yak
      Continued            Direct      Examination  by Mr         Fether          98                 University              And was           noticed             by     the       defendant

      Cross       Examination by             Ms Lu                      186                                           The      videotape            operator              is    Bob
      Redirect       Examination             by Mr Fetner                   192                      Brown           of    Cleomatrix          Productions                     270 Amity          Road
                          EXHIBIT INDEX                                                              New Haven                Connecticut

      DEFENDANT                         DESCRIPTION                               PAGE                                This     is        continuation                   so the

           Statement         of Confirmation                          109                            same       stipulations            are   in
                                                                                                                                                   place             The        witness      and

           Statement         of Confirmation                          117                            interpreter           have     been      sworn                 am Howard                Fetner


10         Verification          Statement                        141                         10     of    Day Pitney             for   Yale       University

11         Statement         of Confirmation                                                  11                      MR          SPRINGER                        Felix    Springer           Day
12         Shinsung         Phannaceutical           Company      Letter          162         12     PItney         for    Yale     University

13         List   Of      Contribution         and Covenants For                              13                      MS LU               Audrey              Lu     of    McDermott
14         Development           Funds                            176                         14     Will           Emery         for    Plaintiff            Dongguk                University

15         Letter    dated       March       30 2009                  184                     15                      MS PARK                      Michelle Park

16    10    Handwritten             document prepared                              191        16     translator               Dongguk
                                                                by witness                                             by                       University

17                                                                                            17                      THE INThRPRETER                                     Arien Greene

18                                                                                            18     interpreter

19                                                                                            19     CONTINUED                    DIRECT EXAMINATION                                         BY     MR   FETNEIt

20                                                                                            20                    Mr      Lee     do    you understand                        that   you    are

21                                                                                            21     still    testilSing       on    behalf         of   Dongguk                    University

22                                                                                            22                    Yes

23                                                                                            23                    Does      Dongguk              keep       any documentary

24                                                                                            24     record         of pledges          and donations

                                                                                              25                    Yes



                                                                                                                                                                          Pages                     95    to        98
                                                                            Sanders      Gale         Russell

                                                                                   203    6244157
                   Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 143 of 184


DONGGL1K                 YALE          UNIVERSIIY                                                                                                                                                                         Odober                25   2010



                                                                                                                 Page     99                                                                                                              Page       101

                       I-low    does        Donggtik               record             pledges                                        amounts             but        it   is    difficult           for    setting         goal

                       First    we     maintain              pledge              letters                                             for individual                    campaigns
      themselves and then                             we    also enter                that                                                               Let        me        give         you an example                   Right
      information               into        computer                                                                                 now we             are       trying to build                     pharmaceutical

                       Does Dongguk                    send             letter         or    any                                     college            meaning new building                                for    the    school

      correspondence                   to        donor making                           pledge          in                           And      the cost      was approximately  20                                   billion       won
     order        to    confirm         the      pledge                                                                              In    that        case however we  do not set                                       goal of          20

                       Before      myself                  dont know                   what the                                      billion           when        we         run our         campaign             to    fund     that


     practice           was       But since                  started          working                                                project
10   make         phone         calls    to      appreciate                 and show our                                        10                     Does Dongguk                         ever     set         fund-raising
11   gratitude           to    the people              who pledged                       During                                 11   goal     for         particular                  fund-raising            campaign
12   those        phone         calls       we        confirm            their        pledges          and                      12                     Not     as      far     as          could     recall
13   also     remind them of the                           details          of    their       pledges                           13                     Please turn               to                   of the same
                                                                                                                                                                                       page
14                 Does          Dongguk               make any                  other       sort      of                       14   document                  In      the     first       paragraph beneath                      the
15   record        of pledges                                                                                                   15   chart        at   the top of the                               theres              reference
                                                                                                                                                                                       page
16                 Nothing                            can                         the                                           16                                       President            Members Campaign
                                       else                  recall          at                                                      to      Dongguk
17   moment                                                                                                                     17             Yes
18                 What          does       Dongguk                do to record                                                 18                     The document                        states    As            result       of the
19   donations                                                                                                                  19   extremely              negative             response                from     its    alumni
20                 The same with                      that         We       also        enter        that                       20   Dongguk             was forced                    to    cancel        the    campaign
21   information               into         computer                                                                            21   entirely               Referring                 to    the Donggulc                President

22                 Does     Dongguk                    keep individual                       files     on                       22   Members             Campaign                          What      did    that    response              from

23   particular           donors                                                                                                23   the alumni                 of
                                                                                                                                                              consist

24                 We         havent hadthat                      kind       of cases                We                         24                       THE INTERPRETER                                         What       did      --


25   do not maintain                   individual                files                                                          25                     What        did        that     response            from the alumni


                                                                                                            Page        100                                                                                                               Page       102


                   Does         Dongguk               send        letters         or any          other                              consist           of
     sort    of writing           to    either         --    or    to    thanlc         donors                                                         The     distrust           that       was      implanted            in   them

     for their          donations                                                                                                    due     to    Shin        Jeong           Ah          scandal         and     feeling

                         ThE INTERPRETER                                         Any        other                                    betrayal            and       disappointment                          And      those       are       the

                   Does         Dongguk               send         letters        or any other                                       kind     of of       feelings they seem to have                                     felt


     sort    of writing           to    thank          donors            for their                                                                     How do you know that
     donations                                                                                                                                         When              was        told     that     the    campaign             was
                   Yes                                                                                                               going        to    stop             heard         about        the reason            from        our

                 Mr Lee                do you          still       have Exhibit                        in                            staff        But     if      you look             at     it this      campaign             was

10   front    of you                                                                                                            10   carried out              in    2007              When          the    staff    members

11                 Yes                                                                                                          11   called       the    alumni what they were asking                                           in    turn

12                 Please        turn to       of that document                                                                 12        what the school                      was          doing          They     didnt
                                        page                                                                                         is


13   And          show         you the document only as    reference                                                            13   understand               what was going                        on with the school
14   for    the   particular            campaigns                  im asking             you                                    14   With the Shin Jeong                              Mi     related        scandal

15   about         With respect                  to   the Buddhist                     Youth                                    15                     Who        didnt          understand                what was going                  on
16   Leaders            Education           Fund           Campaign                   was there                                 16   with     the       school
17   particular fund-raising                          goal       for     that         campaign                                  17                     Alumni members               They were saying
18                 We         dont usually                 set    up any particular                                             15   because            of Shin           Jeong Ah scandal they dont even
19   goal    for       campaigns                 What Im                saying          that      we        do                  19   want to look                 at     the school They didnt want to

20   not    set   any      goal          meant             in    terms           of    monetary                                 20   attend any events                        held by the school                        they said

21   amounts             Our goal           is    to       raise       as   much             as   we                            21   According               to    our staff                that    was what they heard
22   could                                                                                                                      22   from the alumni they spoke to

23                 Is    the    same        true       for       all    of Dongguks                                            23                      Can you            tell      me      the     names         of any        alumni

24   fUnd-raising              campaigns                                                                                       24    who      said       that

25                Although we have                           yearly          target          goal                               25                     Iwasnttoldastowhothose


                                                                                                                                                                                                    Pages                   99            to     102
                                                                                                       Sanders Gale                  Russell


                                                                                                                 203          5244157
                          Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 144 of 184


DON000K                        YALE         UNIVERSITY                                                                                                                                                                       October                28    2010



                                                                                                                   Page   103                                                                                                                 Page       105

      -t    individuals           were          at    the      time            Yet          myself7                                     the trouble            the university                   was in due                  to    Shin

            heard       about         the    same         stories          from the alunmi                                              Jeong         Ah      scandal           he     said     he received                       phone
            since         started          working             for    the school                                                        call     that      said they        were organizing                             such           group
                               And         if   you ask me the names of                                                                 as campaign                 as     Dongguk              President              Members
            those       people              can       give      you       their        names Yoon                                       Campaign and asking for assistance  So he said

            SoepChoi YOONspaceSEOPspaceCHOI                                                                                             he -- he approached the
                                                                                                                                                                person
                                                                                                                                                                       whom he spoke to
            Jae Kwon Lee  space  ON space Lee                                                                                           And           heard        about        this    from him          either                 in

            Those       are     the people                       whose               name           remember                            September or October                            of   2008
            right      now                                                                                                                              When        was the Dongguk                      President                     Members
 10                       Are those people                      just so                understand                                 10    Campaign              canceled
 11        the people             you      just      named            are they alumni                        who                  11                    According to what                         know            it    was
 12        responded            negatively                to    the       Dongguk                 President                       12    canceled           two weeks                 approximately                 after          the

 13        Members Campaign                            in      August            2007                                             13    campaign              started       in   August            2007
 14                       As       stated         before                  was not           at    the                             14                    Who made the                   decision         to   cancel                   it
 15        school       at     that    time so                 was not               told    about           the                  15                    My predecessor                       And         its       not           and
16         names        of those            individuals                        spoke         to    these       two                16    but    after       the decision              he      reported        it   to        the

17         people         after        started         working                 for     the school                                 17    President

18         And      they expressed                        lot    of discontent                    they       felt                 18                    Ifyou       look        at   the next paragraph                           of
19         about       the school                                                                                                 19   page             Mr      Lee        theres               discussion              of
20                        Did     either         of    them say anything about                                                    20   something called                    The          Tuition         Donation                      Campaign
21         the    Dongguk             President                Members Campaign                                                   21    Is that       the     same campaign thats                        referred                 to    as

22                        Mr      Lee was one                   of the          members                 of the                    22   the Tuition             Donation              For     Dongguk              Juniors              Campaign
23         Dongguk             President             Members                                                                      23   on page                or   is    that          different        campaign
24                             MS      Park               think       he said                                                     24                    Different
25         candidate           of the members                                                                                     25                    Was      there any             fi2nd-raising              goal           set    for



                                                                                                               Page       104                                                                                                                Page        106

                             would         say candidate                                                                               the    tuition         donation           campaign           thats          discussed                  on
                               ThE INTERPRETER                                        Two         different                            page

           things         interpreter             was       told      two            different                                                        Notasfaraslknow
           things                                                                                                                                     Does Dongguk know why                                  pledges                   made        in

                               MS PARK                      Oh        you were                   told    two                           connection             with       the     tuition         donation              campaign
           different         things                                                                                                    were not fulfilled
 .7                          ThE INTERPRETER                                          He was                                                          Would you                 repeat the         question
           correcting          himself               He     said      in       other        worth            hes                                      Docs         Dongguk              know why             pledges                   made        in

                member of this                  President            --
                                                                          Dongguk                  President                           connection             with       the     tuition         donation              campaign
10         Members              So         decided             adopt           his    conclusion                                  10   were not fulfilled
11                      What               what was              Mr        Lees connection                                        11                  Yes
12         to    the   Dongguk             President             Members                    Campaign                              12                  Why
13                      Let     me      tell      you about               the        Dongguk                                      13                  Bythetimearrived--Iarrivedatthe
14         President           Members               group           They             are the people                who           14   school         in   2008         there        were no pledges                             When we
15         are    the   owners or CEOs of corporations                                                  If     am                 15   tried     to     get   pledges the reaction                       from the
16         to describe          this       group       in        different              way             then                      16   people         was      that      they        were not going                    to    make          any
17         they are the           potential            donors who have                             had who                        17   further        pledges and due                      to    Shin    Jeong               Ah
18         have capacity              to    make          contributions                          In case                          18   scandal

19         with     Jae    Kwon Lee                   since he            is          business           owner                    19                       Even         before            arrived       there

20         and    at   the     same time hes an alumnus                                          so he                            20   hadnt been any pledges in 2008 during the                                                        first

21         belongs        to   that     group                                                                                     21   half of 2008 So   stopped the effort to get

22                      What           still      dont understand                           is    did                            22    pledges             Yet     in    September and October  we sent
23         Mr  Lee say anything to you about                                           the        Dongguk                        23    out reminder                calls   and eventually we were able to
24         President Members  Campaign                                                                                           24    collect        certain       amounts
25                      Despite            the massive                situation              and         and                     25                        We      also ran               reminder        campaign                      in




                                                                                                                                                                                              Pages                         103              to         106
                                                                                                             Sanders Gale              Russell

                                                                                                                     203        6244157
                         Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 145 of 184


DONCGW                       YALE           UNIVERSITY                                                                                                                                                                 October        26    2010



                                                                                                             Page       107                                                                                                     Page        109

       2009             After running                    that     reminder           campaign                in                     that    campaign                he promised                half    billion          won and
       2009              realized           that      we were            not getting                                                he     was planning
                                                                                                                                                      pay            to               for     the    pledges           during       the

                                                                                                                                    years 2007 and 2008
       anywhere                    and     the response                 was not good                     By 2010
            had completely                       stopped           even        reminder             campaign                                           When         Shin         Jeong        Ah     scandal           broke

       was stopped                                                                                                                  out he became                   extremely               disappointed                he
                         Mr        Le          my     question           was not why were                                           canceled          his     pledge And                      believe           this    was the
       additional              pledges              not    made my              question               was why                      same answer                 gave to you yesterday
       did people           who made                       pledges        not       fbfill        them                                           It    is    and   guess my question                             is    for

                         When we ran                     that     reminder           campaign                  we                   people       other than            Mr Kim                  does       Dongguk             know    the
 10    were         told                  we     should         run the school                                                10
                              that                                                                in   an                           reasons       that       they did not                lblfill     pledges
 ii    appropriate                 manner             and       that     they       were so                                   11                 Nothing            else          can       recollect           for    the

 12    dissatisfied                 they         would          no longer give any money                                      12   moment
 13    to   the school                                                                                                        13                      MR           FETNER                 Mark        this
14                       Who        said         that                                                                         14                      Defendants                   Exhibit             marked
15                      Those            people          who had made                                                         15                For identification
                                                                                       pledges
16                      Who                                                                                                   16                 Mr Lee Fm showing                                  you whats been
17                      The campaign                       was run by           my         staff         and                  17   marked Exhibit                          It    consists           of  Korean
18    they did not                 tell     me       the individuals                  names                                   18   document and an English                               translation                   would
19                      How many people said that                                                                             19   like    you to focus               on the Korean                   document                but

20                      My staff team leader reported                                      to     me                          2d   youre        certainly           welcome              to look          at    the English

21    that     it   was going                  to   be useless and                  that     it                                    as    well    if   youd like                  Have         you seen           this

22    wasnt             going       to     work            Without            any hesitation                                  22   document            before
23    accepted               his    recommendation                        because                 had       already           23                 Yes           have
24    heard         about          enough            complaints               and     dissatisfaction                         24                 What         is    this    document                  Im        asking        only
25    for     the school              through              such        individuals           as        Yoon                   25   about     the      Korean

                                                                                                             Page     108                                                                                                       Page        n.e


      Soep Choi or                   .Jae      Kwon Lee                  So         did not doubt                                                Let     me        point        out    some typographical
      the     --
                    my       staffs        stories                                                                                 error

                        Mr         Lee do you know                       any     more than                                                            MS LU Mr                        Lee Howie                 just    wants

      youve             already           told      me     about        peoples            reasons           for                   you to look           at    the    first       page
      not     fulfilling            pledges           that      were made              in                                                       My       question               only pertains              to   the     Korean
      connection               with         the     tuition        donation           campaign                                     page
                        Nothing                can       think     of    at    the    moment                                                    Im sorry Statement of Confirmation
                        Im     not sure             if     asked        you     this                                                            Who created this document
      yesterday               but with              respect        to    the    100th                                                           Chairman              Jin        Sik     Choi
10    anniversary            campaign thats discussed in the                                                                  10                Did      Mr         Choi         draft      this     document
11    chart        at   the top of page   does  Dongguk  know the                                                             11   himself
12    reasons           that       people           who made             pledges           in                                 12                Yes
13    connection               with         that     campaign             did not          fulfill                            13                The date above                     his      signature           is    May
14    them                                                                                                                    14   2Oth2010
15                       believe            that      question           was posed                                            15         Yes
16    yesterday               and          also believe                  had given              you                           16                Is    that     when             he drafted           the   document
17    sufficient             answer            to   that     question                                                                           Yes
18                      Please        remind me what the answer was                                                           18                How          did    he come              to   draft       the    document

19                      If   thats        the    case then              would         you                                     19   at that      time
20    repeat        that      question              again                                                                     20                Sometime              after            started        working for
21                      Does        Dongguk                know         the reasons               that                        21   the university              in   June         of    2005           had gradually
22    people         who made                  pledges            in   connection               with        the               22   become        quite close to                  some of the individuals
23    100th         anniversary                  campaign did not                     fulfill          them                   23   and as such              that       was able               to    share       some
24                      Yesterday                   gave     you an example of Oh                                             24   in-depth          stories        and sentiment                   with       them          So one

25    Hyun Kim                              space               YUN            space        Kim             During            25   day       heard       from        Mr          Choi         that   he     had pledged


                                                                                                                                                                                         Pages                       107        to        110
                                                                                                         Sanders Gale              Russell

                                                                                                                  203     624415
                         Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 146 of 184


DONGGUK                        YALE          UNIVERSITY                                                                                                                                                                            October            28   2010

                                                      --

                                                                                                                 Page       11                                                                                                                   Page      113

       billion           won          with with the President                                 Oh         yet    he                        money              As he promised
       decided                not    to     keep     that       pledge                Instead            he                                                  At this point                                     like      to    give
       said       he decided                 to                                                          fund                                                                        Korean culture
                                                    establish                  scholarship                                                you an           insight        into                                             Culturally

                               When           she said           he       set                                                             individuals              who         give large             sums          do not make
                                                                                 up
       scholarship                   fund         that     was           for    his    own                                                pre-written              pledges

       corporation                        As the school                   was preparing                   for The                                          Did     Mr       Choi make                        pledge           in   the

       lawsuit                in    May of this year                       in    other        words            we                   .7    amount of                  billion          won
       were         to      compile the material                               for the cases              of                                               Yes       he    made            that     promise           to      the

       broken            or unrealized                   pledge            cases            There was                                    President

 10    some           kind         of consensus                 that       we      should           prepare                        10                      Did he make                   that     promise            in    writing
 11    actual         anecdotes                   so as          --      since         remembered                                  11                       explained               to    you        he      doesnt           make
 12    hearing              from          Mr      Choi of            his       sentiment                 asked                     12    that     kind       of pledges                  in   written         form         in      other

 13    him       to      write        up his         his       story                                                               13    words
 14                      When              did    you hear from                    Mr        Chol        about                     14                      Pm     asking            in    this particular                case did
 15    his     decision              not to donate                        billion          won      to                             15    he            it   in    writing
                                                                                                                                                put
 16    Dongguk                                                                                                                     15                      No      he did not
 17                      It    was         either    in        May        or April of               2009                           17                      Did Dongguk                    create any               document                to

 is   during           the time              when we were                       playing            golf                            18    reflect       that       pledge
 19   together                that        he had decided                    not to carry              out                          19                  No          Not as faraslknow
20     fulfill        his      pledge                                                                                              20                  You         said        that       Mr        Choi       verbally             told

21                            MS LU                 Can         Ijust          have        that                                  21      President            Oh      that       he      would        donate               billion          won
22    answer back                         The       question              and the answer                                           22                      Yes
23                            MR FETNEIt Hes not                                       done                                      23                        Did he say what the purpose                                     of      that

24                            MS LU Theres more                                                                                  24      donation            was
25                            dont know when he made                                       that                                  25                         believe          there            was         certain



                                                                                                                Page      112                                                                                                                   Page       114

      decision                but thats             when             heard         about          that     from                          understanding                 about             the    need         for    the       fund         At
      him         Actually                  he    was just               lightly       commenting                    on                  the    time        school         was engaged                    in    intensive


      something                    that     had happened                       previously                                                renovations                and        at    the      same time they also was
                         Did        Mr       Choi ever               make              pledge         in      the                        planning            to    build       an        international              center and

      amount of                      billion        won                                                                                  believe           that    was where the money                                was going                 to   go
                         In    his    case he             is    the kind          of person                                              to
      who        does          not    make          the pledges                  and then pay                  later                                         Actually               its       not   that           thought

      He would                 give the           pledge             he        would        be     actually                              but    that         was told            that         was the case                 from

      giving          the      money                Let    me        explain           to    you again                                   President           Oh           And        also           heard      that        from       Mr
10                            What  meant                      by    what             said    was                                10      Choi
11    that     he      is     not          kind      of person                 who         write    down         in              11                    When           did       Mr         Choi       tell     President             Oh
12    paper         that       he     is
                                            pledging            something He would                                               12      that    he    planned            to     donate               billion         won
13    give       the verbal                pledge              And then he would                                                 13                         heard         from President Oh                          either         in

14    immediately                    fulfill that              promise                                                           14      April or           May      of             Im        going       to repeat                Since        he

15                            For     example              let      me         give    you an                                    15      arrived       at     the school                 in   February on the 25th                              in

16    actual          anecdote              with     him             It    was        in    2009 he                              16      particular           of   2007             President             Oh       had     met with
17    gave       .2 billion                won      to the          school             In    that    case                        17      many         alumni         members      and during the course of                                           his

18      heard          that         promise          along           with       President             Hong                       18      effort       of    raising        development fund he met with
19    As he was making                            the     promise               in November                     he               19      Mr Choi              either        in      April       or    May He                  was         given
20    paid       actual            amount during                    that        month                                            20      the    promise of                   billion           won from              Mr         Choi
21                            Mother example                          about        him        is    when                         21                    When           did      Mr         Choi plan to donate                            the

22     tried        very hard                to   collect           pledges            and money                                 22      money
23    for    the      development                    fluid          in    2008              received           his               23                    According to what                              heard           it   was
24    promise             of.I        billion        won         through              phone                                      24      during        the      month          --
                                                                                                                                                                                      during the years                     2007          and
25    conversation                        Within         one        month he                gave         the                     25      2008


                                                                                                                                                                                                    Pages 111 to 114
                                                                                                              Sanders       Gale         Russell

                                                                                                                      203    6244157
                        Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 147 of 184

DONGGUK                      YALE             UNIVERSITY                                                                                                                                                               October           28   2010



                                                                                                           Page   119                                                                                                              Page       121


           yet    due     to    Shin        Jeong Alt scandal                    he said he                                                       No
     .2    canceled           that        plan                                                                                                    Did Mister                --



                                heard          about         from         Mr        Park                                                          Before            myself there wasnt                          any such

           himself           and also through                    President           Oh        This                                  system       as    to    sending            out confirmation                      letters

                    came            out during          our golf                       and       which                               and send          out    letter       of appreciation                   after      the
           story                                                           game
           was attended                  by    Mr Oh Mr               Park and myself and                                            actual      donation                  am     the    one who introduced
           another           individual              Because         of that memory  --                                              that    kind      of system
           so     requested               Mr     Park to generate                    this   kind         of                                       Did Dongguk                    issue            press release

          paper        for     the       litigation                                                                                  announcing              Mr      Parks         promise
10                      When              was the golf game                   that     you       just                         10                  No         Because             people           like    him do not
11         mentioned                                                                                                          11     want to be known                     about        their       promises               They      do
12                      Most of               this   kind    of occasions                 took                                12     not    want the public                 to    know            about      these

13        place     during            the      months March                and May             --    March                    13                  Did Dongguk                    issue            press release
14        and     April of           2008                                                                                     14     announcing       an anonymous    promise
15                      So      it   was before you were working                                    at                        15                  Even that kind of release was                                    not

16        Dongguk                                                                                                             16     allowed
17                            MS PARK                        thought           he said                                        17                  Not allowed               by     whom
18        2009                                                                                                                18                  Precisely              speaking             people         like       Mr
19                      ft    was incorrect                      was saying March                                             19     Park        would       not     like    us to           announce             their

20        or April           of 2009            Not                                                                           20     promises          without            disclosing              their    names
21                      When             did    Mr     Park       make           plan       to      donate                    21                Im not asking about                               people        like     Mr
22        4.5    billion   won to Dongguk                                                                                     22     Park      Im asking about Mr                             Park        in particular

23                      When President Oh came                                 to the school                                  23     Did he ask Dongguk                          not    to    announce             the     promise
24        and he announeed                       108    Project           the    mood          at    the                      24                       dont know about                       this particular

25        school       was          really      high        So    that     kind      of                                       25     case

                                                                                                         Page     120                                                                                                              Page       122

          conversation               took       place       during        the   months of                                                         Other       than        President               Oh      did     anyone
          April and                       of    2007                                                                                         from Dongguk                   discuss                                        donation
                               May                                                                                                   else                                                     this    potential

                        Did         Mr      Park     make           pledge           to donate                                       with     Mr       Park
          4.5    billion       won                                                                                                                Not     in this         case         only       the President               Oh
                        He     promised              President            Oh    that      he     would                               and myself

          pay    for    the     project         that    was        going       to    cost                                                         Did President Oh discuss                                this     potential


          approximately                   4.5   billion      to          billion       won And                                       donation          with    Mr         Park     on more than                    one occasion
          that   refers        to    the renovation                project          of the main                                                   They        get    together           often

          building                                                                                                                                When         did        Mr     Park        decide         not to donate

10                      Did     Mr         Park      make         that     promise          in                                10     4.5    billion     won         to    Dongguk
11        writing                                                                                                             11                      believe        it   was      after          Shin     Jeong         Ah
12                      Yes          He did                                                                                   12     scandal

13                           MS PARK                        think        he    asked        in                                13                  Im     asking           when           Can you            tell       me what
14        writing                                                                                                             14     year        What month
15                      Yes          the question           is    did     Mr        Park       make                           15                  Would you                repeat the              entire       question
16        that   promise             in   writing                                                                             16     again
17                      As          explained          to   you before                                                        17                  Sure         My         question           is   when       did        Mr    Park

18        customarily               in    Korea        big donors  do not make                                                18     decide      not    to    donate         4.5       billion       won          to   Dongguk
19        written pledges                     And thus            Mr      Park did not make                                   19                  To my knowledge                        it   was         after        Shin   Jeong

20          written          pledge                                                                                       20         Ah     scandal

21                     Did Dongguk                   create        any written record                                         21                 Inwhatyear
22        of   Mr      Parks         promise                                                                                  22                 2007
23                     Probably               not                                                                             23                 In what month

24                     Did Dongguk                   send        any correspondence                        to             24                      Since       Shin        Jeong Ah scandal                         broke      out

25        Mr     Park        regarding           his    promise                             _____
                                                                                                                          25         in   July    it   was probably                November                  or        December


                                                                                                                                                                                         Pages                         3.19        to     122
                                                                                                     Sanders Gale                    Russell


                                                                                                                203     624        4157
                     Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 148 of 184


DONGGLJK                YALE         UNIVERSITY                                                                                                                                                                      October              23 2010


                                                                                                       Page   131                                                                                                                    Page      133


                      Does        Dongguk          have any documents                                                             114th

       reflecting           either       Mr      Parks plan to donate 4.5                                                                       Mr        Lee were you                       familiar      with        the

       billion        won      or    his    decision           not   to     donate        4.5                                     financial         condition              of     Mr     Chois corporation                           in

       billion        won                                                                                                         2007
                      This     is    it    Indicating                                                                                           You        are referring                to    un    Sik    Choi
                      Turn back             if   you would             to Exhibit                                                 right

       No Mr            Chois statement                    Did you           tell      Mr         Choi                                          Yes
       the purpose            for    which         his    statement           would            be                                               Nothing           in     detail          Whats          clear        to    me
       used                                                                                                                       is    that   he   was         going        to    give         billion         won        and

 10                     ThE INTERPRETER                                   Repeating               the                     10      instead       he used           that       fhnd       to    create      his    companys
 11    same question                                                                                                      11     foundation

 12                   As      answered to your question about                                                             12                    Has       that    foundation                 donated        money               to

13     Chairman            Park    told him the same kind of things                                                       13     Dongguk
14    to     Mr      Choi                                                                                                 14                    No        no no             His     initial      intention            was
15                    You     told        him That the statement                       would                              15     that     he
                                                                                                                                        was going                      to    donate             billion         to   Donggulc
16     be     used    for    the     lawsuit                                                                              16     Instead he created                      the scholarship                  fund         with

17                    Yes                                                                                                 17     that     fUnd        Thats the fact
18                    Did you tell him what information                                      to                           lB                    My        question           is has the fund                that          Mr
19    include         in the statement                                                                                    19     Choi created                  donated          money          to   Dongguk
20                      requested           that    he write about                  the                                   20                    Would you                repeat the             question
21    fact     that    he had        pledged              billion         won       to the                                21                    Has the fund                 that       Mr      Choi      created

22    school         initially       but he        gave up on the idea                                                    22     donated         money to Dongguk
23    after     Shin       Jeong Ah scandal                      Instead he                                               23                    Yes Considerable  sum was                                   donated              to

24    established                 foundation         of    his    own company                          And                24     the school           by that foundation
25      asked         him    to     write about           it         like    to     be    more                            25                    How much money                           was donated                 to    Dongguk

                                                                                                       Page   132                                                                                                                    Page      134


      precise              asked         him by saying that                  he     bad        told                              by     that    foundation
      me      certain       things         and that would                   like       him        to                                                can        give   you the exact                 amount            in   the

      write about            it                                                                                                  afternoon            but        believe           that       foundation             gave
                      Did anyone from Dongguk                               assist       Mr         Choi                         approximately                  20 million won annually                                   Let        me
      in    drafting the     statement                                                                                           take          look       at   the    document here                     From           his

                     No                                                                                                          scholarship          fund we received 32 million won on
                     Did anyone from Dongguk                                edit       the                                       February           27th 2009 Additional  36 million won

      statement         in    any        way                                                                                     on September                   15th and the another                        donation                 on
                     No                                                                                                          March         9th 2010               in    the    amount of 42 million                              won
10                   Did anyone from Dongguk    other than                                                                10                Do you know if Mr Chois foundation
11                    talk to Mr Choi about the statement                                                                 11     has     made donations to other academic
      yourself
12                   No     and theres something                          that         would                              12     institutions

13    like    to ask  you    pay    to           attention        to        No      one                                   13                   According               to    what            heard        although
14    would       add or delete or                 edit    the statements                                                 14     cannot        be certain              his      scholarship             fund         has been

15    written        by such         important            individuals             as these                                15     giving        out to          many      other schools

16    two people            after        they signed           the   paper             Let      me                        16                   Mr         Lee have you                   told    me     everything
17    correct        the    first    version              would        like       to     say                              17     thatyou know about your communications    with                                                           Mr
18    neither        Mr     Choi nor          Mr         Park    would            ever       put       down               18     Choi with respect to donations to Dongguk

19    their    signatures            on the statements                    thats        either                             19                   In general                   have        frequent

20    modified          or altered          by other        people                                                        20     get-togethers                 with    him and               during       those

21                     MR  FETNER  Lets take                                      break                                   21     get-togethers                  ive been           requesting             for

22                     THE VIDEOCRAPHER                                      Off the record                               22     contributions

23    1132                                                                                                                23                   What            has been           his   response
24                     Recess             taken                                                                           24                   He     did       not    have        good         feelings         for      the


25                     THE V1DEOGRAPHER                                      On        the record4                        25     school        when             first started            working            Actually



                                                                                                                                                                           11           Pages                    131                 to        134
                                                                                                  Sanders Gale                   Russell


                                                                                                         203        624        4157
                         Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 149 of 184


DONCGUK                   YALE          UNIVERSITY                                                                                                                                                            Oclober              28   2010



                                                                                                         Page    139                                                                                                         Page       141

       what does            that      mean                                                                                  arranged           that    and we received                       actual          donation             of
                         What      he     means              here    by process              of making                         billion        won      in    2008             It   was achieved               by
       the donation                meaning procedures                             for the                                   President          Oh     personally

       contribution                in particular                he    is    saying means                                                 Has Dongguk                         received        any other
       he was reviewing                     as        to   how       to    deliver the            fund                      donations          as large as                    billion       won
       That means               its     either          by having                certain         kind                                    Other         than       what             told     you          few
       of ceremony                 where he would                         present           check        to                 minutes           ago     theres            nothing           else        can    recall

       President           Oh       and have the photo                           taken       and then                       right    now
       announce            that      contribution                    Or whether              or not he                                         MR. FETNER                           Mark         this

 10    was simply              going        to        have     the fund           be    transferred                    10                      Defendants                    Exhibit             marked
11     into     the schools               account                                                                      ii              For identification

 12                        Im      sorry         it    came        out     to   be so                                  12                Mr         Lee who made                      the       two     billion         won
 13                                but thats               what           meant             But                        13
       complicated                                                                                                          donation               you mentioned                             few moments                  ago
                                                                     it                                                                       that

 14    must      tell
                          you      strictly  speaking there is no way                                                  14                It    was by Yi Hae Lang                           Play        Group
 15    for    me     to    know         what he meant when he used this                                                15   Foundation                YlspaceHAEspaceLANG
16     word procedures                        Because               what         previously                            16                Who          made the               11.3     billion         won      donation

17    stated        is
                          general         way           general           ways     the school                          17   that    you mentioned                        few moments                    ago
18    receives            funds       from donors                                                                      18                Ju    Pil    Kim          .1
                                                                                                                                                                              space                    space       Kim
19               Did anyone from Dongguk   discuss with                                                                19                Turning            to   whafs             been      marked
20    Mr       Choi whether he would be making the donation                                                            20   Exhibit            have      you seen                  this   document before
21    in either           of the      two ways          you described                                                  21                Yes
22                   Around            that       times it was President Oh                                            22                When          did       you         first   see    this       document
23    that     he    spoke         to                                                                                  23                Last       May
24                    Did they discuss that                                                                            24                Who         drafted            this       document
25                   According              to        this    confirmation                                             25                     dont know                  Kang         Hyun            Jung    must have


                                                                                                         Page    140                                                                                                         Page       142


      statement             that     was the case                     think                                                 drafted      this

                     Do you know which way he                                      planned          to                                   Do you know                     if    anyone from Dongguk
      donate         the    money                                                                                           assisted      in    drafting          this        document
                          dont know                   that     He     had       been using                                              No
      direct        transfer       to     our account                when         he    was giving                                      Did you have                     any       communications                       with

      100     million           150       million             won          200 and 200                                      Mr      Kang       about        this        document
      million         won When                     such            large        donations         as                                    No
      this these           are involved                      in general          we     hold The                                        Howdidhecometodraftit
      ceremony to receive the funds But in                                                his    case                                    Vice-president                      Jin    Son Han must know

10    he had been sending the monies through                                                 the                       10   about      this      Because                Vice-President                   Mr Han
11    transfer           only                                                                                          11   studied      at    the    same university                       University             of
12                   Has Dongguk                       ever     received               donation           as           12   Indiana             dont know whether                            actually         it   was
13    large     as         billion        won                                                                          13   the very      same university or the                             universities               in

14                   Yes                                                                                               14   the State

15                   How many                 such           donations           has    Dongguk                        15                     For     that       reason            Mr     I-lan       and    Ms
16    received                                                                                                         16   Kang       were well             acquainted               people And                   it


17                   Last year            we          received             donation             from                   17   happened           that    Ms         Kangs             company             renovated            one of
18    an    individual          in     the     value of 11.3                    billion      won                       18   the school         buildings                in   2004
19    and the value and                     it     was        in   the     form of museum                              19                     laskedMr.HanaboutMs.Kangas
20    and     the    value        of    that          total   donation            was                                  20    was leaving          for the U.S He said he had

21    approximately                  11.3        billion        won                                                    21   suggested          that    she should                  make          contributions               to

22                   Other      than        that        donation has Dongguk                                           22   the school         to     improve the                  institution           because          he

23    received           any other donations                         as    large       as                              23   has been          trying very hard                     since        his    arrival      in

24    billion       won                                                                                                24   2007       to turn        the    university              to    an     excellent

25                   Theres          an     occasion               where         Mr     Oh                             25   school                           _____

                                                                                                                                                                   13              Pages                     139             to        142
                                                                                                   Sanders Gale             Russell

                                                                                                               203 624415
                     Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 150 of 184


DONGGUK                     YALE UNIVERSITY                                                                                                                                                                                 October              28   2010



                                                                                                            Page    143                                                                                                                     Page      145


                             At     that       time he        said       she pledged                                                Mr Han                 about      the details                     do not know exactly
       billion         won                                                                                                          when          it   was           And        the    way            look     at     it    it   was
                       When              did she        make        that       pledge                                               probably                after     Shin        Jeong Ah scandal                         broke        out
                       It    was         after      Mr       Oh    joined           the                                             In     December                   Of 2007
       university                  It   was probably                April or          May        of                                                    Did she send                            sort    of writing               to
                                                                                                                                                                                     any
       2007                                                                                                                         Dongguk                 announcing                 the cancellation                    of the

                       Is    there         any document                      reflecting         that                                donation

       pledge                                                                                                                                          No
                       Nothing other than                          what you have here                                                                  Did Dongguk                    create any              document
10     in   the    form of confirmation                             statement                                                  10   reflecting               the cancellation                   of    the     donation
11                     Did Dongguk                      issue           press release                                       11                        No          and theres something                            else     Id        like

 12   announcing                   the     pledge                                                                              12   to    tell
                                                                                                                                                  you             After Shin               Jeong      Ab      scandal             broke

13                     No                                                                                                      13   out     in    July            during        the    months July August
14                     To whom                 did     Ms         Kang         say    she   would                           14      September                     especially           considering                  that    the

15    donate                billion        won                                                                              15      President               Ohs       office         was searched                   by the
16                     To     --    she        promised            to    the                                                16      prosecutors                    office        no one          at   the school                 had    the

17    Vice-President                      un Soo Han                                                                        17      mind to follow                    up on          this      kind     of matter
18                     IsMs              Kang an alumna of Dongguk                                                          18                              The     entire        administration                    of the

19                     No                                                                                                   19      university  was paralyzed at that time Because
20                     Did she say why she would                                     be    donating                         20      of that kind of situation no one was in the

21    billion      won         to        Dongguk                                                                            21      frame         of       mind      to        generate         paperwork                  in    connection

22                     You         are not asking                 me how we were                       told                 22      with         these       kind        of matters
23    from      her                                                                                                         23                        After the            initial         conversation               between
24                     Yes              am     asking        you what she said                                             24       Ms       Kang            and     Vice-President                    I-lan        that        you
25    About        why         she        would         be donating                 the   money                            25       described                did     anyone from Dongguk                                   attempt          to



                                                                                                            Page    144                                                                                                                     Page      146


                     According                   to    what         heard        from the                                           collect           the          billion       won        donation              from her

      Vice-President                       Jin      Soo      Han Ms Kang                    said she                                                  It    was Vice-President                         Mr Han                   mainly

      understood               that       Mr          Oh had been               trying very hard                                    that     followedup on this If he did As for me
      to    improve the school since he joined the                                                                                       met with her either in March or April of this

      university    So she would like to encourage                                                 and                              year
      join    in his         effort           and thus she was planning                                to                                             In    2007          what did Vice-President                                Han do
      give     approximately                           billion          won          And        heard                               to    attempt            to    collect        this      donation
      this    story         from         Mr       Haa                                                                                                      have     not been               told by Vice-President

                     Was           she planning               to    give the          money            for                          Mr      Han            in detail           about       this       But      in    general             in


10                                      purpose                                                                            10       order        to    collect           110    billion        won      --
      any     particular

ii                   What                stated        shortly          before       was    all                            11                              MS LU                     billion


12    was     told      about            this         In other          words         she   was                            12                               MR       FETNER                        billion

13                                      the                        the school             in order to                      13                              billion        won         it   requires          at     least        10
      going       to    give                  money          to

14                           and join             in   President              Ohs     effort       to                      14       meetings
      encourage
15    develop          and improve the school                                                                              15                         How many                  meetings              did    he have

16                   Was           the         billion       won         to    be donated                                  16                              dont have             detailed          knowledge                    of

17    personally             or by            her     company                                                              17       this but               lets    say     this      initial       conversation

18                   In
                            my          opinion         it   was        in    her    companys                              18       took         place       during            the second             half of         2007 They
19    name                                                                                                                 19       should         have           met      at    least      four or          five     times But

20                   When               did    Ms       Kang        tell      Dongguk            that       she            20       in    reality             dont think               he      was able to have
21    wouldnt be donating                                 billion        won                                               21       meeting                with     Ms         Kang          Due       to     Shin         Jeong        Ah
22                 After Shin                  Jeong Ah scandal                       broke       out                      22       scandal

23                 Can you be any more specific than that                                                                  23                         Did President Oh ever meet with                                            Ms
24                  was not with the school at the time                                                                    24       Kang          regarding              her     potential            donation

25    On     top of that                   never        had an occasion                    to    ask                       25                         Probably                 But no more than                       once        or



                                                                                                                                                                                 14            Pages                       143              to     146
                                                                                                       Sanders          Gale        Russell


                                                                                                                  203     624415
                    Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 151 of 184


DONGGUK                  YALE           UNIVERSITY                                                                                                                                                                          Ocbber           28   2010



                                                                                                                  Page    147                                                                                                          Page       149


      twice         Although   dont have the detailed                                                                                    donor         than      what was already requested                                   of because

      knowledge         of this What Im saying is Im                                                                                      its rather         impolite           and unethical                    considered           to
                                                                                                        pretty

      certain       that       he met with                    Ms         Kang         during          the                                be
      course        of    his     initial         effort           to    meet with              all    the                                                   MR     FETNER                     Mark         this

      possible           potential           donors            after          he     first     joined                                                       DefendantS                 Exhibit               marked
      the university                    Fm sure               he    met        Ms          Kang         But                                        For identification

      speaking           of the         actual           promises               of donation                 was                                        Mr        Lee Im showing you whats been
      between            Mr      Han and             Ms            Kang              According               to    what                  marked Exhibit                         Have         you seen             this      document

          was told                                                                                                                       before
10                  Do you know                     that           President              Oh    actually                          10                   Yes
11    met with           Ms Kang                                                                                                  11                   When         did       you      first    see        it
12                       have never               had              chance            to    confirm                                12                   Last       May
13    that      Before               came here                                                                                    13                   Who        drafted         this     statement
14                  When             did
                                           you speak                     to   Ms          Kang        about                       14                   Probably           Mr         Kim        himself

15    potential          donation            to    Dongguk                                                                        15                   Do you know                   if   Mr        Kim      drafted           this

16                   met her once                        in   probably               April       of                               16     statement
17   this    year                                                                                                                 17                   Wellheputitdownandthatwas
18              Not previously                                                                                                    18     handedtome
19              No The contacts                                with           this    person          had                         19                   Did you           talk     to    Mr          Kim      about          this


20    been    through             Vice-President                          Mr Han                 Mainly                           20     statement
21                  Do you know                     if    the       financial              condition                              21                   Ihadheardhisstorywherehehadmade
22   of     Ms    Kangs company                           plays               any    role      in     her                         22          pledge        to   donate        money           to    the school              and then
23   decision        not        to    donate         the                billion       won       to                                23     because        of Shin          .leong        Alt scandal                    he canceled          his

24   Dongguk                                                                                                                      24     pledge         That       was something                     that         had known
25                Before             coming              here             had             chance        to                        25     about


                                                                                                              Page        148                                                                                                          Page       iso

     take        look       at    the finance                  of       Ms       Kangs company                                                              So as        was collecting                    the

     briefly         Her business                   had been                   steadily                                                  confirmation             statements                    called       Chairman                 Mr
     generating            profits           But the                size       of the profits                                            Kim      and asked           prepare                  statement               based        on the

     approximately                      billion           won            annually              as                                        facts

     recall       But       its      not the precise                          number                                                                   What        did    you say              to   Mr Kim              about        the

                  Does           that      approximate                        number apply                   to                          statement
     2007                                                                                                                                               told      him         that     this     was going              to    be

                  Yes                                                                                                                    used    in    connection               with the            litigation          against

                  Did anyone from Dongguk                                            tell      Ms      Kang                              Yale    University

10   the purpose            which            this        statement                 would        be     used                       10                   Did you say anything                           else       to    Mr      Kim
11                WhenltoldMr.Hanthatlwas                                                                                         11     about     the       statement
12                       for     the lawsuit                  and        compiling              this        kind                  12                    dont think               there         was anything                  else
     preparing
13   of statement                Mr        Han       initiated                by saying             that                          13     todiscuss

14   there    was         an incident              with            Ms         Kang          where she                             14                   Did anyone from Dongguk                                    assist       in


15   pledged        and then               withdrew her pledge                               due       to    Shin                 15     drafting      this statement

16   kong Ah             scandal             and     that          he     can ask            for                                  16           A.No
17   statement            which would                     contain              the        stories      that                       17                   WhendidMr Kimmakeapledgeto
lB   had     been    discussed               here         today                                                                   28     donate       500 million won                     to    Dongguk
19                Did      Mr         Han         tell    Ms             Kang        that      the                                19                    believe          it    was      in     2006        because             it



20   statement           would          be used               in    Dongguks                   lawsuit                            20     appears       here
21                   believe            so                                                                                        21                   Doyouknowwhenin2006
22                Did      Mr         Han         tell    Ms             Kang any more than                                     22                     If   my    recollection                 is
                                                                                                                                                                                                    correct            and     it



23   that    about        what the statement                              thould           say                                  23       is   correct        what         heard         was         that    it   was around
24                Culturally               its      not             correct           behavior                                    24     September                012006
25   to   request anything                   more than                    that       to        potential                        25                     Is   there               document              reflecting              Mr
                                                                                                        ___________
                                                                                                               .v--c               c..rc w-cy
                                                                                                                                                                     any             dw              revjcg

                                                                                                                                                                                15             Pages                     147           to        150
                                                                                                        Sanders Gale                     Russell

                                                                                                                    203     624        4157
                    Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 152 of 184


DONOGUK                   YALE          UNIVERSITY                                                                                                                                                                      October                  25    2010



                                                                                                            Page    151                                                                                                                Page           153

       Kims pledge                                                                                                                   Vice-President                   Han would               attend these                  once every
                          believe          so-             think          heard       from our                                       other    month games Sometimes they would miss
       staff      that     theres             pledge           letter          in this   case                                                      Did President Oh discuss the                                    potential

       somewhere                                                                                                                     500 million won donation                                with          Mr     Kim         in   2007
                     Mr Kim              sent              letter     to       Dongguk                                                           ThE rNTERPRETER                                             Would           you repeat
       anouncing            the      pledge                                                                                          the    question Im sorry
                     Yes                                                                                                                           Sure          Did President Oh discuss the
                     When          did        he do that                                                                             potential           500 million won donation                                 with       Mr       Kim
                         think          told    you           it   was September of                                                  in    2007
 10    2006         But        could          he wrong                                                                        10                        assume         so        naturally            but         never

 11                  Did Dongguk                      create any record                      to                               11     heard    anything               about        it   in   particular
 12   confirm            the   pledge                                                                                         12                   Did anyone                else       from Dongguk                        discuss

 13                      dont know                    As           stated       before          at                            13    this    donation            with        Mr         Kim       in   2007
 14   that    time there             wasnt                 certain            system      set      to                         14                        dontt    know                  never       asked          anyone
 15   practice           at that     time             It    was only             after                                        15    about     it

 16   started       working the system where the pledges were                                                                 16                   When          did       Mr     Kim         decide             not   to    donate

17    confirmed        in written form and then sent letters                                                                  17    500 million won to Dongguk
18    of appreciation                   for   the pledge                  or the      letters        of                       18                   It    was when the school                           was defamed and
 19   appreciation             for actual                  donation            are sent       out                             19    considered             an    unethical              institution              and then
20    And      thats       why           answered                  that         do    not    know          for               20     there     were rampant newspaper                                    articles        about         it




21    your     previous            question                                                                                  21     due to Shin             Jeong           Ah    scandal             and        for   that        reason
22                  Did anyone from Dongguk                                          write    to     thank                   22     he     canceled
23    Mr Kim             for   his      pledge                                                                               23                    My      question              was        when            Could you               tell


24                  For the reasons                          gave         tO    you
                                                                                                                             24     me       month and                      year
25    previously               dont know                                                                                     25                         have     not heard              about         that       but        did


                                                                                                           Page     152                                                                                                                Page           154

                    Did anyone from Dongguk                                       meet with             Mr                          know      it   was due             to    Shin       kong Ah                  scandal            No
      Kim      to   discuss          his      pledge                                                                                no      Although                 have        not heard             exactly          when          it


                         heard           story         that    he had pledged  and                                                  was      but         heard         from Chairman               Oh Hyun Kim                             that

      then     canceled            the pledge                in May -- in March   of                                                he     was canceling                   because          of Shin Jeong Mi
      2009          After        heard           that story               whenever                                                  scandal
                                                                                                     got

      together        with       him             urged     him very very                                                                           When          did       you hear          that       from       him
      informally            like        Why            dont you give us the                                                                        My     knowledge                    of   this      in    general         is



      money          or something                     to    that     effect                                                         around         coming             from the                coming              from        my
                                                                               anyone from                                                                                                                 March
                    Other        than                               did                                                             encounters            with        these                        in                       in   or
                                              yourself                                                                                                                            people

10    Dongguk             meet with              Mr         Kim          to    discuss       the      pledge                 10     about     March             of    2009
11                  Yes The                President               and         Vice-President                                11                    Did     Mr         Kim        send       any document to
12                  When                                                                                                     12     Dongguk             announcing                the cancellation     of his
13                  See     him once                  in      while             Recently           they                      13     pledge
14    were having              once        every            other        month golf games                                    14                         think         explained             to     you yesterday
15                  Youre          referring               to President               Oh and                                 15     that    Oh Hyun Kim                     is   not the kind           of individual
16    Vice-President                Han                                                                                      16     who would              send             written         letter         about       that       kind

17                  President            Oh and              Vice-President                  Mr         Han                  17     of matter

18    and myself               And Chairman                         Oh        Flyun      Kim         play    golf            18                    So he didnt               send            letter

19    every       month              like        to    make         it
                                                                          very clear            when                         19                    Correct

20    say    we     got together to play                           golf every            other                               20                    Did Dongguk                    create any record                     of the

21    month         that    does         not necessarily                       mean      that        you                     21     cancellation            of       his    pledge
22    play the       game          as         four         person         group                                           22                        dont know
23                       There
                      were approximately    20 people                                                                        23                    Was      Mr         Kim        planning             to    donate          the      500

24    and thus    team could team members      could  vary                                                                24        million        won      personally                 or   was       it    to   come         from         his


25    In other words  not necessarily President Oh and                                                                    25        business


                                                                                                                                                                             16             Pages 151 to 154
                                                                                                      Sanders          Gale         Russell


                                                                                                                 203   624         4157
                     Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 153 of 184


DONGGUK                   YALE            UNIVERSITY                                                                                                                                                                      October               28    2010



                                                                                                            Page           159                                                                                                             Page      161

      months or the                  --    the following                    months                Depends                                  information

      on ones own situation                                   One         cart       make     the                                                        Who made                 the       1.5   billion        won donation
      decision                                                                                                                                           Jogye        Order
                     And why                did        Mr      Kim make                    that   decision                                               Other       than     the donations                     youve
                          would           not     know              My      understanding                  is                             mentioned              has    Dongguk                   received           any other
      that     he    made             decision                based         on       his   own      personal                              donations           of       billion          won        or    more
      schedule                                                                                                                                           As         recall        there has             been steady
                     Mr         Lee you                mentioned                 this      morning                                        donations           by the Alumni Association                                  of Oriental

     that      Dongguk               had received                         donation           of     11.3                                  Medicine            Department                     In the       amount          of    .1    to   .2


to    billion       won         in   2009              And           separate              donation         of                     10     billion        won     annually                Up       to       from 2002             to

11      billion       won            in    2008          Other            than        those                                        11     2009 and            all    together               so    far   they have             donated

12   donations             has        Dongguk                 received               any     other                                 12         billion      won
13   donations             valued           at         billion           won         or larger                                     13                    Are you aware of any other donations
14                        billion         won from                  one     individual              and                            14     that     Dongguk            has received

15   300 million won from another                                          and             remember                                15                    Nothing           else         can       recall        right    now
16   receiving             1.5            billion        500 million won from                                                      16                    So the record                 is   clear        the witness

17   Jogye          Order            1.5    billion                  dont         recall                                           17     answered before                     finished             asking         the question
                                                                                              every
18   pledge but those                       are        what          can         recall      right
                                                                                                                                   18     What           was asking               is   are       you aware of any other
19   now                                                                                                                           19     donations           that    Dongguk                has received                of    at least

20                  You mentioned                                   billion          won      donation                             20     billion       won
21   When           did    Dongguk                    receive        that        donation                                          21                    Nothing           else         recall          right    now
22                  How much                                                                                                       22            Are you aware of any other donations
23                        MS PARK                             billion                                                              23    Dongguk   has received of at least 500 million won
24                  You mentioned                                   billion          won      donation                             24                    Im    sorry         right       now nothing Im not
25                  One         person           in    2008          it    was from Bong                                           25    able      to    think      clearly             Im just explaining to

                                                                                                           Page        160                                                                                                                 Page      162


     KwanLee                    BONCspaceKWANspaceLee                                                                MI                  you      that    Im        almost my memory                            is    almost

     recall                                                                                                                              paralyzed            right    now
                    When         did        Donggulc                receive           the     300                                                        Would        you     like          to    take          break
     million        won         donation               that    you mentioned                                                                               MS LU                       think      hes      just       saying

                    Either       in       February             or March  of 2009                                                         youre testing his memory very deeply and these
                    Who         made         that        donation                                                                        arent numbers that he has at the reach of his

                    There        was              request           from himself                    not   to                             fingertips            So     if   you want               to    make            request as

     disclose        his        name             It    happened             to       be      lady                                        to      these types of            numbers                we      can     do    that    for

     That was not the condition                                    for     the donation                 yet                              you
10   there     was          request                                                                                                10                      Mt         FEThER                      Okay          Well      we can
11                    MS PARK                                think        its     different                                        11    like       said       we     can     deal          with        other requests

12                  Im sony                  meant             to    say        it   was the                                       12    later          Within       the context                 of the deposition

13   condition            for   the donatiwt                                                                                       13    .just    want to be clear                     are       you comfortable                 to

14                  When         did       Dongguk                  receive           the     1.5                                .1.4    continue          testifying

15   billion        won     donation                  that    you mentioned                                                        15                    Lefs try

16                   hope        you are not trying                             to    test    my                                   16                      MS LU                       think      Howie          is   saying
17   memory               im     not sure but                  it    was either August                          or                 17    do your best with these                            numbers and                 dates         But
18   September of 2009                                 regret        that        my memory                 is                      18    we       understand          that    you may not remember
19   not     that    good        and        thus              cannot            remember             each                          19    everything
20   case                                                                                                                          20                      Mt         FEThER                      Mark      this

21                    MS LU                      Uowie             you want to
                                                                    if                                                             21                      Defendants                   Exhibit                 marked
22   make           request          for     him         to    check it with his                                                   22               For identification

23   office         these dates             and amounts                                                                            23                    Mr      Lee Im showing you whats                                      been

24                    MR         FEINER                       We          can        deal with        that                         24    marked Exhibit                       Have            you seen            this    document

25   afterwards                 For       now         this    is    certainly              sufficient                              25    before


                                                                                                                                                                                  18              Pages                  159               to     162
                                                                                                        Sanders             Gale         Russell


                                                                                                                     203     624        4157
                     Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 154 of 184


DONOGUK                       YALE       UNIVERSITY                                                                                                                                                                  October              28    2010



                                                                                                             Page    163                                                                                                             Page      165

             AYe                                                                                                                   excited

                         When          did     you        first      see       it                                                                   When          did    Mr Kim             rip    up the pledge
                         Last        May                                                                                           form
                         In    what context did you see                                this                                                         In    December              thats       what          was told
       document                                                                                                                    Of 2007
                         In    the process             of compiling                    and                                                          Other         than    the pledge              form        That    Mr         Kim
                               the    documents                      connection                  with the                                                  does     Dongguk            have any other written
       preparing                                                in                                                                 ripped           up
       lawsuit           against        Yale              When we                discussed         amongst                        record            of   Mr       Kims pledge
       us with           our     staff       what         cases           were       there       where we                                           This     is    the   one
 10    failed       to    collect         donations              from the pledges                       that                 10                     So other than               this   document                 Exhibit

 11    had been               made due          to Shin              kong Ah                scandal            One           11   Dongguk                has      no other written record of                              Mr     Kims
 12    of the       staff       members              told       me        that      there     was such                       12   pledge
 13        letter        like    this       and then            he    showed                                                 13                     In                           there             none             Other
                                                                                        this                                                              my      opinion                    is

 14    document to                   me                                                                                      14   than         this

 15                  During the conversation                                    with the          staff                      15                     Did anyone from Dongguk                                   meet with              Mr
16     members                that    you      just       mentioned                  were any other                          16   Kim          in   2007       concerning              his      pledge
17    donors         mentioned                                                                                               17                     Probably            President          Oh          Because                 heard

18                   Oh Hyun Kim                          Sin    Sik           Choi     And        those                     18   that     the pledge             form was ripped up while the
19     individuals                                                                                                           19   staff        members            were looking they must have met
20                   Anybody                 else                                                                            20   him as well
21                   There            were no other individuals                                  were                        21                     Do you actually know of any meetings
22    mentioned                  But      it   was brought                     up    that    many                            22   that     Mr        Kim had with anyone from Dongguk                                                in

23    people        rethsed            to    fUlfill their                pledges           when we                          23   2007
24    made      reminder                calls                                                                                24                     Other      than      the     staff      who        witnessed               the

25                   Turning            to Exhibit                    do you know                   who                      25   scene         where he ripped up the pledge                                   form             dont


                                                                                                             Page    164                                                                                                             Page      166

      drafted        this       document                                                                                          know          any       other individuals

                          dont know                   But       my        understanding                 is                                          After      Mr        Kim made            his       billion        won
      that    its    the        Chairman              un Moon Kim                            Can        take                      pledge what did Dongguk                                  do     to   attempt            to   collect

           break                                                                                                                  that     money
                          MR FETNER Yes                                                                                                             According to               his    pledge he would pay
                          ThE VWEOORAPHER                                              Off the record                             and      ftilfill       the pledges           in    2008 and 2009 For
      233                                                                                                                         that     reason President was the one who had
                          Recess             taken                                                                                managed                the relationship                  And         this    is
                                                                                                                                                                                                                     my
                          THE VIDEOGRAPHER                                             On the        record                       feeling           that    the school            must have taken                           --


10    240                                                                                                                    10                          MS PARK                 Laid        back
11                   Did        Sin    Moon Kim make                             his   pledge        to                      11                            laid    back        attitude         in their        effort

                                        won                                                                                  12
12    donate              billion                   in    writing                                                                 to   collect        money from him Because he                                           said      the

13                  Yes              Iwastoidso                                                                              13   money             would be paid in 2008 and 2009
14                  And         is    that     the    same           sort       of     form      that                        14                     After      Mr       Kim      sent the          letter       saying

15    you mentioned                    with         respect          to    the other             Mr Kim                      15   that    he was canceling                      his    pledge did Dongguk
16                       According             to    what            was told               he                               16   attempt           to    change         his    mind
17    filled    out the              form but         after          Shin       kong         Au                              17                      dont know                  But as from common
18    scandal            in    December               of 2007 he got                             he came                     18   sense who would                        expect        or    who would                try      to

19    to   the school                and got        all    excited              and he took             the                  19   collect                         from him            in   2007         after        he    ripped
                                                                                                                                                    money
20    pledge
                    letter       hack          pledge           form hack               and then                            20    up     his    own        pledge        form and walked                       out         In    his

21    ripped        it
                         up     in front        of The stafF                                                                21    outrage
22                        MS PARK                          think          it   was                                          22           Since Mr Kim ripped up the pledge

23    outraged                                                                                                              23    form has anyone from Dongguk  had any

24                        ThE INTERPRETER                                            would         adopt                    24    communications with him

25    that      He was               outraged          instead             of being          all                            25                       dont know                 about       any     effort       before           my

                                                                                                                                                                           19          Pages                         163             to     166
                                                                                                        Sanders Gale              Russell

                                                                                                               203         6244157
                       Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 155 of 184


DONCCLJK                 YALE UNIVERSITY                                                                                                                                                                                October               25   2010



                                                                                                             Page   171                                                                                                                     Page   173

       discussed             in   the context                of these statements                  Mr                               scandal

       Choi        Mr        Park         Ms      Kang              Mr Kim               and    Mr Kim                                    ANo
       did they attend the meeting                                  earlier        this   year                                                   Lets          turn    back         to     Exhibit               which            is


       with      alumni           leaders         that       you     testified           about                                     the    damages              analysis               In      particular           Id     like


       yesterday                                                                                                                          to   tutn       to    page             of    that      document                 And Id
                                                                                                                                   you
                       Yes         Im        sure about             one      of them               But                             like
                                                                                                                                          you     to      look        in particular              at    the chart             at

       Im     not certain              about       the second                individual           Im                         .7    the top   of that      page
       certain         about    Oh Hyun Kim                          being        there         Im not                                               The chart              lists      three types of

       sure about            Jin Moon Kim                                                                                          donors         Alumni               corporate                and others                My
to                     What        about        the     others                                                              10    question           is   what does                the        others          category
i.i                    The     rest     are not leading                    members              of                          11    refer     to
12    alumni           group           Speaking              of these         five                                          12                  Others           written here                   includes          Buddhists

13     individuals                they       were the people                  who were                  very                13     and    Jogye Order and temple                                      Buddhist            temples
14    much        interested             in    the school             and and             with          an                  14    And     such       organizations                     as     the scholarship

15    intention          to help the school                         with     the       effort      to                       15    foundations

16    improve             And on              the other             hand      the meeting                    that           16                  If youll          look        at      the      bottom        line       of

17    took       place       this      spring         its     been            kind       of                                 17    the chart          it
                                                                                                                                                          says        the    total         amount of received
18    gathering          for the leaders                     who had              negative                                  18    donations            which           is   the total            it
                                                                                                                                                                                                       appears          that

19    feelings of the school                           So      it   was not               kind       of                     19    Dongguks             total          amount of received                          donations

20    event       these        five     individuals                 would         be     attending                          20    increased          in    2006 and                 again        in    2007 Do you
21                       MS PARK                       Attending              or    welcomed                                21    know      the causes                of those             increases

22                     Attending                                                                                            22                  According to our analysis                                    despite the
23                     Does       Dongguk              have           list    of the people                                 23    tremendous               damage            caused             by Shin           Jeong Ah
24    who        attended          that      meeting            earlier           this   year                               24    scandal         due to the effort tremendous                                       effort            by
25                     Probably yes                                                                                         25    newly        installed          President                Oh     and       the     result             of


                                                                                                          Page      172                                                                                                                 Page       174


                       Other than the                 five     people             whose                                           his    effort      were reflected                      in    these       total    amounts
      statements             weve            looked       at        did    Dongguk              ask       any                                        As         explained                to    you yesterday
      other alumni                or    potential            donors          to    prepare                                        had there not been                        Shin       Jeong Ali scandal
      similar          statements                                                                                                 believe       that      we would have                         raised       15    billion             to

                   No          Because            none         of    us myself                                                    20    billion      won         in    2007 And                       also believe                by
      Vice-President                    and     our      staff       members              heard                                   2008     we would               have raised 20                      billion       won                And    in


      about other cases of cancellation of pledges                                                                                2009 we would have raised 30                                         billion          won
      So these five individuals were the -- whose name                                                                                  To what do you attribute                                           the

        was able          to      come up with                                                                                    significant          increase             in     Dongguks                 total       received

10                 This        may        be    what you just said but                                                      10    donations          in    2008
11    want       the    record          to    be clear Other than the five                                                  11                    would           attribute              that    to    the    effort         by
12    individuals            whose           statements              we      looked           at     is                     12    President          Oh
13    Dongguk            aware of anybody else who canceled                                                                 13                  Were you               at    all
                                                                                                                                                                                      responsible             for       that
14    pledges          or chose           not    to    donate         to     Dongguk               because                 14                     would           attribute                10 percent            to 15

15    of the Shin            scandal                                                                                       15     percent       to   the       effort        of myself and our                       staff

16                 When            we made             reminder              calls        many                             16                   To what do you                        attribute            the increase

17    there      were many such                       individuals                  But among the                            17    in    Dongguks               total       received             donations            in      2009
18    people       who made                  pledges          and then             went back                 on            18                        THE INTERPRETER                                       Would             you
19    their      pledges          and     told     us about               their     change           of                    19     repeat
20    mind        these       five      individuals                 were the people                                        20                  The        question is                 to      what do you
21    whose        name             could        recall       now            Not       now         at   that               21     attribute       the increase                in      the      total       received

22    time                                                                                                                 22     donations          in    2009
23                 Today              could      you         tell    me      the       names         of                    23                  Also due               to    Mr Ohs               effort

24    any other people                   who       canceled               pledges         or chose                         24                  What            does        President            Oh do         that      is



25    not   to                    to   Donggnk                                    of                                       25     different       Thorn         his     predecessor                   in   terms        of



                                                                                                                                                                            21              Pages 171 to 174
                                                                                                        Sanders Gale              Russefl

                                                                                                                  203     6244157
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 156 of 184




            EXHIBIT                            88
           Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 157 of 184
DONGGUKO3                      81478



                                                                             Written      Verification




Name Oh             Hyun Kim

DUB REDACTED
Work              Position       CEO         Bokyung              Investments             Inc




                  the individual         named above have been                                 operating        business          activities       since       graduated

from Dongguk                  University      in   1980 and                   recently     established             Dasan      SD       Industrial        Development

Inc     Haisung               Bldg     9th   floor       942-10 Daichi-dong                           Kangnam-ku              Seoul and Bokyung                       Invest


Inc     total revenue in             2009       9.4 billion                  won        and have managed them                           have always been grateful

to   and proud of             my alma        mater Dongguk University

             While            have been thinking                   about           my   interests       in   and contributions                to   the School as one


of   its    alumni businessmen                     made                 commitment              in    2006    to    make          contribution           for   the funding


of Dongguk                               advancement                      for the Schools               100th      anniversary              in   the amount       of 500
                        University

million          won over          period     of        years

             Further          my   alma mater Dongguk                              University         appointed       as    its   president         Young Kyo            Oh
who        was    formerly       the minister           of Public                  Administration            and Security              in   February 2007             which

made         fellow        alumnus have            great expectations                      for advancement                  of the School            Appointment               of

such         capable          CEO-type person                 as       its   president         was     itself sufficient          to    make me          expect        great

deal of change                and advancement                 for the School


             However            as the   news       that          Jeong            Ah   Shin and the School were                       unethically         involved


continued          to   hit   the press in July              2007               began     to    feel    disappointment                 and even          sense    of

betrayal          which       eventually      led       me        to    withdraw          my commitment                 for   making               contribution         of 500

million      won        At the time            was       so embarrassed about the fact                               that      was an alumnus of Dongguk

University          that       had no     interest           in   the School whatsoever


             Nevertheless                came      to    find out recently                     that    the School had not                   made any       intentional


mistakes          regarding        the Jeong       Ah         Shin incident                so         hope   that    the    damage and              psychological

scars that        not    only the School but                      also       its    alumni have suffered               will       be healed         as   soon    as   possible


                 certify      that the above            is   true and accurate




                                                                                   May 24        2010




                                                                                                                   Bokyung          Investments            Inc

                                                                                                                   Oh Hyun Kim
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 158 of 184




                                              21M
                     t2S
         $Wfl                  REDACTED

                                   MUJtS               fl

                eeie iasoin             nnna In                01 29111 91fl
        M201b          CC161OI6U6tWflM1M                    ivc Clfl 942-10
        91      VI    fl21ItE2009W                    21   lfl 94291                      916101

        9161324201            142    9321     fl9U           16101              3tA1531    flA
        51       1912125M                flOP     fl Æfl201                 t1      22          2006W

        Cib     tIfl              11 lOOflI        ViOl    525    53291     flt013         Will
        VPfl                 V915       2IUI24SUQ

        3213         2007W    25Mb 93 fllSIfl                    91fl214        ft        291    91


        913     UI           9121121t         sa JA1SM                    ttB   floP      tie   217
        42ISUCL 2WVb CEOS                         212JA12J       2213      Ifl fl
                wa           we           wal     icieiou        lenaua
        221U     2007W        71    6150191   tVI 5OPfl fl2lCIb                           0l       211

        QIfl       UiMIS19I$              91
                                   VOl llJtt                          ESSOl               Pfl         52
        9191    741 aIXI w7it flfltUCI 91                            91218      acita noie
               AlliS    4ZWU fl613 3I$ PIP                                        xI wvuci

        31OPS          wita 92            61101
                                                  AlSPti2I            32342        4121     flIt
        EU      224901        61101    AIlS     21 tjbIE             101           flQi     09121
                atvi     iswes        mnil wwub
           LilOl       AIfl       DUll 21 BUD
                                              2010W




                                                                                                   DOwGGUKO3SI41S
   Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 159 of 184




                                     CERTIFICATE OF TRANSLATION




              Kwang Park               hereby        certify     that        am   competent             in both             the      Korean and

 English      languages            and      that       translated          DONGGUKO3              81478                  from        the    Korean

 language         into   the   English       language
             further       certify         that    translation        of    DONGGUKO3                  81478             from        the    Korean

 language         into    the     English          language      is     accurate    and       correct               to     the       best   of   my
knowledge           and proficiency




Kcark
Professional             Translator




Subscribed    and sworn        to before    me    on ___________           day of________          /1                    year




                                                                            L/9\FFIANCESFUENTES
                                                                                              COMM          1849367
                                                                            w0t3        NOTARY         PUBLIC
                                                                                               RIVERSIDE
                                                                                                                    CALIFORNIA
                                                                                                                COUNTY
                                                                                          Commiesiop      Expires    May   78 2013




Signature    of   Notary                                                            Notary Stamp
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 160 of 184




            EXHIBIT                            89
      Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 161 of 184




                                          UNITED STATES DISTRICT COURT
                                             DISTRICT OF CONNECTICUT



DONGGUK UNIVERSITY                                                         No      308-CV-00441              TLM
                       Plaintiff




YALE UNIVERSITY

                       Defendant




         PLAINTIFF  DONGGUK UNIVERSITY OBJECTIONS AND RESPONSES TO
            DEFENDANT YALE UNIVERSITYS FOURTH SET OF REQUESTS FOR
                                                           PRODUCTION

            Pursuant to Rules        26 and      34 of   the     Federal     Rules    of Civil     Procedure           plaintiff      Dongguk


University      Dongguk              by and through          its   attorneys       McDermott         Will          Emery        LLP     and



Jacobs      Grudberg Belt          Dow         Katz     P.C        hereby responds          to   defendant        Yale Universitys



Yale         First    Set of Requests      for   Production             the Document             Requests         as   follows



                                               RESERVATION OF RIGHTS

                                      responses and objections are made
                       Dongguks                                                              without        in         way     waiving        or
                                                                                                                 any



intending to waive             but on the eontrary preserving               and    intending to preserve               all   questions    as to




their   competency        authenticity         relevancy       materiality privilege and                admissibility           as   evidence



for   any   purpose     of the responses or        subject       matter     thereof    in
                                                                                             any   subsequent           proceeding       or the




trial   of this or any other action



                      Dongguk       preserves     the    right     to   object    on any ground        to   the   use of said         responses



or the subject        matter    thereof   in                                            or the     trial    of this or any           other action
                                               any subsequent            proceeding
   Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 162 of 184




OBJECTIONS                    AND RESPONSE

           Subject        to    and without           waiving         the    General          Objections          Dongguk              states    that       all




documents          identified          in Interrogatory                of Yales          Fourth        Set of Interrogatories                   to    Dongguk            have



already     been        produced        to    Yale in prior productions                        Dongguk           has no other            documents



responsive         to   this   Document              Request


DOCUMENT REQUEST NO

           All applications               resumes or             other      documents           that      Dongguk           received        from any



individuals        seeking        the    position         for   which Dongguk                  hired Jeong            Ah    Shin on September                        2005


OBJECTIONS                 AND RESPONSE

           Dongguk             specifically          objects     to   this    Document           Request          on    the      ground     that       it    is   based



upon       misstatement            of fact           No    other individuals                 were considered               for the position             for       which



Jeong    Ah   Shin       Shin             was    hired      because          Shin was          hired      as   part    of   Dongguks 2005                      special




hiring   process          Subject        to    and    without         waiving          the   foregoing          specific         and    General         Objections



Dongguk       states      that    it   does     not have any            documents              responsive         to   this      Document             Request


DOCUMENT REQUEST NO

           All documents               concerning           any donations               that   Jin     Sik     Cho     Joon       Hyung Park Hyun                     Jung



Kang Oh Hyun              Kim or          Jin   Moon Kim made pledged                                or   proposed          to   make      to   Dongguk


OBJECTIONS                AND RESPONSE

           Subject       to    and without            waiving         the    General Objections                   Dongguk              states    that       all




documents          concerning           any    donations         that       Jin   Sik Choi        Joon         Hyung Park Hyun                       Jung     Kang Oh


Hyun     Kim or         Jin    Moon Kim made                    pledged           or   proposed           to   make    to    Dongguk            have        already       been



produced      to   Yale        in prior       productions




                                                                                   -4.
      Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 163 of 184




DOCUMENT REQUEST NO

                 All documents         concerning       Dongguks           solicitation          of donations           from       Jin   Sik      Cho      Joon



Hyung Park Hyun                   Jung   Kang Oh Hyun Kim                      or Jin    Moon Kim


OBJECTIONS                     AND RESPONSE

                 Subject to and without           waiving         the   foregoing        General         Objections          Dongguk              states     that   all




documents           concerning         Dongguks            solicitation        of donations        from        Jin    Sik   Cho      Joon        Hyung Park


Hyun        Jung    Kang Oh Hyun Kim                   or Jin     Moon Kim             have     already been produced                    to     Yale in prior



productions



DOCUMENT REQUEST NO

             All documents             concerning                                             or other    communications between
                                                        any correspondence


Dongguk and              Jin   Sik   Cho      Joon Hyung Park Hyun Jung Kang Oh Hyun                                         Kim or             Jin   Moon Kim


OBJECTIONS                     AND RESPONSE

             Dongguk           specifically      objects     to   this   Document             Request     to    the    extent that         it    seeks     the




production          of documents          that   are   not reasonably            calculated        to    lead    to the     discovery            of admissible



evidence           Additionally          Dongguk        specifically           objects    to    this    Document            Request        to    the extent




that   it   is   overly broad        and unduly        burdensome              in that   it   requires     any        correspondence                  or other



communications between                    Dongguk          and    Jin    Sik    Cho      Joon Hyung Park Hyun Jung Kang                                      Oh


Hyun Kim            or Jin     Moon      Kim        Subject to and             without        waiving     the    foregoing          specific          objections



and    the   General       Objections          Dongguk        states     that    all   documents          responsive          to    this   Document


Request          have    already     been produced           to   Yale in prior productions



DOCUMENT REQUEST NO.8

             To    the   extent      not otherwise         requested       all    documents            concerning           Jin    Sik   Cho          Joon



Hyung Park Hyun Jung Kang Oh Hyun Kim                                          or Jin    Moon Kim
   Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 164 of 184




OBJECTIONS                    AND RESPONSE

               Dongguk            specifically          objects       to this     Document             Request        to    the extent      that    it    seeks        the




production            of documents               that    are    not reasonably           calculated            to lead      to    the   discovery         of admissible



evidence             Additionally               Dongguk          specifically          objects     to this         Document             Request     to    the        extent




that    it    is   overly broad           and unduly            burdensome             in that    it
                                                                                                       requires        all documents               concerning                Jin




Sik    Cho          Joon    Hyung Park Hyun Jung Kang Oh Hyun Kim                                                   or Jin   Moon         Kim        Subject            to    and



without            waiving    the        foregoing        specific         objection and         the        General Objections               Dongguk                 states




that    all    documents            responsive           to    this   Document          Request             have     already been          produced            to    Yale in



prior        productions



DOCUMENT REQUEST NO

               From 2007            to    the    present        all   documents concerning                     any     individuals           corporations                     or




other entitys decision                     not to donate              money       to   Dongguk              including but not limited                    to    all




documents             concerning           any    individuals              corporations                or    other    entitys reasons for not donating



money         to    Dongguk


OBJECTIONS                    AND RESPONSE

              Dongguk             specifically          objects       to   this   Document             Request        to   the    extent    the    phrase decision



not to donate              money          is
                                                vague and ambiguous                     Subject         to    and    without       waiving         the    foregoing



specific           objection and General                 Objections           Dongguk            states       that    it   does    not have        any        documents



responsive           to    this   Document              Request


DOCUMENT REQUEST                                   NO.10


              Any     minutes            or transcript         of the October            10 2007             meeting        of the Dongguk               University



Foundation            Board of Directors




                                                                                       6-
  Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 165 of 184




OBJECTIONS               AND RESPONSE

          Subject to and without               waving      the   General Objections       Dongguk      states   that   it   has



previously produced             documents        concerning        Dongguk      ranking    among     Korean     universities      in




prior   productions        Dongguk          intends to produce        any   additional    responsive       non-privileged



documents     and   it   will    identify      the bates    numbers of such        documents    at   the   time of production




Dated    November               2010

                                                                       McDERMOTT WILL                       EMERY LLP

                                                                                                     2._
                                                                       By
                                                                               Jj7/
                                                                            Robert           iner

                                                                            Audrey Lu
                                                                       340 Madison       Avenue
                                                                       New York New          York 10 173-1922

                                                                       212    547-5400

                                                                       Attorneys     for Plaint iff Dongguk       University


Of Counsel
Ira   Grudberg
Jacobs    Grudberg Belt           Dow           Katz P.C
350 Orange    Street

New Haven        Connecticut           06511

203     951-3720




                                                                    11
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 166 of 184




            EXHIBIT                            90
DonggukCase 3:08-cv-00441-TLM
          Yale                                                                Document 257-5 Filed 08/04/11 Page 167 of 184
                                                                                                                          Page                                                           of




  Fetner         Howard

  From           Lu     Audrey

  Sent           Tuesday                October           26     2010       207 PM

  To             Fetner            Howard

  Subject        RE      Dongguk                  Yale



Howie


The   affidavits       and        the chart produced                    are   the only responsive            documents



            From        Fetner           Howard                             hfetner@daypitney.com
            Sent Monday                   October           25     2010       459 PM
            To Lu Audrey
            Subject           Dongguk                  Yale




          Audrey


          You agreed               to   provide           Dongguks            responses to Requests                 5-9 of Yales         Fourth    Set of Requests               for

          Production              prior to      this       Wednesday            and Thursdays Rule              30b6           deposition      concerning donations
          Youve         indicated          that      all    of   Dongguks         responsive          documents        to    Requests       5-9 have  been produced                    but

          we   still    have        not    received              Dongguks       responses to those Requests including identifying responsive
          documents                by Bates          numbers                Other than the documents numbered DONGGUKO381        465 and
          DONGGUKO381                     478-82 are there any documents responsive                                     to   Requests        5-9     If
                                                                                                                                                          so      please identify
          them      by Bates             number no later than tomorrow Thank you


          Howie




          Howard Fetner
         Attorney            at   Law

         Day Pitney LLP
         One Audubon Street 6th Floor New                                        Haven         CT   06511

          t203 752 5012 f203 752 5001                                             c203         232 7125
         hfetnerdaypitneycom                                      www.daypitney.com




         IRS     Circular           230 Notice              Any       tax    advice provided          herein   including           any   attachments         is    not

         intended            or written         to   be     used        and    cannot     be used         for the    purpose        of avoiding     penalties           that

         may       be   imposed            on    any        taxpayer




         This message                   contains           PRIVILEGED            AND CONFIDENTIAL                     INFORMATION                 intended        solely       for

         the   use of the addressees                              named        above          Any disclosure         distribution        copying or use            of    the

         information              by others          is
                                                           strictly     prohibited       If
                                                                                              you    have    received       this    message in error please
         notify the          sender        by immediate                         and                                                   Thank you
                                                                        reply           delete      the   original   message

         This  message  contains  PRIVILEGED   AND CONFIDENTIAL    INFORMATION   intended   solely
         the  use of the addressees named        above   Any disclosure      distribution    copyin
         information   by others  is strictly   prohibited      If you have received     ths messa
         notify  the sender   by immediate   reply  and delete   the original   message     Thank




7/29/2011
DonggukCase 3:08-cv-00441-TLM
          Yale                                                     Document 257-5 Filed 08/04/11 Page 168 of 184
                                                                                                               Page                                                             of




IRS   Circular        230    Disclosure         To comply        with     requirements          imposed     by the   IRS we      inform    you       that   any      U.S
federal    tax     advice contained             herein     including any      attachments unless                  specifically    stated   otherwise            is   not

intended      or written         to    be used       and cannot        be used for the purposes of                   avoiding     penalties         under      the   Internal

Revenue       Code          or   ii promoting         marketing        or   recommending           to   another   party   any    transaction         or   matter herein




This message is     PRIVILEGED                        AND CONFIDENTIAL                    communication This message and                      all    attachments           are
        communication    sent by                      law firm and                 be                                                                       are not the
private                                                                     may         confidential      or protected    by privilege         If
                                                                                                                                                    you
intended recipient               you    are hereby notified that                    disclosure copying            distribution    or   use of the         information
                                                                             any
contained        in   or   attached      to   this   message      is    strictly   prohibited      Please    notify the   sender       of the       delivery     error     by
replying    to     this    message        and    then delete      it    from your system Thank               you


Please     visit      http//www.mwe.com/                 for   more    information       about    our Firm




7/29/2011
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 169 of 184




            EXHIBIT                             91
        Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 170 of 184

                            81479




                                                             Shinsung Pharmaceutical                  Co Ltd
                                  floor 398-8 Jungan-l-dong                                                                      02-3407-2500        Fax
                            4th                                                                             Seoul
 Shinsung Bldg                                                                       Dongdaimun-ku

                                                                     02-2245-5076




Respectfully           submitted      to    the President           Dongguk           University


Subject                      for cancellation          of school          advancement          fund contribution
                Request

Name       Jin    Moon      Kim President            of Shinsung Pharmaceutical                      Co     Ltd

DOB REDACED


                      as the individual        named above and an alumnus                          entrepreneur            have been thinking

about    my      interest    in and contribution              to    the School          and when      my   alma mater Dongguk

University        appointed         the current president                Young Kyo            Oh who     was        former minister          of Public

Administration           and Security             in February        this
                                                                               year      became very       hopeful          as an alumnus         about


advancement            of the School          Because         appointment             of Young Kyo         Cho who was                an outsider but

known      to    be     capable CEO-type person                      as president         itself   was   sufficient         to   expect     great deal

of change        and advancement              for the School                  decided    to   contribute          total    of     billion   won    of

development            funds over the period                of 08    to       09    and signed       memorandum                  of commitment       last


April

                 However          as the    news     that    Jeong        Ah    Shin and the School had been unethically

involved        continued      to   hit    the press every day in July this year                         felt   disappointed           and even    felt


sense    of betrayal        and began        to    think     that   it   is
                                                                                very    embarrassing       fact     that         am    graduate    of

Dongguk University

                Thus        withdraw         my    commitment                 for   the donation     signed     last      April and request        that


said    commitment be             invalidated




                                                                         Dec          2007




                                                                                                   Jin   Moon Kim

                                                                                                   Shinsung Pharmaceutical                  Co     Ltd
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 171 of 184




                                        tfrMJWtflkrtt4t
      MAJ          QIP       f211   3988   JJ             02-34072500          Fax   02-2245-5076




                 CB2

                              JI
                 EtEHR
                       t11

      a1




                             REDACTED



            tI       2J  7t2i2M     iaon CH1                            2L11E         7IOU       24
               2W          i71 CIItEI
                               E2I PJAFi9M                              1uil     WE10il    CH3

           C$7F  flSUJCL        CEO LIt2JAEW                            2iii         ºJ
           XFB2J2              tiil2I   9d2                  J1LllFI0          6JL               ffft


           011     2J       08O90il             1091 WI7t                      fii20fl           9I
           8D        .XPd   40il              il6ILILI


           J2LF                     ŁiOF2F     3UF    1F7U W2JtF                         o.oi

                   2i011    CllM2Nd                   O1       Jt       E3312        9A204

           LUfJil       OJ24        AFfl      j2J   j$      24Jjj       9E4
           010fl     XIE    40fl XJIfl        J1          7Jf$LJ               -PAF0I RV
                 32         04     MI      UI1LICF




                                           2007E1    12




                                                                                             00NG0UK0381479
    Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 172 of 184




                                  CERTIFICATE OF TRANSLATION




              Kwang        Park      hereby       certify     that        am     competent              in both           the       Korean      and

English       languages         and      that       translated          DONUGUKO3                  81479             from           the    Korean

language       into   the English         language
             further       certify      that    translation        of    DONGGUKO381479                                 from        the    Korean

language       into    the     English          language      is     accurate      and       correct               to     the       best   of   my
knowledge          and proficiency




Kwang        Pa
Professional          Translator




Subscribed   and   sworn    to before    me    on ___________           day of
                                                                                                    doff             year
                                                                                 _______




                                                                                                             FUENTES
                                                                                               coMM1849867
                                                                                          NOTARY    PUBLIC         CALIFORNIA

                                                                                                RIVERSIDE     COUNTY
                                                                                           CommissIon    Expires    May   18 2013
                                                                                     My




Signature    of Notary                                                             Notary          Stamp
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 173 of 184




            EXHIBIT                            92
          Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 174 of 184
 DUNGGUK03                     81480



 IIV SIMPAC LIDS
                                                                         Written          Verification


Name           Jin Sik Choi


DUB REDACTED
Work                Position         CEU SIMPAC                     Inc




                     the individual              named above am                      graduate       of the Trade Department                            of Dongguk

University               admitted       in       March 1977              graduated          in February           1983           and an entrepreneur                    who

manages              SIMPAC          Inc          metal         forming machinery                  manufacturer              in 2009              total    assets            177

billion        won        revenue         122.5          billion        won     net profit      for      the year 13.7 billion                    won        SIMPAC                ANC
Inc       an    alloy producer               in 2009             total    assets      163.6     billion          won    revenue             119.2        billion    won            net


profit     for       the year          billion         won          SIMPAC           ENG        Inc         steel    plate processor                and     distributor              in

2009       total         assets    29.1      billion        won         revenue       34.4 billion           won       net profit           for   the year 7.1                billion


won        and the holding company of                                   SIMPAC        GRUUP SIMPAC                          Holdings         Inc in 2009                     total


assets         74.2      billion     revenue              15.6 billion           net profit        for   the year           14    billion     won
               As an alumnus                entrepreneur                of Dongguk           University              sympathized              with the vision                   and

development                strategy         108        Project           presented         by   president         Young Kyo Uh of                        the University


upon      his       inauguration          in     February 2007                  and planned                donation         of     billion        won       While              was

reviewing the procedure                          for     donating           billion       won    and the detailed plan for                         utilizing       the


donation            amount           came         to   face the embarrassing                    incident         related to Jeong                 Ah     Shin hereinafter

Jeong      Ah        Shin case         in
                                             July        2007       so have       reversed         my intention             to    donate

               As an alumnus                entrepreneur                  became          greatly disappointed                   and   distrust           the president              and

management                 staff   and the School as                      result     of the Jeong            Ah     Shin case so                   decided         to    establish


  separate           scholarship          foundation               rather than        donating           directly      to   the     School          Furthermore                      have

utilized        the        billion     won        that      had planned              to   donate      to    Dongguk              University         to    establish and

have been operating                    the Piljung               Scholarship              Foundation whose                   basic      assets amount                   to


billion        won
               It   is   frustrating        to    witness        that     the social        controversy the plummeting                              status     of   my         alma

mater and            distrust      by alumni              all    of which was caused by the Jeong                                 Ah   Shin case have not been

restored              sincerely        wish       that     the   damage and               disgrace       suffered       by       my    dear       Dongguk          University

will disappear              quickly         and completely                 If   so    confidence            in   and contributions                 to     the School by               its



alumni         will      increase      and advancement                     of the School            will     speed     up
                    verify that      the foregoing                 is   true and accurate




                                                                                May 20          2010




                                                                                                                 JinSikChoi
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 175 of 184




                     SIMPAC HDS




                                      REDACTED
                            WI          9IMPAC


         ØJJI      2J2          EDUQ                                   1977W                44I       1983W          242M
                flJII1          SI124Z2J         SIMPAC        GROUP        L81I$IMPAC              2009W          X1I 17709t
         0H24           122524i             9VIOl24          13789       k3V          º24Z2J               SIMPAC ANO 2009W
         Xkfl               1836              O112k      119224         3J0J9J              904           fl       F3
        SIMPAC           ENG      2009W         XJ2fl         291       OH9i        34424          tJ021            712421                   XI
        JA1W            24                     2009W         XB         74224        0II2I          15624         tlSW24         I402i
         2461             I24IgJLIC4



                                        DI24JfM          2J2                 9242       301           2007W            N24A1 XM1
        2CJI2                  U132         W1it         108E9Ofl                  3Zt6FD          0181    24        4B1 22 tE
        OIl     l016IiX1           50242421       JI          2urn2teua                  l3          50245              32191             23
        Afl        252k0il             U188    2458II           2007W               302I             324I         9124        AFEB         0161

        J30F                                         3IlI8    2I      21M3         3J524.9LCF


                   2l81LM               22J8          Æi801    2Y91     W9              21811               0181     3245                 2224

                   12Ji11       aJ0l          01X1 4222I              I321W          JICF                 24521     31XHEF5               fl81

                   612      Cflt2O11             I3I           41S1612121          tI    5091243            fl6101      JI5X11J             50i

        5121            3U8EI3 6FOI                           221612        tLIO

        Ł1301            a2           213      M424      1I3      015         2221         81-at     24    33321        3i0i              042461


        I5XI              3812          9182      21E1F3        StJLIC4                    AI9I2                  3-cB242J1               Æ1801

        2Y2              248     11181191      3210111        .6111         245I        II3                  ai         041LlCL             J21

                   38921           20fl        113     XP4Ji 1015F                  QXii             253             2491P11         24



        LI    LI



        81     L11301       MJ                9123       PJ3LIft



                                                              2010W         582.024




                                                                                                                                              DONGGUKQ3BI4BO
   Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 176 of 184




                                   CERTIFICATE OF TRANSLATION




              Kwang Park              hereby       certify     that        am       competent       in both      the Korean        and

English       languages          and      that       translated          DONGGUKO3                 81480        from   the    Korean

language          into the English          language
             further        certify      that    translation        of    DONGUUKO3                81480        from   the    Korean

language          into   the    English          language      is     accurate        and    correct       to    the   best   of   my
knowledge           and proficiency




JCwang Park
Professional         Translator




Subscribed    and   sworn    to before    me on       c2                 day
                                                                               oc9$                aot/         year




                                                                               fl
                                                                                      FRANCES        FUENTES
                                                                                            COMM     849867




Signature    of   Notary                                                              Notary Stamp
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 177 of 184




            EXHIBIT                             93
        Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 178 of 184



                              814811



Affidavit


Name         Jun-Hyeong             Park

Date of birth              REDACTED
Place    and position              of employment            Silla    Co         Ltd    Chairman of the Board




                   the person        named above           after    graduating            from the economics                department of Dongguk

University          in   1963 founded             Silla   Co       Ltd     in   1967 and since then have been actively                             engaged      in


the    enterprises of deep-sea                  fishing and the import/export                      business

             Through           approximately 40 years of corporate                             activity        at   the end of 2009        Silla   Co     Ltd

had grown           into          company with          capital     amounting          to      382.4     billion      won   sales of 234.0          billion



won      and an       annual        net profit     of 31.2     billion      won
             As     the Chairman           of the Board of           Silla      Co     Ltd             have always been interested                 in   the


development              of   my    alma mater          and   in   particular         upon meeting                  the newly-appointed            President


Young-Kyo Oh                  in   March 2007             was deeply impressed                    to    hear of his development              plans      and

vision       for   Dongguk University

             Subsequently             when        had made plans                to   contribute           half-billion          won   to   the development


find    to    provide         finding for       my      alma mater              learned        of the rumored Jeong-Ah                     Shin incident        in



July    2007

             At the time            this   came    as      very great shock               to   me       and    in    great disappointment               did not


feel   any expectation               for   my   alma maters           development               or any need to contribute                   and

abandoned           my      intention      to   contribute


               hope        that    Dongguk       University         will   swiftly recover               its   image     that   has   been tarnished by

the    Jeong-Ah Shin                 incident       and       confirm the above                 facts




May 28         2010




Jun-Hyeong            Park Chairman of               the    Board        Silla       Co     Ltd
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 179 of 184




      Afl                 REDACTED

                       3193     43it21t       Met


      .71

      4A       flct4
                         %4Th2  DN
                              CJ$         flJc4
                                                   i963\j        fl
                                                                                    fl
                                                                                      1967\   iieTS3t24t




      4Ot41d      113     fl4 fl                                 2OO9i                7JtS HtR
      582424           124      234024     tleOl2l          31224        qjtfta       YNS. -fl6f
      .t4cf
                                                            Li

      i2424 MA1                           32 I1 flf                       7f2jPq                2fJO71d


        351 ŁsA                          i3a fl 14A1                       3ftThfja.Q4         lf4
                                           Jfl fl-tL

                   t214                    ltft   4524              i71fl 7Pt712                          7II

      t1        2007\i    7jj    -ti7F Afj                  flI-l4

      Ao11     J-         41-     -e       Lu                                   Jj1
                                                                                  ja.trz



      cVJ4     fl 14            $1191    flfl     c-                        24 14 S4Af-
      t1t4

            tfl3317-     J71O A.J4 -t                                                      i1%37i- 4e1
                 A4       9JtJL14




                                          201Od




                                                                                                            DONGGUKO3BI48I
   Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 180 of 184




                                 CERTIFICATE OF TRANSLATION




               Samuel Henderson hereby certify                      that            am            competent          in    both the
Korean         and English languages and that                             translated                   DONGGUKO381481
from the Korean language                     into   the English    language
               further      certify     that        translation    of     DONGGUKO381                          481        from   the

Korean language              into the English           language    is    accurate                and      correct    to   the best

of   my      knowledge      and profWency




                     erson

             sional Translator




                                                 flr1CkL
Subscribed     and sworn   to before   me   on                day of                             _______     year




                                                                                   S0
                                                                                         f4
                                                                         LAKETRA
                                                                                          Lake    county
                                                                                    of
                                                                         ResidOf
                                                                                                 9Mpirea
                                                                              corflmiSa%00
                                                                         My
                                                                                              2016
Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 181 of 184




            EXHIBIT                            94
        Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 182 of 184




                            81482

Ultra


Affidavit


Name      Hyeon-Jeong              Kang



Ultra    Construction of which                  the    above-named        am   the   CEO    received      contract   in 2004        for


the remodeling              of the Dongguk      University        library and successfully        completed the project            we

subsequently          maintained          positive     relationship    with Dongguk University During                that    period       in



early   2007          was    considering        donation     for the development          of Dongguk       University       in    the


amount      of   1.0 billion       won


However          in   the   summer of 2007            the case   of Jeong-Ah       Shin   which    arose between      Dongguk

University       and Yale University shocked                 the entire    Republic       of Korea and due     to    the negative


press regarding             Dongguk University             anticipated    there would      be     risk   of damage    to    our


                image and gave up            the thought         of contributing
corporate




 hope    that    Dongguk        University      swiftly recovers        the public    trust




The above        is     truthful    statement    of the facts




May 31      2010




Hyeon-Jeong           Kang
 Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 183 of 184




     ulira




   E1
            jO1
              LA1%
                  1LTho1Af--


                          tiFof
                                          11   1S
                                               Z1.2--          Sf
                                                                    2004i

                                                                    9j2jit
                                                                              fl3iL1 1fi
                                                                               -tflFfl 41411
                                                                                                           .1




  F21         Prlit        ClOlaiftf
                           Ak Ak    In
                                               JL1         71        tj        2007\4         ofl     tT1i-
                  ifl 1O1                fl 1fl         Jaalta                 t4


   L111Lf    2007td       cittoll        -tcH4ui9f      oOc1i-j                  IdJ/4        k7of      A-jOl


   rfljlEit                 s1-ii              tfUa     4-rTIicniil           cflf       AU1C1
                                                                                                i__
                                                                                                      12
  jvj-         cfIrJlxl      Sff           O1        11ah1G1        7-tfE1           A/1-SL
                                                                                         la    1-i4
                                                                                               ltIAAH




         iE       %-c1ISf27f               -s AfS4             jsL       142

      u11      Af4if         cf-o          V-4




                                                                             2O1Od      5A




CONFIDENTIAL                                                                                          DONGGUKO38I   482
   Case 3:08-cv-00441-TLM Document 257-5 Filed 08/04/11 Page 184 of 184




                                    CERTIFICATE OF TRANSLATION




                   Samuel Henderson                hereby     certify    that            am          competent         in   both the
Korean             and    English        languages      and    that          translated                    DONGGUKO381482
from the Korean               language         into the English         language
               further        certify      that     translation         of    DONGGUKO3S14S2                                from   the

Korean language                into the English         language        is   accurate and correct                       to the     best

of   my      knowled                          iciency




                         derson
       essional Translator




Subscribed     and   sworn   to before   me   on                 day                                 26         year




                                                                        itoa       S8a1

                                                                        iAXEIRA             WI   WAMS
                                                                                                           iN
                                                                                   of   Lake      County
                                                                        Resident
                                                                             co    ission        exptres
                                                                        My
              of   Notary                                               sepie3t111Pam

4ijre
